      Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 1 of 134
                                                                         3133



 1                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
 2

 3       United States of America,       ) Criminal Action
                                         ) No. 19-CR-125
 4                           Plaintiff, )
                                         ) JURY TRIAL
 5       vs.                             ) DAY 14
                                         )
 6       Gregory B. Craig,               ) Washington, D.C.
                                         ) August 29, 2019
 7                           Defendant. ) Time: 9:30 a.m.
     ___________________________________________________________
 8
                   TRANSCRIPT OF JURY TRIAL - DAY 14
 9                             HELD BEFORE
                THE HONORABLE JUDGE AMY BERMAN JACKSON
10                    UNITED STATES DISTRICT JUDGE
     ____________________________________________________________
11
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      Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 2 of 134
                                                                         3134



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11

12                                     INDEX
     WITNESS:
13     Greg Craig
         Cross-Examination (cont.) By Mr. Campoamor-Sanchez...3133
14       Redirect Examination By Mr. Taylor...................3235

15
     EXHIBITS:
16                                     Offered          Received

17   GX310                              3207              3207
     GX402                              3167              3172
18   GX809                              3204              3205
     GX819                              3184              3185
19   GX822                              3190              3190
     GX829                              3193              3194
20   GX837                              3219              3221

21

22   Defendant Rests..........................................3241

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24                                 *   *   *

25
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 3 of 134           3135


 1      *   *   *   *   *   *   * USA v. GREGORY CRAIG *   *    *   *   *   *   *

 2                  THE COURT:     All right.   Is there anything we need to

 3      talk about -- that you all want to talk about before we resume?

 4                  MR. CAMPOAMOR-SANCHEZ:      No, Your Honor.

 5                  THE COURT:     All right.   Can I just quickly have

 6      counsel at the bench before we bring the jury in and put

 7      Mr. Craig back into the stand -- on to the stand?

 8                  (Bench discussion:)

 9                  THE COURT:     All right.   It's a party.

10                  I just wanted to underscore that I understand that

11      the defendant testified a couple -- more than three hours,

12      maybe less than four hours yesterday, and that you probably

13      have many things you want to ask him.        And that many of the

14      crosses of the government witnesses were longer than the

15      directs.

16                  But, I think it bears repeating, for everyone, that

17      we have a jury that seems to be extremely attentive and they're

18      taking notes and they're expressing a desire for expedition

19      that could also reflect frustration with repetition.            And,

20      therefore, I would encourage you to focus sharply on what you

21      think are the most productive and most important areas, rather

22      than every single thing you could ask him, or every single

23      thing that you think might be contradicted by a document,

24      because the documents are in evidence, and you'll be able to

25      argue all of that.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 4 of 134       3136


 1                 And the other thing I would encourage you to do is,

 2      if you're going to try to pin him to something he said earlier,

 3      the more precise you are about the language, as opposed to

 4      paraphrasing, the less quibbling there will be at the bench

 5      about whether it's a fair question or not a fair question.

 6                 And at the end of the day, after you've asked the

 7      facts that you want to ask from which you're going to ask the

 8      jury to draw an inference or you're going to make an argument,

 9      you don't then need to ask him the argument.         Those questions

10      will likely draw objections as being compound or argumentative,

11      and that may very well be correct.        And at the end of the day,

12      you're going to get to make your argument.

13                 And I think it also bears on the defense, in terms of

14      making sure that the redirect does not recapitulate his direct.

15      He was quite clear about his testimony.         They know what he

16      thinks.   They know what his story is.       And I don't think it

17      would help anybody if we're still doing this after lunch, I

18      guess, is my basic point of view.

19                 MR. CAMPOAMOR-SANCHEZ:       All right.    Understood, Your

20      Honor, and I'll certainly do my best.

21                 THE COURT:    All right.

22                 MR. CAMPOAMOR-SANCHEZ:       I think it would also help if

23      Mr. Craig actually answers the question.

24                 THE COURT:    Well, if he doesn't answer the question,

25      you can ask him the question again and --
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 5 of 134      3137


 1                 MR. CAMPOAMOR-SANCHEZ:       A lot of the questions that I

 2      asked yesterday did call for yes-or-no answers, and, instead, I

 3      got lengthy explanations.

 4                 THE COURT:    I guess what -- well, and that's fine,

 5      too, and you can decide whether -- you'll decide whether you're

 6      going to do anything about that.       But, sometimes the length of

 7      the question can be caused by a sort of wiggle word -- the

 8      length of an answer can be controlled by the question.          If you

 9      ask a question that has an adjective in it or an opinion in it,

10      as opposed to a fact in, that's when people are going say,

11      Well, it's not really that; it's this.

12                 And so --

13                 MR. CAMPOAMOR-SANCHEZ:       Understood.

14                 THE COURT:    All right.

15                 MR. CAMPOAMOR-SANCHEZ:       Thank you, Your Honor.

16                 MR. MURPHY:     Thank you, Your Honor.

17                 THE COURT:    Thank you.

18                 (Open court:)

19                 THE COURT:    All right.     Mr. Craig, you can resume the

20      stand.

21                 (Whereupon the jury enters the courtroom.)

22                 THE COURT:    All right.     Good morning.

23                 Appreciate, once again, the fact that everyone is

24      here and everyone is on time.       And I assume that everyone has

25      continued to abide by my instructions and that no one has tried
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 6 of 134    3138


 1      to speak to you about the case and you haven't spoken or

 2      researched about the case.

 3                  All right.    With that, Mr. Craig, you're still under

 4      oath.

 5                  Mr. Campoamor-Sanchez, you can proceed.

 6                  MR. CAMPOAMOR-SANCHEZ:      Thank you, Your Honor.

 7                        CONTINUING CROSS-EXAMINATION

 8      BY MR. CAMPOAMOR-SANCHEZ:

 9      Q.   Good morning, sir.

10      A.   Good morning.

11      Q.   I think, yesterday afternoon, we broke after we talked

12      about the two letters that Mr. Manafort asked you to write.

13                  Do you recall those?

14      A.   Yes.

15      Q.   All right.   Sir, it is true that you expected significant

16      business from Mr. Manafort in the summer of 2012?

17      A.   I was hoping for it.

18      Q.   And even in 2013, you were still expecting his help to

19      generate business out of Ukraine?

20      A.   I think you may be referring to one my partners in Moscow

21      who was looking for some business in Ukraine and asked me to

22      help to communicate with Mr. Manafort about it.

23      Q.   And my question, sir, is, in 2013, did you not ask

24      Mr. Manafort for help with generating business in Ukraine?

25      A.   I think I did.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 7 of 134   3139


 1      Q.   And you did that when you were in the process of writing

 2      all these letters back to the FARA Unit, correct?

 3      A.   That's correct.

 4      Q.   All right.    Sir, yesterday Mr. Taylor asked you a number of

 5      questions about the rollout of the Report in December.

 6                    Do you recall those?

 7      A.   Yes.

 8      Q.   Okay.    Let's go to that.

 9                    First of all, Mr. Hawker called you on December 6th

10      to let you know that the Report was about to be released?

11      A.   I got an email saying that he'd called me.

12      Q.   And you talked to him?

13      A.   I can't remember whether I talked with him on December 6th

14      or not.

15      Q.   Certainly on December 6th, you had an email sent to your

16      team with the fact that the Report was going to be rolled out?

17      A.   I got another notice that the Report was going to be

18      released.

19      Q.   And my question, sir, was, you notified your team --

20      A.   I did.

21      Q.   -- that the Report was going to be released?

22      A.   Yes, I did.

23      Q.   And, in fact, you gave them a date of when it was going to

24      be released?

25      A.   I think the email has a date in it, yes.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 8 of 134    3140


 1      Q.     And on December 7th, the next day, you also had a

 2      conversation with Mr. Weber, correct?

 3      A.     I know there's an email that reflects that Mr. Weber was

 4      trying to talk to me and that we talked, and I don't recall the

 5      conversation.

 6      Q.     Okay.   And you don't recall it, but that was on the 7th,

 7      right?

 8      A.     I don't know what the date was, but, around that time, I

 9      think I had a conversation.       I don't remember the conversation,

10      but the emails reflect, I think, that there was a conversation

11      with Vin Weber.

12      Q.     And Mr. Gates also attempted to reach you on December the

13      7th?

14      A.     That is also something that is reflected by the emails.

15      Q.     And, in fact, you did have a conversation with him?

16      A.     I don't recall a conversation with Mr. Gates.

17      Q.     All right.   Let's move, then, to December 11th.

18      A.     Yes.

19      Q.     Okay.   On December 11th, before there was any contact with

20      Mr. Sanger, you had a communication with Mr. Gates, right?

21      A.     I don't recall that.

22      Q.     Okay.   Let's look at Government's Exhibit 331, that's in

23      evidence.      Should be in your binder, but we'll put it on the

24      screen in front of you as well.

25                     THE COURT:   I'm sorry.   What number?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 9 of 134        3141


 1                    MR. CAMPOAMOR-SANCHEZ:     331.

 2                    THE COURT:    Thank you.

 3                    My screen is not operating yet.        Is anybody else's?

 4                    All right.

 5                    There we go.   You got it.

 6                    Thank you.

 7                    MR. CAMPOAMOR-SANCHEZ:     You have the document, sir?

 8                    THE COURT:    You need the jury, too.

 9                    THE COURTROOM DEPUTY:      Is it on?

10                    THE JURORS:    (Thumbs up.)

11                    THE WITNESS:   Yes, we had a -- sorry.

12                    MR. CAMPOAMOR-SANCHEZ:     One second.

13                    THE WITNESS:   Is there a question?

14                    THE COURT:    Not yet.

15                    MR. CAMPOAMOR-SANCHEZ:     Not yet.

16      MR. CAMPOAMOR-SANCHEZ:

17      Q.   So you had a communication with Mr. Gates on December 11th;

18      is that correct?

19      A.   Turns out.

20      Q.   All right.    And if we look at the very top, where it says

21      3:28 p.m., as we were talking yesterday, the actually time in

22      D.C. was five hours earlier, correct?

23      A.   Yeah.    I'm confused about this dating system, but it says

24      3:28 p.m. on December 11th.

25      Q.   Right.    And so if it was five hours before, that would have
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 10 of 134    3142


 1      been 10:28 in the morning, correct?

 2      A.   That's five hours before 3:28.

 3      Q.   And so Mr. Gates was informing you that they were getting

 4      ready to brief the former president of Poland on the Report,

 5      correct?

 6      A.   Well, he sent me an email at 9:12 a.m., on December 11th.

 7      That wasn't the email at 3:28.        The email saying that he was

 8      looking for someone to brief Aleksander Kwasniewski is timed at

 9      9:12 a.m., on December 11th.

10                    Do you see that?

11      Q.   Yeah.    I'm not asking you about the timing now, sir.      I'm

12      just asking you just generally, having read the email, you

13      would agree with me that Mr. Gates was reaching you about the

14      briefing for the former president of Poland?

15      A.   Yeah, that morning.

16      Q.   I that right?

17      A.   Yes.

18      Q.   Okay.    And you told him, "I cannot go to Poland," right?

19      A.   I said, "I cannot go to Poland tomorrow."

20      Q.   So, Mr. Gates responded and said, "I will let the Ministry

21      know and tell them to work with Alex," correct?

22      A.   Yes.

23      Q.   And that's Alex van der Zwaan?

24      A.   Alex van der Zwaan.

25      Q.   Right.    And you knew that was happening on the 11th?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 11 of 134   3143


 1      A.   I did.

 2      Q.   So, let's move, then, to 332, which you were asked some

 3      questions about yesterday, also in evidence.

 4                    And just so that, again, we're clear on the timing at

 5      the top, if we're subtracting five hours, there's an email at

 6      10:59 in the morning, correct?

 7      A.   Five hours, yeah.

 8      Q.   So, let's look at the bottom email that Mr. Taylor asked

 9      you about.

10      A.   This is 332?

11      Q.   Yes, sir.

12      A.   I'm sorry.       I was at the wrong place.

13                    Yeah.

14      Q.   Okay.    And this is the email chain where Mr. Hawker

15      forwards to you his contact with Mr. Sanger, correct?

16      A.   Yes.

17      Q.   All right.       And when you read that, you read that

18      Mr. Hawker promised Mr. Sanger a briefing with you, on an

19      exclusive basis, in the United States, correct?

20      A.   That's what he said in the email.

21      Q.   Right.    And he also said in the email that he was going to

22      arrange for a call with Greg towards the end of the day,

23      correct?

24      A.   That's what he said in the email, yes.

25      Q.   And as you testified yesterday, you did have a phone
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 12 of 134   3144


 1      conversation with Mr. Hawker on December 11 about the contact

 2      with Mr. Sanger, correct?

 3      A.   He called me and told me he'd been in touch with

 4      Mr. Sanger.

 5      Q.   Right.    And that's where you testified yesterday, you said,

 6      I'll take care of it, or words to that effect?

 7      A.   Yes.

 8      Q.   And then Mr. Hawker forwards, as we saw in the top, his

 9      email communication to you?

10      A.   Right.    He says, "Here's the exchange," and attaches the

11      emails between him and Mr. Sanger.

12      Q.   Okay.    So let's look at Government's Exhibit 350, also in

13      evidence.

14                    And this is your actual email to Mr. Sanger, correct?

15      A.   Yes.

16      Q.   And this email is sent, again, at 11:16 in the morning,

17      correct?

18      A.   Well, it says 4:16.     Minus five hours is 11:16, yes.

19      Q.   Right.    That would have been just approximately 17 minutes

20      after Mr. Hawker had forwarded the previous email, correct?

21      A.   It was -- yeah, I think it was almost immediately after I

22      got the email exchange between Hawker and Sanger.

23      Q.   Right.    And you told Mr. Sanger, in this email, "The

24      Ukrainians have determined that you should be given first look

25      at it," right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 13 of 134   3145


 1      A.   Yes.

 2      Q.   And you also told him that you would be happy to get him a

 3      copy?

 4      A.   If he was interested.

 5      Q.   And even happier to talk to him about it, correct?

 6      A.   "But, if you are interested, I would be happy to get you a

 7      copy, and even happier to talk to you about, if you are

 8      interested in it."

 9      Q.   That's what you wrote?

10      A.   Yes.   It's right there.

11      Q.   Right.   And you would agree with me that that is -- you

12      offered the Report to him?

13      A.   I'm asking if he's interested, and if he is interested, I

14      would get him a copy, yes.

15      Q.   Right.   And you knew Mr. Sanger, right?

16      A.   I did.

17      Q.   Your kids had gone to school together?

18      A.   No.    They played baseball together in Little League, in

19      Washington, D.C.

20      Q.   I thought they'd gone to community -- some college --

21      A.   Oh, they're also going to college -- we'd just registered

22      at Colorado College that fall, in September, yes.

23      Q.   Right.   And they played in Little League together, right?

24      A.   They did.

25      Q.   All right.    You don't reveal any of your alleged concerns
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 14 of 134   3146


 1      here to Mr. Sanger, do you?

 2      A.   My alleged concerns?

 3      Q.   Yes, sir.    Your concerns about Mr. Hawker, they're not

 4      here, right?

 5      A.   No.   I don't discuss Mr. Hawker with Mr. Sanger.

 6      Q.   Okay.    And then let's look at 351, also in evidence.

 7                    And that's -- three minutes after you send your email

 8      to Mr. Sanger, you forward your email to Mr. Hawker, correct?

 9      A.   I did, yes.

10      Q.   And you said just, "FYI"?

11      A.   Right.

12      Q.   Right.    And that's even before Mr. Sanger had responded to

13      your email?

14      A.   That's correct.

15      Q.   And you were actually informing Mr. Hawker of your

16      communication with Mr. Sanger, correct?

17      A.   I was.

18      Q.   All right.    Let's move on, then, to 352.

19                    And if you look at the top --

20      A.   I was telling him that I had contacted Mr, Sanger.

21      Q.   Right.    You forwarded the email you sent, right?

22      A.   Right.

23      Q.   Okay.    Let's look at 352, also in evidence:

24                    And this is Mr. Sanger's response to the email you

25      had sent a little bit earlier that day, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 15 of 134         3147


 1      A.   Yes, it is.

 2      Q.   Right.    And Mr. Sanger writes, in the middle, "And when

 3      your associates called last month, or maybe earlier, they were

 4      promising to bring a copy over within a day or two.              When they

 5      disappeared, I didn't know what to make of it."

 6                    Did I read that right?

 7      A.   The full sentence begins, "It was a bit hard for me to

 8      discuss with our foreign desk editors until I have a sense of

 9      what the Report says."

10                    It begins with that sentence.     And then it says --

11      Q.   It sure does.

12      A.   Then he refers to, "When your associates called last month,

13      or maybe earlier, they were promising to bring a copy over."

14                    That's what you were quoting.

15      Q.   And that was in reference to when you put him in contact

16      with Mr. Weber in October of 2012, correct?

17      A.   I'm not sure I knew what he was referring to there.

18      Q.   Okay.    All right.   Let's go to Government's Exhibit 353.

19      And let's start with -- well, let's start with the top two

20      emails.

21                    And, again, with the timing convention that we have,

22      now it's 12:32 p.m., on December 11th, correct?

23      A.   Oh, you're talking about the very top?

24      Q.   Yes, sir.

25      A.   Yes.    The one where I say, "We are on it."
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 16 of 134     3148


 1      Q.   Right.    So, and that's a response to Mr. Hawker's email,

 2      which reads, "Thank you very much for this.          If you don't hear

 3      back from him by 1500" --

 4                    I take that to mean 3:00 in the afternoon; is that

 5      correct?

 6      A.   That's right.

 7      Q.   -- "it might be best to speak to your Post contact, as time

 8      is short.     Is that okay with you?"

 9                    Sir, you had offered up a contact that you had at the

10      Post for Mr. Hawker to leak this story to, correct?"

11      A.   No.

12      Q.   He does ask you if that was okay with you, right?

13      A.   He says -- he asks me, "Is that okay with you?

14                    Yes, he does.

15      Q.   Right.    And your response is, "We're on it."

16      A.   That was my response.

17      Q.   Right.    You don't say, I don't know what you're talking

18      about, correct?

19      A.   No.    I say, "We are on it."

20      Q.   Right.    You don't deny or express any concerns about his

21      comment about the Post, correct?

22      A.   I had no conversation with him about the Post, and I wasn't

23      having one with him then.

24      Q.   Okay.    Let's look at 354, top email.

25                    And now it's 12:39 in the afternoon, correct?      You
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 17 of 134     3149


 1      subtract five hours.

 2      A.   You're looking at the top email?

 3      Q.   Yes, sir.

 4      A.   Okay.    Yes.

 5      Q.   Okay.    And he thanks you, and then writes, "They are

 6      pressing me for reassurances here, so any update would be very

 7      welcome."

 8                    And then he says, "I hope the chat goes well."

 9                    You see that?

10      A.   I do.

11      Q.   He's making reference to your chat with Mr. Sanger?

12      A.   I assume so.

13      Q.   All right.      Then let's go onto 355.

14                    Now, sir, this email is at 5:46 in the afternoon, and

15      is an email from you to Mr. Sanger, correct?

16      A.   Yes.

17      Q.   Okay.    And you were attempting to send him the Report

18      electronically, correct?

19      A.   Well, I had tried twice, and then I asked Alex Haskell to

20      do it, and I think he did it during the day.

21      Q.   Right.    But, in this email, there is an attachment.       You

22      were trying to send him the electronic copy, correct?

23      A.   Looks as though I was, yes.

24      Q.   Okay.    And then you mentioned to him, or tell him --

25      A.   Oh, I'm sorry.     This is the 11th.     Yes, you're right, this
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 18 of 134    3150


 1      is my first effort to deliver it electronically.

 2      Q.   Right.    And then you tell him that you will hand deliver a

 3      copy of the Report to his home?

 4      A.   I do, yes.

 5      Q.   Let's go to Government's Exhibit 357, please.

 6                    And now it's 5:50 in the afternoon on December 11th,

 7      correct?

 8      A.   That's correct.

 9      Q.   And the subject is, "Electronic delivery"; is that right?

10      A.   This is an email to Mr. Hawker, and the subject is,

11      "Electronic delivery," yes.

12      Q.   And you write to Mr. Hawker, "David Sanger has received the

13      Report by email.     I am hand-delivering a hardcopy to his home

14      this evening on my way home.       He will tell us tomorrow if he

15      wants to use it.     He will double check with his deputy foreign

16      editor."

17                    And, again, you're keeping Mr. Hawker informed of

18      your efforts with Mr. Sanger, right?

19      A.   Yeah.    I'm telling him what I've done.

20      Q.   Okay.    And you would agree with me that that's informing

21      somebody, right?

22      A.   About what I've done.

23      Q.   Right.

24                    All right.   Let's go to 360.    And let's look at the

25      top two emails.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 19 of 134   3151


 1                    And, again, just for timing purposes, we're still on

 2      December 11th, and now it's 6:15 p.m.; is that correct, sir?

 3      A.   That's the top email, yes.

 4      Q.   Right.

 5      A.   That's the email from me to -- another email to Hawker.

 6      Q.   To Hawker.    And you are responding to an email that

 7      Mr. Hawker had just sent you some minutes earlier, correct?

 8      A.   His email to me is at 6:10.

 9      Q.   Right.    So you're responding to that email from 6:10?

10      A.   Right.    Looks that way.

11      Q.   Okay.    And the email that he sends you, he copied

12      Mr. Gates, correct?

13      A.   Looks that he did.

14      Q.   And he writes to you, "We're both keeping our fingers

15      crossed for David.      And thank you for your efforts here,

16      especially hand-delivering the Report.

17                    But, then he talks to you about a concern that

18      Mr. Gates has, correct?

19      A.   "Rick has pointed out that if the meeting in which this is

20      discussed is at 11:00 a.m., it would leave us little time to

21      take the Report to your contact at the Post."

22                    And that's Rick Gates' concern.

23      Q.   So, "It would leave us little time to take the Report to

24      your contact at the Post, or to Al Hunt, if the Times decided

25      not to do go with this."
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 20 of 134   3152


 1      A.   Right, that's what it says.

 2      Q.   And your response is, "We told Sanger it's his, if he

 3      wanted to use it.     He agreed to get back with us with an answer

 4      tomorrow.    Tomorrow is not too late for Al Hunt or The

 5      Washington Post."

 6      A.   That's what my email says.

 7      Q.   Well, that's what you say.

 8      A.   Yes.

 9      Q.   It your email, right?

10      A.   I said that.

11      Q.   You're not debating your email, right?

12      A.   That is me.    I wrote that, yeah.

13      Q.   Okay.   All right.

14                   You do seem to know something about the Post and

15      Mr. Hunt, right?

16      A.   Well, they had just mentioned it in the previous email.

17      Q.   Okay.   Let's go to 364.

18                   And you were asked some questions yesterday by

19      Mr. Taylor about your conversations with The Telegraph.

20                   Do you recall that?

21      A.   Yes, I do.

22      Q.   All right.    But, we did not look at this email, so let's

23      look at it now.

24                   Mr. Hawker called you -- or, contacted you by email

25      first about the contact from The Telegraph, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 21 of 134        3153


 1      A.   I would think that would be around 9:53, maybe 8:53 --

 2      Q.   In the morning, correct.

 3      A.   -- in the morning.

 4      Q.   Now, we're on to December 12th, right?

 5      A.   On December 12th.     I'm just getting my orientation on date

 6      and time, and five hours before 1:53 would be, what?             8:53 --

 7      Q.   That's right.

 8      A.   -- a.m.

 9      Q.   A.m.

10      A.   8:53 a.m., I get this email from Hawker saying that Tom

11      Parfitt will call very shortly and ask me about the difference

12      between selective and political prosecution.

13      Q.   Right.    So you got an email from Mr. Hawker letting you

14      know that Mr. Parfitt would be calling?

15      A.   Yes.

16      Q.   Before you had any contact with Mr. Parfitt?

17      A.   That's correct.

18      Q.   And you took the call?

19      A.   I did.

20      Q.   Right.    As you described yesterday, right?

21      A.   I did.

22      Q.   Now, you talked to Parfitt on the 12th, right?

23      A.   Yes, the morning of the 12th.

24      Q.   Right.    The Ministry of Justice had not issued a press

25      release at that point, had they, sir?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 22 of 134      3154


 1      A.   I don't know that.

 2      Q.   You don't know that?

 3      A.   They may have issued it in advance to certain journalists.

 4      They may have given him a copy of a -- I didn't -- you know, a

 5      press release.     I didn't know.

 6      Q.   You don't know, right?

 7      A.   I don't, to this -- at this moment?

 8      Q.   Yeah, at this moment, you don't know?

 9      A.   I don't know, at this moment, whether at that time he had a

10      copy of the press release.

11      Q.   Right.    But my question was different.

12                    You know that the press release was issued on the

13      13th, correct?

14      A.   He might have been given an advance copy.         I know that the

15      press release was released with the Report on the 13th.

16      Q.   Right.    In fact, Mr. Bruce Jackson forwarded you a copy of

17      that release?

18      A.   Yes, he did.

19      Q.   On the 13th?

20      A.   Yes.

21      Q.   Right.    But on the 12th, you don't know whether he had a

22      copy of that or not, correct?

23      A.   What I know is what he quoted to me.        I asked him what

24      the -- the Ukrainian Ministry of Justice was saying about the

25      Report, and he read me a quote from the minister, and I think
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 23 of 134    3155


 1      he read a statement from the release.

 2      Q.   So before you -- let me ask you this:        Before the Report

 3      was released, you talked to two journalist -- actually, three

 4      journalists, correct?

 5      A.   Before the Report was released on the 13th, I talked to

 6      Parfitt --

 7      Q.   Right.

 8      A.   -- and I talked to Sanger.

 9      Q.   Right.

10      A.   And I talked to --

11      Q.   And you talked to Herszenhorn?

12      A.   Yeah, that's correct.

13      Q.   So, before the Report was released --

14      A.   The New York Times and the Daily Telegraph.

15      Q.   Those were the two ones that you talked to before the

16      Report was released?

17      A.   That's correct.

18      Q.   All right.    And you, however, had not told Ms. Weiss or

19      anybody from Skadden's press about the fact that the Report was

20      about to be released, correct?

21      A.   I don't recall whether I did or not.

22      Q.   Okay.

23      A.   I recall that I sent an email to the team saying that it

24      was going to be released.       I don't recall whether I told

25      Ms. Weiss.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 24 of 134   3156


 1      Q.   Okay.    We'll get to that, then, in a second, but let's look

 2      first at 375.

 3                    And that's at 3:36 p.m. on the 12th, correct?

 4      A.   3:36 p.m., an email from Jonathan Hawker.

 5      Q.   To you.    And he's asking you whether you've heard anything

 6      from the Times, because they're anxious about the fact that the

 7      story is going to be coming out at 3:00 a.m. Eastern tomorrow.

 8                    Do you see that?

 9      A.   Yes.

10      Q.   And they wanted to know, is the Times going to publish

11      something before the Report becomes public?

12      A.   I assume that's what they wanted to find out.

13      Q.   Okay.    Let's look at 376.

14                    And this is an email on December the 12th at about

15      3:37 p.m., correct?

16      A.   In the afternoon.

17      Q.   Right.

18      A.   The afternoon of the 12th.

19      Q.   And these are the questions that Mr. Herszenhorn sent you

20      about the Report, correct?

21      A.   Yes.

22      Q.   All right.    And if we look at -- let's look at A first,

23      please, just paragraph A.

24                    He makes mention of the $12,000 payment, as that

25      being an issue they wanted to ask you about, correct?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 25 of 134        3157


 1      A.   Yep, the first question is about our fees.

 2      Q.   All right.    Let's look at paragraph --

 3      A.   C?

 4      Q.   Yes, sir.    And the third question was about the selective

 5      prosecution, correct?

 6      A.   Yes.

 7      Q.   And, in fact, The New York Times understood very well the

 8      difference that your report had made between selective

 9      prosecution and a politically motivated prosecution, correct?

10      A.   They certainly did in the article because I told them the

11      difference.

12      Q.   Well --

13      A.   Are you saying --

14      Q.   -- he tells you here.

15      A.   -- this question?

16      Q.   Yeah.    He tells you here in the question, right?          He

17      says -- and I'm reading in the middle "The Report states 'We do

18      not opine about whether the prosecution was politically

19      motivated or driven by improper political motive, i.e., to

20      remove her from political life in Ukraine in the future'";

21      right?

22      A.   Right.

23      Q.   He -- he understood.      He had the Report already, right?

24      A.   Yes.

25      Q.   He had read it, and he's asking you questions about the
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 26 of 134      3158


 1      Report?

 2      A.   Right.

 3      Q.   Okay.    And then he's also asking you about the fact that

 4      your conclusions seem to be opposite to the U.S. Department of

 5      State's and Secretary Clinton, correct?

 6      A.   It contradicts.

 7      Q.   Right.

 8      A.   It disagrees with.      I'm not sure I would say the opposite.

 9      It's not --

10      Q.   It disagrees, right?

11      A.   We disagreed with -- you know, we didn't find -- we had no

12      opinion of whether it was a political prosecution.           So, I --

13      it's not quite right to say that we disagreed with the State

14      Department.     We -- we did not express a view whether it was

15      politically motivated or not.

16      Q.   Sir, the State Department criticized your report after it

17      was published, did it not?

18                    MR. TAYLOR:    Objection.

19                    THE COURT:    Sustained.

20                    I think the point is, does it contradict the

21      conclusion reached by the State Department?

22                    THE WITNESS:   What's the question?

23                    THE COURT:    Ask your next question.

24      BY MR. CAMPOAMOR-SANCHEZ:

25      Q.   Sir, your report was contrary to the position of the U.S.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 27 of 134        3159


 1      State Department, right?

 2      A.   On the issue of whether the prosecution was politically

 3      motivated, we expressed no view.          The State Department had a

 4      view on that.     The State Department's view was that it was

 5      politically motivated.

 6      Q.   Right.

 7      A.   So to the extent that we -- our absence of having a view

 8      disagrees with the State Department, you're right.           But, I

 9      don't think that's a disagreement so much as a -- we didn't

10      have a view; they did.

11      Q.   Well, they certainly did not like your report when it was

12      published?

13                    MR. TAYLOR:    Objection.

14                    THE COURT:    Can you approach the bench?

15                    MR. CAMPOAMOR-SANCHEZ:      Sure.

16                    (Bench discussion:)

17                    THE COURT:    What's the relevance of that?

18                    MR. CAMPOAMOR-SANCHEZ:      The relevance is, they spent

19      a lot of time saying how this report was anti-Ukraine, and how

20      he's trying to talk to reporters to make sure that is

21      anti-Ukraine, when, in fact, it is perceived as being

22      pro-Ukraine, which is why Ukraine was happy about it.

23                    MR. TAYLOR:    State Department's opinion is not an

24      issue in this case.        It's entirely irrelevant.

25                    THE COURT:    Well, I think --
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 28 of 134     3160


 1                  MR. TAYLOR:    It's post -- it's post the articles.

 2                  MR. CAMPOAMOR-SANCHEZ:      It's post-publication of the

 3      Report.

 4                  THE COURT:    He's saying that his understanding, when

 5      he was talking to the FARA Unit, was that everything he had

 6      done was contrary to the Ukraine's interest.          And Mr. Campoamor

 7      is trying to explore the fact that if we're talking about the

 8      public view of the Ukraine and the Report, that, then, it

 9      wasn't the view.

10                  I mean, yes, I agree with you what his state of mind

11      was the day he received these emails doesn't have to do with

12      whether he thought the Report was good for Ukraine or bad for

13      the Ukraine.     But, I think you've made a major theme of your

14      defense that he thought the Report was bad for the Ukraine,

15      period, that it was black and white.         And that that was why he

16      went rogue and had these interviews, acting on his own behalf,

17      contrary to the interest of his client, when he met with the

18      press.    And that's why he thought it was important to emphasize

19      all of that to the FARA Unit.       So if, by the time he met with

20      the FARA Unit, he was aware that there were -- there was a

21      difference of opinion about whether the Report was favorable or

22      unfavorable is not relevant.

23                  MR. TAYLOR:    Well, first of all, of course, what the

24      State Department has to say is rank hearsay.          But, secondly,

25      Mr. Campoamor-Sanchez is free, as -- we've both been told to
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 29 of 134        3161


 1      argue that the Report may or may not have been contrary to

 2      their interest.     But, the fact that somebody else says that it

 3      is, is entirely irrelevant.

 4                   THE COURT:   All right.    I think what the State

 5      Department says -- they said this, they said that, they agree

 6      with you -- has a hearsay component to it.          But, I think you

 7      can certainly say, you know, by the time -- after the Report

 8      came out, before the time you sat down with the FARA Unit, you

 9      were aware that some views reported it as favorable to the

10      Ukraine and some viewed it as unfavorable.

11                   MR. CAMPOAMOR-SANCHEZ:     Okay.   I'll do it.      That's

12      fine.

13                   THE COURT:   All right.

14                   (Open court:)

15      BY MR. CAMPOAMOR-SANCHEZ:

16      Q.   We'll try to short-circuit this, Mr. Craig.

17                   Between the time that your report was released and

18      the time you met and talked with the FARA Unit, okay, that

19      timeframe --

20      A.   Between December 12th and December -- that would be

21      October 9th, 2013.

22      Q.   Between December 13 through October 9th, 2013.

23      A.   Yes.

24      Q.   That time period.     Okay?

25      A.   Yeah.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 30 of 134       3162


 1      Q.   You were aware that there was a lot of criticism of your

 2      report, because some people saw it as pro-Yanukovych?

 3                  MR. TAYLOR:    Same objection, Your Honor.

 4                  THE COURT:    All right.    Overruled.

 5      A.   I was aware there was controversy about the Report.         I

 6      didn't have an opportunity to talk to anybody in the State

 7      Department because I wasn't talking to government officials

 8      about the Report.     But, there was -- yes, there was some

 9      criticism of the Report, and I thought it was based on a

10      misunderstanding of our conclusions.

11      BY MR. CAMPOAMOR-SANCHEZ:

12      Q.   All right.    Sir, let's take a look, then, at 380, which is

13      also in evidence.

14                  And now we're talking about 5:38 p.m. on December the

15      12th; is that right?

16      A.   Yes.

17      Q.   And you did inform Mr. Sanger that the Ministry would

18      release the Report at 3:00 a.m., D.C. time, the next morning,

19      correct?

20      A.   Yes.

21      Q.   And let's go to Government Exhibit 382.

22                  And remember I was asking you about whether

23      Ms. Weiss -- you had told Ms. Weiss and Skadden about what was

24      going on?

25                  So this is an email now on December 13th -- I'm
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 31 of 134   3163


 1      sorry -- December the 12th at 10:59 p.m.

 2                    That would be the top one, right?

 3      A.   Excuse me.    I'm going to read the whole string, if you

 4      don't mind.

 5      Q.   Sure.    Go ahead.   Of course.

 6      A.   Okay.    Now, what's your question?

 7      Q.   So, first of all, this is 10:59 p.m., the top email, right?

 8      A.   The top email from Lauren to me --

 9      Q.   Yes.

10      A.   -- is 10:59 in the evening --

11      Q.   Right.

12      A.   -- of December 13th, yes.

13      Q.   And Ms. Weiss communicated to you, at the bottom email,

14      that Cliff had let her know that there would be news coming out

15      tonight or tomorrow regarding the MOJ report, right?

16      A.   She sent that to me on December 12th --

17      Q.   Correct.

18      A.   -- at, what, 2:58 in the afternoon the day before, I think.

19      Q.   Actually, sir, it's only --

20      A.   Am I wrong?

21      Q.   We have a stipulation with your counsel, and it's only the

22      top email that has got the time.

23      A.   Okay.    So she sends it to me at 7:58 p.m. on the 12th,

24      which is the day before it was released.

25      Q.   Correct.    And she told you that --
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 32 of 134    3164


 1      A.   And that -- yeah.

 2      Q.   -- that Cliff let her know that it was coming out, correct?

 3      A.   Yes.

 4      Q.   And then she asked you whether there was a contact at the

 5      PR firm can direct inquiries to should the calls come in,

 6      right?

 7      A.   She does.

 8      Q.   And you referred her to Jonathan Hawker?

 9      A.   I did.

10      Q.   That's who she was to send the contacts to, correct?

11      A.   Right.

12      Q.   And you had not told her that you had had the contacts with

13      The Telegraph or with The New York Times?

14      A.   I don't think I had at that point.

15      Q.   Right.    And then let's look at 385.      We can look at the top

16      email.

17                    And that's December 13th, right?

18      A.   Yes.

19      Q.   And that's in the morning?

20      A.   Yes.

21      Q.   And Mr. van der Zwaan is telling you that his meeting

22      with -- how do you pronounce it, Kwasniewski?

23      A.   Kwasniewski.

24      Q.   He told you the meeting had gone very well, right?

25      A.   Yes, Alex is sending me an email and reporting about his
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 33 of 134   3165


 1      meeting with Kwasniewski.

 2      Q.   Okay.    So, then let's look at 396.

 3                    And Mr. Taylor asked you some questions about that

 4      yesterday.

 5                    Do you recall that?   This is the email from

 6      Mr. Manafort to you on December 13th.

 7      A.   Yes.

 8      Q.   And the subject line is, "Well done," right?

 9      A.   That's correct.     From Manafort to me.

10      Q.   Just an email between you and Manafort, correct?

11      A.   It's from Manafort to me.

12      Q.   Right.    And then the subject line is, "Well done"?

13      A.   That's what it says.

14      Q.   Right.    And then it says, "Greg, the pro has emerged,

15      again."

16                    Did I read that right?

17      A.   You did.

18      Q.   And it says, "The initial rollout has been very effective,

19      and your backgrounding has been key to it all."

20                    Did I read that part right?

21      A.   Yes, you did.

22      Q.   All right.    And your testimony here yesterday, sir, is you

23      don't know why Mr. Manafort said that your backgrounding had

24      been key to it all?

25      A.   I thought my backgrounding had been critical of Ukraine.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 34 of 134         3166


 1                  MR. TAYLOR:    May we approach?

 2                  THE COURT:    Yes.

 3                  (Bench discussion:)

 4                  MR. TAYLOR:    I request you give the limiting

 5      instruction, again, on the --

 6                  THE COURT:    Not right now, no.     I did it when it came

 7      into evidence.     You're going to just use the words.           I don't

 8      think it's appropriate now.       I will give the instruction at the

 9      end, but I'm not going to interrupt the cross-examination to do

10      that.    Because all -- he didn't -- he actually asked him, Do

11      you know why he said it?

12                  Actually, he didn't even say, Do you know why he said

13      it?

14                  MR. CAMPOAMOR-SANCHEZ:      No, I did not.

15                  THE COURT:    He said he didn't know why he said it and

16      offered his own answer.      So, no, your request is denied.

17                  (Open court:)

18      BY MR. CAMPOAMOR-SANCHEZ:

19      Q.    And he also told you that "Everyone in Kyiv is happy,"

20      right?

21      A.    That's what he wrote in the email.

22      Q.    He wrote to you, "They like the Report and are especially

23      happy with how the media is playing it," right?

24      A.    That's what he wrote.

25      Q.    And he also said, "Alex did a great job in his briefings in
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 35 of 134     3167


 1      Warsaw."

 2      A.   Yes, I see that.

 3      Q.   All right.    And you did respond to this email?

 4      A.   I did.

 5      Q.   And you talked about the Kyiv Post, right?

 6      A.   I told him I thought the piece in the Kyiv Post was

 7      terrific.

 8      Q.   And then you said, "I'm glad it went so well."

 9      A.   That's what I wrote.

10      Q.   And you also wrote, "Mr. Vlasenko is a very stupid man and

11      does daily damage to his client's case."

12      A.   I believe that to this day.

13      Q.   I'm sure he will be very happy to hear that.

14                    And, sir, that was not the only congratulatory email

15      you got from Mr. Manafort, correct?

16      A.   I think he also sent me one later on.

17      Q.   He also --

18                    MR. CAMPOAMOR-SANCHEZ:    And, Your, Honor at this

19      point, I would move Government's Exhibit 402 into evidence.

20      It's not in evidence right now.

21                    THE COURT:   Can I see it, please?

22                    What number did you say, 402?

23                    MR. CAMPOAMOR-SANCHEZ:    402.

24                    Would you like me to approach?

25                    THE COURT:   Yes.   I need to see it.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 36 of 134     3168


 1                  MR. CAMPOAMOR-SANCHEZ:      Okay.

 2                  THE COURT:    I don't know yet if they object, so we

 3      might not need a bench conference.        I just wanted to see it.

 4      You can generally just give it.

 5                  (Bench discussion:)

 6                  THE COURT:    Do you know which document this is?

 7                  MR. TAYLOR:    I think it's the one that said "You're

 8      the man."    Your Honor has ruled that it's inadmissible.

 9                  MR. CAMPOAMOR-SANCHEZ:      It was inadmissible when he

10      wasn't on the stand, but he's on the stand.          He can explain it.

11      I want to ask him that he got it and he didn't respond to it,

12      even though he'd gotten the email.        And he's still

13      congratulating him.      And there's no hearsay; it's just adding

14      the -- copying him on all the press releases.

15                  THE COURT:    Well, I think for the same reason I

16      admitted the last email we looked at, which is -- showed that

17      Manafort is congratulatory and happy, that it contradicts his

18      theory that by that point, he was acting in a way that was

19      contrary to their interests.       They're still happy with him.

20      And I don't see why the fact that that was said -- I mean, this

21      doesn't say, I'm -- it says, "People in Kyiv are very happy."

22                  MR. CAMPOAMOR-SANCHEZ:      Um-hum.

23                  THE COURT:    So, there's something of a hearsay

24      component to it.

25                  MR. CAMPOAMOR-SANCHEZ:      Your Honor, but it's not
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 37 of 134        3169


 1      necessarily for the truth, but that's what he's been told.            And

 2      he's been trying to make this jury believe that he was acting

 3      contrary to their interests, that he said terrible things about

 4      Ukraine, and that that was his intent.          And yet --

 5                  THE COURT:    He is still getting congratulated.

 6                  MR. CAMPOAMOR-SANCHEZ:      Right.

 7                  THE COURT:    All right.    Well, then, I think -- go

 8      ahead.

 9                  MR. TAYLOR:    If you admit it for that purpose, then

10      you're admitting it for the truth.

11                  THE COURT:    Okay.    I want to take out the sentence

12      "People in Kyiv are very happy."        So, you've got "Media update:

13      Greg, here's the coverage.        You're back in the headlines.

14      You're the man, Paul."

15                  MR. CAMPOAMOR-SANCHEZ:      Okay.

16                  THE COURT:    That has no hearsay, but it makes the

17      point that Manafort is happy and congratulatory without stating

18      what Kyiv is thinking or not thinking.

19                  MR. CAMPOAMOR-SANCHEZ:      Okay.

20                  MR. TAYLOR:    For that purpose, it's being admitted

21      for the truth.

22                  THE COURT:    There's no fact asserted once you take

23      out "People in Kyiv are very happy."         That has to be redacted

24      out.   That is a fact that what somebody else was thinking about

25      which we cannot cross-examine Paul Manafort.          But, the fact
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 38 of 134     3170


 1      that Paul Manafort sent an email, "You are the man" all in

 2      caps, it gives rise to the inference that it was Manafort that

 3      was quite satisfied with what had happened --

 4                   MR. TAYLOR:    Right.

 5                   THE COURT:    -- and I think that that's -- but, that's

 6      not the truth of a matter asserted; it's just the fact that he

 7      said it has that effect.       So, there is no fact in there to tell

 8      them -- there's no fact --

 9                   MR. TAYLOR:    The fact, Your Honor -- the fact that's

10      being asserted is that Manafort is happy.

11                   MR. CAMPOAMOR-SANCHEZ:     He sends him the email that

12      tells --

13                   THE COURT:    First of all, he doesn't actually say,

14      I'm happy.

15                   MR. TAYLOR:    "You're the man."

16                   THE COURT:    If he did, it would be inadmissible.     The

17      fact that he said "You're the man," just the fact that it was

18      said is admissible.       And we can certainly say that this report

19      is -- this email is only coming in for the fact that it was

20      said, because that's all they need it for.          That's all it is.

21                   But, I'm happy to have that caveat, and I'm happy

22      to -- we're going to redact the fact asserted that people in

23      Kyiv are happy.     That's a fact and it's coming out.

24                   MR. MURPHY:    Your Honor, we had a long discussion

25      about this at the pretrial conference, and you ruled it
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 39 of 134     3171


 1      inadmissible absent the presence of Manafort to explain it.

 2                  THE COURT:    Right, because it had that sentence in

 3      it.

 4                  MR. MURPHY:    We still don't have Manafort.

 5                  THE COURT:    Without the sentence --

 6                  MR. MURPHY:    "You are the man" doesn't speak to

 7      the sentence.     What does he mean by that?

 8                  THE COURT:    Okay.    Well, everybody can try to figure

 9      that out.    I don't think we need him here for the fact that he

10      sent it and that he's in a congratulatory mood.          You've made

11      your record.     I'm taking out his representation of a fact.      I

12      don't think this is hearsay, number one.         I think it's been --

13      its relevance has been made clear by the testimony.

14                  And, so, what I said earlier, when I excluded it, I

15      excluded the entire thing, and now I'm only permitting it to

16      come in a redacted format.        You don't need to read me back what

17      I said.

18                  MR. TAYLOR:    I know that.     But, what I want to say is

19      that this is -- there's allegedly a non-hearsay purpose here,

20      to prove that --

21                  THE COURT:    It's not hearsay.     It's not even a

22      question of a non-hearsay purpose.        There is no fact asserted.

23      "You are the man" is not a fact.

24                  MR. TAYLOR:    It conveys Mr. --

25                  THE COURT:    An emotion.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 40 of 134           3172


 1                  MR. TAYLOR:    Your Honor --

 2                  THE COURT:    The fact that it was said.

 3                  I'm not going to stand here anymore and argue.              It's

 4      your point, I think it has been very well made.          It's in my

 5      discretion to admit this, redacted.        I find it to be not

 6      hearsay.    I think the hearsay is being redacted out.           It's

 7      coming in solely for the fact that it was said, and I will give

 8      that instruction, even though I don't believe there are any

 9      assertions of fact in it.

10                  So, you have to make sure that before it gets up on

11      the screen, that's off, and it will be admitted, redacted.

12                  MR. CAMPOAMOR-SANCHEZ:      Yes.

13                  THE COURT:    I believe that the direct testimony drew

14      on what Mr. Manafort said, thought, and told, and what

15      Mr. Craig thought and Mr. Manafort thought in great detail.

16      So, there's that as well.       All right.

17                  MR. CAMPOAMOR-SANCHEZ:      Thank you.

18                  (Open court:)

19      BY MR. CAMPOAMOR-SANCHEZ:

20      Q.   Let us take a look at Government's Exhibit 402, and let's

21      look at another email.

22                  THE COURTROOM DEPUTY:      Has that been redacted?

23                  MR. CAMPOAMOR-SANCHEZ:      It is now in evidence.

24      BY MR. CAMPOAMOR-SANCHEZ:

25      Q.   Is that --
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 41 of 134   3173


 1                    THE COURTROOM DEPUTY:    It's in evidence?

 2      A.   Yes, sir.

 3                    THE COURT:   Yes.

 4      BY MR. CAMPOAMOR-SANCHEZ:

 5      Q.   And let's focus on the top, please.

 6                    THE COURT:   Members of the jury, this is another one

 7      of those exhibits which is something that someone said that's

 8      not in court that's just being admitted for the fact that it

 9      was said.

10      BY MR. CAMPOAMOR-SANCHEZ:

11      Q.   Sir, this is an email that Mr. Manafort sent to you on,

12      now, December 15th, at approximately 11:48 in the morning,

13      correct?

14      A.   Yes, looks that way.

15      Q.   He was forwarding to you what's the rest of the email,

16      which I just -- media updates.        Like, copies of links of

17      articles that had been published about the Report, correct?

18      A.   He says that this is a partial list of coverage.

19      Q.   Right.    And he says, "You're back in the headlines

20      internationally.     Even beat out Susan Rice in several

21      countries.     I thought you would like this fact."

22                    And then he says, "You are the man, Paul.'"

23      A.   That's what he says.

24      Q.   Sir, isn't it true that Mr. Manafort was, indeed, very

25      happy with what you did to help out?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 42 of 134    3174


 1                   MR. TAYLOR:    Objection.

 2      A.   I didn't talk to him.

 3                   MR. TAYLOR:    Objection.

 4                   THE WITNESS:   Excuse me.

 5                   THE COURT:    All right.    It's sustained.

 6      BY MR. CAMPOAMOR-SANCHEZ:

 7      Q.   You did have a conversation with Mr. Manafort after this?

 8      A.   I may have.     I don't recall.

 9      Q.   He -- you went out to dinner with him, right?          A

10      congratulatory dinner?

11      A.   I don't think we ever had dinner.        We may have had a lunch,

12      but I don't think we ever had dinner.

13      Q.   Okay.   So -- and in that lunch, he let you know that he was

14      happy with what you had done, right?

15                   MR. TAYLOR:    Objection.

16                   THE COURT:    You can answer.

17      A.   I don't think that was the topic of the lunch.

18      BY MR. CAMPOAMOR-SANCHEZ:

19      Q.   Okay.   So --

20      A.   In fact, I think it was in this cafeteria in this

21      courthouse we had lunch.

22      Q.   Sir, you knew from the moment you accepted this assignment

23      that you were supposed to background critical journalists, did

24      you not?

25      A.   No.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 43 of 134   3175


 1      Q.   Okay.    Let's take a look at Government's Exhibit 530.

 2      That's in evidence.

 3                    If you like, I can show you the original version of

 4      that exhibit as well.

 5                    That's your handwriting, correct?

 6      A.   It is, yeah.

 7      Q.   You wrote this on April 12th, 2012, did you not, sir?

 8      A.   It was one of the first two trips to Kyiv, and I know that

 9      because it's the Hyatt Regency.        And it's either the first or

10      the second trip.     Could have been the first trip, but I think

11      it was the second trip.

12      Q.   Right.    And on Point Number 2 you wrote, "PR

13      recommendations," correct?

14      A.   That has to do with finding a firm, helping them identify a

15      firm.

16      Q.   I doesn't ask you what that had to do, but, okay.

17                    And you also wrote, sir, "Backgrounding critical

18      journalists," right?

19      A.   Yes.

20      Q.   And you did that on April 2012, correct?

21      A.   I wrote this -- I wrote this note, I think, in April of

22      2012, yes.

23      Q.   And as early as July of 2012, you had had conversations

24      with Mr. Manafort about the media rollout strategy?

25      A.   I asked him, I think in the middle of July, to let me know
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 44 of 134       3176


 1      what the communication strategy was, please.

 2      Q.   And, in fact, you got copies of it from him, right?

 3      A.   I'm sorry.    I didn't understand the question.

 4      Q.   You got copies of the media plan from Mr. Manafort?

 5      A.   He sent me -- in response to my request, I think he did

 6      send me a copy of the media plan.

 7      Q.   Right.    Well, let's take a look at Government's

 8      Exhibit 200.

 9                    You also discussed that yesterday with Mr. Taylor.

10                    THE COURTROOM DEPUTY:    Is this in evidence, Counsel?

11                    MR. CAMPOAMOR-SANCHEZ:    Yes, it is.

12                    THE COURTROOM DEPUTY:    Thank you.

13      BY MR. CAMPOAMOR-SANCHEZ:

14      Q.   And let's look at the email that starts, "Okay."

15                    Do you remember discussing that with Mr. Taylor

16      yesterday?

17      A.   This is about the leaks.

18      Q.   Well, let's look at what if says.

19                    You are talking about leaks, correct.

20      A.   Which -- there's about three emails.        Which one are you

21      talking about?

22      Q.   The one I have right in front of your screen, which is --

23                    THE COURT:   I think he's looking in the book.

24                    MR. CAMPOAMOR-SANCHEZ:    Yeah.   First page --

25                    THE COURT:   You're allowed to look at either one.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 45 of 134     3177


 1                    MR. CAMPOAMOR-SANCHEZ:     Right.

 2      MR. CAMPOAMOR-SANCHEZ:

 3      Q.   First page, where it says your email to Mr. Manafort of

 4      Monday, July 30th, at 5:51 p.m.

 5                    THE COURT:   Tell me the exhibit number again.     I'm

 6      sorry.

 7                    MR. CAMPOAMOR-SANCHEZ:     200.

 8                    THE WITNESS:   It's 200.

 9                    THE COURT:   All right.    Once we call out the box, I

10      can't see it.

11      BY MR. CAMPOAMOR-SANCHEZ:

12      Q.   Do you recall discussing this with Mr. Taylor yesterday?

13      A.   Yes, I do.    I do.

14      Q.   All right.    And, sir, you wrote, "The worst thing that

15      could happen to the project, to this law firm, to your guy, and

16      to me, would be to have somebody on your side falsely leak a

17      story that 'Skadden finds Tymoshenko guilty.          Report exonerates

18      Ukraine.'     That kind of story would be a disaster.'"

19                    You wrote that, right?

20      A.   I did.

21      Q.   And then you said, "We have to join arms to get something a

22      little more nuanced," right?

23      A.   I wrote that.

24      Q.   And by "nuanced," you meant balanced, right?

25      A.   I meant something accurate -- something accurate as to what
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 46 of 134        3178


 1      our report was.

 2      Q.   Well, "nuanced" is not "accurate," right?         "Nuanced" is

 3      "balanced," right?

 4      A.   I don't know that "nuanced" is "balanced."

 5      Q.   Well, you wrote this, right, sir?

 6      A.   Yes.    I'm telling you what I think I meant.

 7      Q.   And you were telling Mr. Manafort that you have to join

 8      arms with him to get that nuanced message out.

 9      A.   What I was concerned about was a leak that would falsely

10      report in the front pages of the newspapers of the world that

11      Skadden had exonerated Ukraine.        That was going to be a false

12      statement.    When I said to him "We need to join arms to prevent

13      that from happening," that's what I said when I -- that's what

14      I meant when I said "Join arms to get something just a little

15      more nuanced."     That means we want something honest and

16      accurate as to what the Report is going to say.          And we don't

17      want to have a leak, neither you nor I.

18      Q.   Yes.    But, your last sentence, sir, is not about preventing

19      leaks; it's about getting something a little more nuanced

20      correct?

21      A.   Well, joining arms, it's about joining arms.

22      Q.   Right, to get something a little more nuanced?

23      A.   Right, that's what I say.

24      Q.   Right, and if there was a perception, as you say here, that

25      you had exonerated Ukraine, that would be the worst thing that
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 47 of 134      3179


 1      happened to you, right?

 2      A.   Well, that was my -- my nightmare was that there would be a

 3      false story leaked to the news media that said we had

 4      exonerated Ukraine when we hadn't.        That's my nightmare.

 5      Q.   That would damage your reputation, right?

 6      A.   Well, it would do more than that.        It would falsely

 7      represent the work of a great team of lawyers and a great law

 8      firm.

 9      Q.   Right.    That would be damaging to your law firm, right?

10      A.   It would be damaging to the reputations of the law firm, to

11      mine, to the members of the team, and it would do damage to

12      Ukraine, I think.

13      Q.   Right.    "It would do damage to your guy," which is

14      President Yanukovych, right?

15      A.   When I refer to Paul Manafort's -- yes.

16      Q.   "Your guy" is President Yanukovych, right?

17      A.   Yes.

18      Q.   All right, sir.

19                    Let's look at Government's Exhibit 503.       That's also

20      in evidence.

21                    And, sir, these are some of the media plans that you

22      received, right?

23      A.   I don't -- I don't know how many of -- what you've got here

24      in this --

25      Q.   Well, these are documents from your hardcopy files,
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 48 of 134      3180


 1      correct?

 2      A.   Yes.    Yes, these were in my files.

 3      Q.   Right.   These are the documents that you actually either

 4      printed or were handed, correct?

 5      A.   I think -- I think I asked Catie to print these out for me.

 6      Q.   And then you read them, right?

 7      A.   I didn't read them all, but I read some of them.

 8      Q.   And you annotated it?

 9      A.   Yes, I did, in anticipation of a discussion with Cliff.

10      Q.   Okay.    So, if you look at the very first paragraph, at the

11      top, you saw that it read, "The public release of the Report

12      prepared by Skadden will provide a major opportunity for the

13      government to reset the agenda and demand a fresh appraisal of

14      its position regarding the trial and conviction of Yulia

15      Tymoshenko," correct?

16      A.   That's what it says.

17      Q.   And if we go to page 2, where we have that arrow that goes

18      to the top, second bullet point.        It says, "The Report will

19      conclude that the trial was valid and that the crimes were

20      committed by Yulia Tymoshenko, but that some irregularities

21      existed not in line with Western jurisprudence," right?

22      A.   Right.   I made that arrow.

23      Q.   And you said yesterday, that was wrong, right?

24      A.   That was absolutely wrong.

25      Q.   Let's go look at Point Number 6 and down on that page.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 49 of 134   3181


 1                    And you write, sir, here, that it said, "In addition,

 2      a small number of international journalists should be briefed

 3      in advance of the publication of the Report, under strict

 4      embargo, and formally contacted by the MOJ press team with

 5      support of the AC team on behalf of the MOJ."

 6      A.   Right.

 7      Q.   Right?

 8                    You knew, sir, from the beginning, that the strategy

 9      was to leak, to seed this report with journalists, correct?

10      A.   Not from the beginning.

11      Q.   Well, from July of 2012, at least, right?

12      A.   I think that's fair, yes.

13      Q.   And when you saw the background about -- your handwritten

14      note about backgrounding critical journalists, that was in

15      April of 2012, correct?

16      A.   I wrote that handwritten note, backgrounding critical

17      journalists.     That could have been something about other than

18      just this report.     It might have been about Project Two, as

19      well.

20      Q.   And in -- just under 6, there's the initials "BM" and "FH,"

21      right?

22      A.   Yes.

23      Q.   And then you wrote, "Burson" something.

24                    What does it say there?

25      A.   It's Burson-MA, probably for Marsteller.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 50 of 134   3182


 1      Q.   Right.    And then what's the other thing you wrote?

 2      A.   Fleisher.

 3      Q.   Right.    So those are PR firms, right?

 4      A.   They are.

 5      Q.   And you knew that when you were reviewing this document?

 6      A.   I was trying to figure out who BM and FH were, and that was

 7      my guess.

 8      Q.   And if you look at page 6 of this report, numbers 5 and 6

 9      at the bottom.

10      A.   503006?

11      Q.   Yes, sir.    Yep.   Are you --

12      A.   I'm there.

13      Q.   Page 6?

14      A.   Yes.

15      Q.   Okay.    And you wrote "Okay" next to both of those

16      suggestions, right, in the plan?

17      A.   Would you direct me where my --

18      Q.   Sure.

19      A.   There's a bunch of notations here.

20                    Are we talking Number 3?

21      Q.   No.    No.   Page 6.   You're right, 5 and 6.

22      A.   Oh, 5 and 6.

23      Q.   Right.

24                    And you wrote "Okay" by both of those, right?

25      A.   I did, that's my handwriting.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 51 of 134   3183


 1      Q.   And that's the one about the embargo of the journalist,

 2      right?

 3      A.   Which are you talking about?

 4      Q.   I'll withdraw the question.

 5                    Let's go to the next page, at the top, 7.

 6      A.   Yes.

 7      Q.   And here, you're discussing briefing or an outreach to

 8      Ashton, Fule, Schultz.

 9                    Do you see that?

10      A.   What number are you at?      Tell me the number.

11      Q.   Seven.

12      A.   Yes, I see that at the top.

13                    THE COURT:   Well, the document is discussing

14      outreach.

15                    MR. CAMPOAMOR-SANCHEZ:    Right.

16                    THE WITNESS:   Yeah.   At Number 7, this will include

17      outreach to Ashton, Fule, Schultz --

18      MR. CAMPOAMOR-SANCHEZ:

19      Q.   Right.

20      A.   Stakeholders, think tanks, and interested NGOs.

21      Q.   Right.    And, sir, you had been discussing with

22      Bruce Jackson reaching out to Fule and others at this time,

23      too, right?

24      A.   I don't recall that.      May have.

25      Q.   And so that we're all clear, Fule was the minister of
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 52 of 134   3184


 1      European affairs at the time, right?

 2      A.   He was in charge of the expansion of the European Union,

 3      and was the member of the European government that advised the

 4      commission on whether Ukraine should be invited to be an

 5      associate in the European Union.

 6      Q.   Right.    So, if the association agreement was going to be

 7      signed, he was going to be an important person in that process,

 8      right?

 9      A.   Stefan Fule was an important person in the issue of whether

10      the European Union was going to invite Ukraine to join as an

11      associate of the Union.

12      Q.   So, let's look at --

13                    MR. CAMPOAMOR-SANCHEZ:    This is not in evidence, Your

14      Honor, so should not be published just yet; Government's

15      Exhibit 819.

16                    Can we display it, just for the Judge?

17                    THE COURT:   Or you can just hand her paper copies and

18      she can hand them up to me.       And I can ask if the defense

19      objects, and we don't have to have a bench conference unless

20      they do.

21                    MR. CAMPOAMOR-SANCHEZ:    Here.

22                    THE COURT:   You don't have another copy for me?   All

23      right.

24                    MR. CAMPOAMOR-SANCHEZ:    I thought I did, Your Honor,

25      but, apparently, I do not have that one.         But --
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 53 of 134      3185


 1                  THE COURT:    All right.    I'll wait.    I just thought it

 2      would be faster if you just handed up a paper copy.

 3                  MR. TAYLOR:    No objection.

 4                  THE COURT:    All right.    Then you can admit it.

 5                  MR. CAMPOAMOR-SANCHEZ:      Can we display it, please?

 6                  THE COURT:    So we're -- just 819?      We haven't talked

 7      about 20 yet?

 8                  MR. CAMPOAMOR-SANCHEZ:      Correct.

 9      BY MR. CAMPOAMOR-SANCHEZ:

10      Q.    Sir, Bruce Jackson is a friend of yours, correct?

11      A.    Yes, he is.

12      Q.    And Mr. Jackson was also part of a think tank, right?

13                  THE JURORS:    Are we supposed to see it?

14                  THE COURT:    Yes.    It's been admitted.     They can see

15      it.

16                  Is it on the screen?

17                  THE COURTROOM DEPUTY:      Yes.

18                  THE COURT:    Okay.

19      BY MR. CAMPOAMOR-SANCHEZ:

20      Q.    Mr. Jackson was part of pt/democracy.org, right, at the

21      time?

22      A.    I had known Bruce from working with him on the Committee to

23      Expand NATO.     This was an organization, I think, that came out

24      of that, that had to do with democracy.         I was never familiar

25      exactly with the think tank, but it was that kind of an
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 54 of 134        3186


 1      organization.

 2      Q.   But, he's a friend of yours, a personal friend?

 3      A.   Yes.   We worked together.

 4      Q.   And you have vacationed together?

 5      A.   We have.

 6      Q.   So, Mr. Jackson writes to you on July 19th, and he says,

 7      "Dear Greg, As I mentioned to you earlier, I had dinner in

 8      Brussels on Tuesday with Stefan Fule, who is the European

 9      commissioner for enlargement and neighborhood, and who is

10      responsible for Ukraine and the eastern partnership.             I passed

11      them along the broad outlines of your report as you gave them

12      to me."

13                   Sir, you were briefing your friend, Bruce Jackson,

14      about the Report, were you not, as of July 19, 2012?

15      A.   No.    I told him what we were doing.      I described the

16      project that we were engaged in.

17      Q.   And then he continues to write in that, "Stefan may have to

18      comment on his report.      And, anyway, we'll be traveling to

19      Viktor Pinchuk's Yalta Conference in early September.            I

20      thought the two of you should consider exchanging cell phone

21      numbers this summer as a contingency measure," right?

22      A.   He makes that proposal.

23      Q.   In fact, you said, "Good idea.       I don't know when the

24      Report will be released, but it makes sense for Fule to have

25      contact info to me when the moment comes," right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 55 of 134    3187


 1      A.   I did, I wrote that.

 2      Q.   Okay.

 3      A.   And I gave him my cell phone.

 4      Q.   Right.    You gave your cell phone so Fule could contact you,

 5      correct?

 6      A.   That's right.

 7      Q.   And, in fact, he passed on to you Fule's information in

 8      August of 2012?

 9      A.   He may have.

10      Q.   You don't recall?

11      A.   I don't recall.

12      Q.   Okay.

13      A.   I never talked to Fule.

14      Q.   We're going to get to that.

15                    Now, you also discussed with Mr. Jackson who should

16      get an advanced copy of your report, did you not, sir?

17      A.   I don't recall that.

18      Q.   And you discussed with him, also, how administration

19      officials in the United States would get an advanced copy of

20      the Report?

21      A.   I don't recall that.

22      Q.   And you gave a copy of the Report to Mr. Jackson in

23      September of 2012, did you not, sir?

24      A.   I don't think so.

25      Q.   Okay.    Let's look at Government's Exhibit 829 [sic].      This
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 56 of 134            3188


 1      is not in evidence.

 2                   MR. CAMPOAMOR-SANCHEZ:     Your Honor, we would move

 3      Government's Exhibit --

 4                   THE COURT:    Wait a minute.

 5                   So, it's just the one email from -- okay.           Let me

 6      just read it.

 7                   All right.    So -- all right.

 8                   What's the defendant's point of view about whether

 9      this is admissible?

10                   MR. TAYLOR:    No objection.

11                   THE COURT:    All right.   You can admit it.

12      BY MR. CAMPOAMOR-SANCHEZ:

13      Q.   Sir, you've been looking at it, right?         You have it your

14      book?

15      A.   Yep.

16      Q.   Okay.   And this is a letter from Mr. Jackson to you on

17      September the 6th, 2012, right?

18      A.   The email to me is September 20th, 8:04 a.m.

19      Q.   I'm sorry.    Sir, are you on 821?

20      A.   829.

21                   THE COURT:    821.

22                   THE WITNESS:   Oh, I'm sorry.     I'm looking at the

23      wrong --

24                   MR. TAYLOR:    He said 829.

25                   THE COURTROOM DEPUTY:      You said 829, Counsel.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 57 of 134       3189


 1                    THE COURT:    Well, anyway, we're looking at 821 at

 2      this point.

 3                    So, do you have an objection to 821?

 4                    MR. TAYLOR:    It's the same thing I just looked at.

 5                    THE COURT:    I think it is.

 6                    MR. TAYLOR:    No objection.

 7                    THE COURT:    Okay.

 8      BY MR. CAMPOAMOR-SANCHEZ:

 9      Q.   Sorry.    821, sir.

10      A.   821.

11      Q.   Getting my numbers mixed up.

12      A.   Oh, here.    Hold on.

13                    Okay.

14      Q.   And if you look at --

15      A.   Jackson to Craig.

16      Q.   Correct, on September the 6th; is that right?

17      A.   August the 8th.

18                    THE COURT:    No.

19                    THE WITNESS:   Oh, that's 820.    I'm sorry.       I

20      apologize.

21                    Got it.   Okay.

22      BY MR. CAMPOAMOR-SANCHEZ:

23      Q.   And, sir, just to orient us, Tony Blinken that you see

24      listed at the bottom here under the people that should get an

25      advance, Tony Blinken was the Deputy National Security Adviser
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 58 of 134     3190


 1      at the time for President Obama, was he not?

 2      A.   I think so.

 3      Q.   Above that we also have Stefan Fule as somebody who should

 4      get a copy of the Report in advance, right?

 5      A.   This is an email from Bruce Jackson.

 6      Q.   To you?

 7      A.   Yes.

 8      Q.   Right.    And my question originally was:       You were

 9      discussing with him who should get an advance copy of the

10      Report, including people below?

11      A.   I don't recall discussing this with him at all.

12      Q.   Okay.    Then let's look at Government's Exhibit 822, not in

13      evidence.

14                    MR. CAMPOAMOR-SANCHEZ:     Your Honor, we would move the

15      admissibility of 822.

16                    THE WITNESS:   Is there a question?     I'm sorry.

17                    MR. CAMPOAMOR-SANCHEZ:     No.

18                    THE COURT:    We're talking about --

19                    MR. TAYLOR:    No objection.

20                    THE COURT:    All right.   822 will be received in

21      evidence.

22                    You can put it on the screen.

23      BY MR. CAMPOAMOR-SANCHEZ:

24      Q.   Yeah.    Let's start with the last email on the top of the

25      second page.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 59 of 134          3191


 1      A.   The first -- oh, at the top of the second page.             Yes.

 2      Q.   Yes, sir.

 3                    That's an email from Paul Manafort to you -- I'm

 4      sorry -- to Mr. Jackson on September 23rd, correct?

 5      A.   Yeah.    It starts at the bottom of the previous page.

 6      Q.   And --

 7      A.   From Manafort to Jackson, September 23rd, yes.

 8      Q.   Correct.    And that was the day of the Harvard Club meeting,

 9      correct?

10      A.   Yes, it was.

11      Q.   Okay.    And Mr. Manafort wrote, "I asked Greg to call you

12      about the possibility of a private briefing of his report to

13      Fule when he is transiting through Europe.          Does this make

14      sense?"

15                    Let me ask you first, sir, you discussed at the

16      Harvard Club meeting whether you would meet with Mr. Fule,

17      correct?

18      A.   We may have.

19      Q.   Okay.    And then let's go to the first page.       The bottom

20      email in response.

21                    And Mr. Jackson responded to Mr. Manafort, correct?

22      Do you see that?

23      A.   I do.

24      Q.   And that was the next day, on September the 24th, correct?

25      A.   Right.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 60 of 134    3192


 1      Q.   All right.    And he writes, "Yes, it makes great sense.      If

 2      it all possible, make sure Greg gets there before the Report

 3      appears on the street."

 4                    And then he continues.

 5                    And then look at the bottom, where it says, "How are

 6      you going to get the message to Blinken?         I think that WH" --

 7      and that means the White House, right?

 8      A.   Yes.

 9      Q.   -- "will be easier than state, where Teft has a done a lot

10      of work, and Dan Russell leads towards YT, anyway."

11                    That's Yulia Tymoshenko, correct?

12      A.   Yes, I would assume so.

13      Q.   And then he forwards that to you, at the very top.

14      A.   He does.

15      Q.   Right.    Says, "Dear Greg, I have attached my response to

16      Manafort's email this morning below.         If you want to talk, tell

17      me when to call."

18                    And then he tells you when Fule is going to be in

19      Brussels, right?

20      A.   He does.

21      Q.   So, sir -- and he forwarded to you the chain that was being

22      exchanged between him and Manafort, right?

23      A.   I see that.

24      Q.   Right.    And, so, sir, you knew that Manafort and Ukraine

25      were going to use the Report to try to brief Blinken, as well
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 61 of 134      3193


 1      as other people, right?

 2      A.   I honestly didn't -- I didn't know what he was going to do

 3      with the Report on October -- September 24th.          I didn't know

 4      what he was going to do with the Report.

 5      Q.   Well, certainly the FARA Unit asked you.         That was one of

 6      the questions, right?       Like, What will the Ministry of Justice

 7      do with the Report, correct?

 8      A.   That's correct.

 9      Q.   Right.    And certainly your friend Bruce Jackson -- and by

10      the way, Bruce Jackson recommended you to Paul Manafort, right?

11      A.   He may have.

12      Q.   And your friend --

13      A.   I think it was actually Doug Shoen who was the one who

14      selected me for this project.

15      Q.   Right.    I'm not asking you who approached you first.       But,

16      he also recommended you to Manafort, right?

17      A.   He may have.

18      Q.   All right.    I think we get the point.

19                    But, let's look now at Government's Exhibit 829, not

20      in evidence.

21      A.   829.   We're back to 829.

22      Q.   Now we're really in 829.

23                    THE COURT:    All right.   Don't talk about it yet.

24                    MR. TAYLOR:   Can I see 829?

25                    (Pause.)
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 62 of 134     3194


 1                     MR. TAYLOR:   No objection.

 2                     THE COURT:    All right.

 3                     MR. CAMPOAMOR-SANCHEZ:     Is it admitted, Your Honor?

 4                     THE COURT:    It will be admitted.

 5                     You can put it on the screen.     You can ask him about

 6      it.

 7      BY MR. CAMPOAMOR-SANCHEZ:

 8      Q.    Sir, let's start at the bottom -- bottom half of the page,

 9      where the forwarded message begins.

10                     And this is an email from Mr. Jackson to

11      Tony Blinken, right?

12      A.    Yes.

13      Q.    And a J. Smith.

14                     Who is J. Smith?   Do you know?

15      A.    I don't.

16      Q.    Okay.    He certainly has a .gov account, right?

17      A.    Well, it looks, to me, like the office of the vice

18      president, if you look at the email address.

19      Q.    Right.

20      A.    Jsmith@officeofvicepresident.executiveofficeofpresident.gov.

21      Q.    Right.    And that email also says -- is discussing whether

22      Senator Durbin has decided to fast track a Magnitsky Act for

23      Ukraine on Tymoshenko, right?

24      A.    This is Bruce Jackson communicating with Tony Blinken and

25      Julie Smith.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 63 of 134      3195


 1      Q.   Right.    About that issue of Ukraine?

 2      A.   That's what it says, yes.

 3      Q.   Now, let's -- see next to the tab, where it says, "More to

 4      the point," at the very bottom?

 5                    It says, "More to the point, after we spoke, I had an

 6      opportunity to read portions of the Skadden Report, which I

 7      will deny having seen.      It is brilliantly written and is

 8      devastating to all parties fairly equally.          Durbin and some at

 9      state are on very uncertain legal ground.         The White House

10      should not join them.      If you really want to screw Ukraine,

11      let's wait and see if the elections give a clear case."

12                    And then he forwards that to you, right?

13      A.   Yes.

14      Q.   He says, "Dear Greg, No doubt you know by now, if you are

15      awake, that the Senate and Ukraine have gotten into a scuffle.

16      Below is my note to Tony."

17                    Do you know Mr. Blinken?

18      A.   Do I know Tony Blinken?      Yes.

19      Q.   "I repeat how I regret that your report is not available to

20      cool the hotheads.      I also regret to be wasting what little

21      ammo I have with the White House on endlessly annoying and

22      trivial Ukraine when the Kremlin is the real prize."

23                    Sir, you had shared a copy of the Skadden Report with

24      Mr. Jackson in September of 2012?

25      A.   No, I don't think I did.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 64 of 134       3196


 1      Q.   So, you think that Mr. Jackson was lying when he says he's

 2      read portions of the Skadden report?

 3      A.   I think that's not true.

 4      Q.   And you actually responded right above his email.           And you

 5      said, "I cannot get into the Ukraine fracas in the Senate

 6      without registering as a foreign agent.         I don't want to do

 7      that."

 8      A.   Right.

 9      Q.   And, again, sir, you knew that Mr. Jackson, using your

10      report, was in contact with members of the U.S. government?

11      A.   I don't think he had access to the Report.         He was

12      obviously saying that he did, and he was in touch with members

13      of the United States government.

14      Q.   Right.    And he said he would deny having seen it.

15                    MR. TAYLOR:   Objection.

16                    THE COURT:    All right.   I think you're arguing with

17      him at this point.

18                    MR. CAMPOAMOR-SANCHEZ:     All right.   All right.    I'll

19      move on, Your Honor.

20                    MR. TAYLOR:   I don't think it's a fair question to

21      ask him.

22                    THE COURT:    Well, you objected to the question and

23      it's been sustained.

24      MR. CAMPOAMOR-SANCHEZ:

25      Q.   All right.    Let's move on, Mr. Craig.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 65 of 134       3197


 1                    I think you alluded to this before, but you also, in

 2      addition to the media plan you -- I showed you earlier,

 3      Mr. Sloan also got a copy of it in late August?

 4                    Do you recall that?

 5      A.   Yes.   In fact, I received the copy that we were discussing

 6      earlier from Cliff, and Cliff told me that he -- he said, let's

 7      discuss.

 8      Q.   Right.

 9      A.   So, it was in my office that I was reviewing that media

10      plan in preparation of a conversation with Cliff Sloan.            That's

11      why I was reviewing it.

12      Q.   Right.    And Mr. Sloan was concerned about what he saw in

13      the media plan, was he not?

14      A.   I was concerned about it.      I assume he was.     I can't

15      remember a specific conversation.

16      Q.   Well, you certainly had and discussed a copy with Mr. Sloan

17      in that "let's discuss" email of August of 2012.

18      A.   What's your question?

19      Q.   I'll rephrase.

20                    You did discuss with Mr. Sloan the media plan in

21      August of 2012, right?

22      A.   I think we had a conversation where we decided that we were

23      not going to comment, amend, make any effort to change the

24      media plan because that would get closer to the line of

25      providing public relations advice, and we didn't want to do
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 66 of 134   3198


 1      that.

 2      Q.   All right.

 3      A.   So we did not communicate with either Manafort or with

 4      Mr. Hawker about the details --

 5      Q.   You anticipated my next question.

 6                  You never complained to Mr. Manafort or Mr. Hawker

 7      about those media plans that you saw, correct?

 8      A.   No.

 9      Q.   And, in fact, Mr. Manafort, in September, before the

10      Harvard Club meeting, also sent you another version of the

11      meeting plan?

12      A.   Well, I --

13                  THE COURT:    You need to speak into the microphone.

14                  MR. CAMPOAMOR-SANCHEZ:      Sorry.

15                  THE WITNESS:    It's hard to hear you.

16                  MR. CAMPOAMOR-SANCHEZ:      I apologize.

17                  THE COURT:    Thank you.

18      MR. CAMPOAMOR-SANCHEZ:

19      Q.   My question, sir, was:      In September, before the Harvard

20      Club meeting, Mr. Manafort sent you yet another copy of the

21      media plan, correct?

22      A.   I think I asked him what the communication strategy was.       I

23      was interested in knowing, directly, what the communication

24      strategy was.

25      Q.   In fact, Mr. Manafort told you that he wanted your thinking
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 67 of 134     3199


 1      about the media --

 2      A.   He was also saying that to me.

 3      Q.   Right.    And then, of course, you got the one before the

 4      Harvard Club meeting, correct?

 5                    MR. TAYLOR:    Objection.    I don't think the question

 6      is clear.

 7                    THE WITNESS:    I understand it, I think, Mr. Taylor.

 8                    THE COURT:    All right.

 9      MR. CAMPOAMOR-SANCHEZ:

10      Q.   Then please go --

11                    THE COURT:    Did you get another one before the

12      September meeting?

13                    THE WITNESS:    Apparently I did, Your Honor, at

14      11:15 p.m., the night before the meeting on Sunday, there was,

15      in my Blackberry, reference to a huge document that had been

16      sent to me, apparently by Mr. Hawker.         I did not read it.   I

17      did not print it out.        I didn't look at it.    But, that was, in

18      fact, a media plan.

19      BY MR. CAMPOAMOR-SANCHEZ:

20      Q.   Right.    So you never looked at it at all?

21      A.   I don't think I ever looked at it at all.

22      Q.   Okay.    All right.

23                    You certainly didn't complain about that to anybody,

24      correct?

25      A.   I didn't complain about it?         No, I don't think I ever did.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 68 of 134    3200


 1      Q.   Okay.    You also were asked some questions yesterday about

 2      your communications with Mr. Weber.

 3                    Do you recall that?

 4      A.   Yes, I do.

 5      Q.   Okay.    Let's talk about that a little bit.

 6                    On October the 2nd, sir, you learned that the Report

 7      was supposedly going to be released shortly.

 8                    Do you recall that?

 9      A.   Only from the emails.      I think, on October 2nd, I was in

10      Cairo, engaged in this project.

11      Q.   Right.

12      A.   And that was where my mind was and my attention was focused

13      on, what we were doing in the Middle East.

14      Q.   But, you were exchanging emails with Mr. van der Zwaan on

15      October the 2nd, where he informed you, right, that the Report

16      was about to be released?

17      A.   Yes, I think there are emails that show that Alex told me

18      that the plan was to be released in October.

19      Q.   In fact, I think you were happy about that, right?

20      A.   I was disappointed that we had not been able to deliver it

21      during the United Nations General Assembly in September.         So, I

22      was happy to learn that we had a plan for delivering it to

23      Ukraine in October, yes.

24      Q.   In fact, you said words to the effect of, Give Shonka a hug

25      and a kiss for me, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 69 of 134      3201


 1      A.   Did I say that?

 2      Q.   Do you recall that?

 3      A.   No, I don't.

 4      Q.   Okay.

 5                    Well, you certainly knew that on October 2nd, you

 6      were notified the Report was going to be released?

 7      A.   I was told by Alex that that was what the plan was.         I was

 8      off in Cairo.

 9      Q.   Okay.    So let's look at Government's Exhibit 300, please.

10                    THE COURTROOM DEPUTY:    This is in evidence, Counsel?

11                    MR. CAMPOAMOR-SANCHEZ:    Yes, this is in evidence.

12                    THE COURTROOM DEPUTY:    Thank you.

13      BY MR. CAMPOAMOR-SANCHEZ:

14      Q.   And this is an email from Ms. Whitney to you on the 2nd?

15      A.   I'm getting to 300.

16      Q.   Oh, sorry.

17      A.   Yes.    Yes, this is about getting contact info.

18      Q.   Right.    My question is, that -- after the emails you got

19      from Mr. van der Zwaan, you asked Ms. Whitney for Mr. Sanger's

20      contact info, correct?

21      A.   Well, they're not necessarily related.         I think the reason

22      I asked Ms. Whitney to get David Sanger's contact information

23      was because Vin Weber asked me if I knew David Sanger, and

24      could I put him in touch with David Sanger.          And, so, I asked

25      Catie to provide me contact info for David Sanger, which I then
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 70 of 134     3202


 1      gave to Vin Weber.

 2      Q.   You made that very clear yesterday, sir.         But, my question

 3      is, the very day you learned the Report was going to be

 4      released is the day you asked Ms. Whitney to get you the

 5      contact information for Mr. Sanger, correct?

 6      A.   That may be.      I'm not going to --

 7      Q.   Well, you're not sure when you were -- you're not sure

 8      October 2nd --

 9      A.   No.    I'm not arguing with you.

10      Q.   Okay.    All right.

11      A.   I'm simply saying that what prompted this letter to Catie

12      was my conversation with Vin.

13      Q.   Believe me, we all get clear that that's your testimony.

14      My only --

15                   THE COURT:    No comments.   Just ask the next question.

16                   MR. CAMPOAMOR-SANCHEZ:     I'm just trying to move on,

17      Your Honor.    Okay.

18                   THE COURT:    All right.

19      BY MR. CAMPOAMOR-SANCHEZ:

20      Q.   Also on that date, after you got the info from Ms. Whitney,

21      you contacted Mr. Sanger, right?

22      A.   Yes.    I wrote him an email and asked him to take a call

23      from Vin.

24      Q.   That's Government's Exhibit 301, right?

25      A.   I don't know the number, but -- yes.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 71 of 134     3203


 1      Q.   It's in evidence.

 2      A.   There it is.

 3      Q.   And then Mr. Sanger responded to you.        That's 302.

 4                    And it was clear from the communications that the

 5      purpose of this was, you want to talk -- you wanted him to talk

 6      to Vin Weber about a report that "we" -- Skadden -- "wrote

 7      about the Tymoshenko case," right?

 8      A.   I asked him if he would take a call from Vin about a

 9      report.

10      Q.   About the Report you wrote --

11      A.   Yes.

12      Q.   -- with your colleagues?

13      A.   Yes.

14      Q.   Right.    And then Mr. Sanger said, "Sure.       Vin knows me,"

15      gave him the cell phone, and then he says where he could be

16      reached, right?

17      A.   Yeah, he -- that's right.

18      Q.   Right.    And then in 304 --

19      A.   Are we at 304?

20      Q.   Yes, sir.

21                    -- you then forward that to Mr. Weber; is that right?

22      A.   Yes.

23      Q.   And then if we look at 307.

24                    You then ask Ms. Whitney to deliver the Report to

25      Mr. Weber.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 72 of 134    3204


 1      A.   Yes.

 2      Q.   And, sir, the Report had not yet been delivered to the

 3      client, had it?

 4      A.   Well, the first draft of the Report had been given to the

 5      client -- or, Mr. Manafort on July 27th.         I thought the final

 6      draft -- the Report had been completed in September, and we

 7      made that available to the client in September.

 8      Q.   Well, my question, sir, is:       No final draft -- or, final

 9      report had been delivered yet to the Ukraine at this stage?

10      A.   No.    We tried.   We tried.   It had not happened.

11      Q.   It had not happened, correct?

12      A.   Nope.

13      Q.   Okay.    So, after this, you also had a conversation with

14      Mr. Weber about the Report.

15                    Do you recall that?

16      A.   No.

17      Q.   Okay.    Let's take a look at 809.      Not in evidence.

18      A.   Is it in the book?

19      Q.   Yes, sir, it's in the book.

20      A.   Right.

21      Q.   All right.    And that's an email from Ms. Whitney to you?

22      A.   Yes.

23      Q.   About a call on -- about -- from Mr. Weber, correct?

24                    THE COURT:   Wait one second.

25                    Is there any objection?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 73 of 134     3205


 1                    MR. TAYLOR:   No objection.

 2                    THE COURT:    All right.

 3                    You can put it on the screen.      It will be admitted.

 4      A.   Catie is telling me about a call from Ed Kutler, who I did

 5      not know, but who was, apparently, was calling on behalf of

 6      Vin Weber.

 7      BY MR. CAMPOAMOR-SANCHEZ:

 8      Q.   And the reason is, they want to talk to you about Ukraine,

 9      right?

10      A.   That's what she says to me.         She says, "Ed is supposed to

11      talk to you about the Ukraine," and he gives me Ed's number.

12      Q.   And you did talk to Mr. Weber [sic]?

13      A.   I don't recall talking to Mr. Kutler about the Report.

14      Q.   Okay.    So, sir, you knew Mr. Weber was a lobbyist, right?

15      A.   I knew Mr. Weber was a lobbyist, I did.

16      Q.   And, so, you handed the Report to him before it was

17      publicly available, correct?

18      A.   He was working for Ukraine -- he told me he was working for

19      Ukraine.

20      Q.   But, you handed the Report to him, right?

21      A.   I arranged for it to be delivered to him.         I didn't hand

22      the Report to him.

23      Q.   You're right.    You're being very precise.

24                    But, you arranged for it to be delivered?

25      A.   I did.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 74 of 134    3206


 1                   Precision is a good thing.

 2      Q.   And you've been saying that the Report was finalized; is

 3      that right?    You had tried to deliver it.       As of October, the

 4      Report was finalized; is that right?

 5      A.   What are you referring to?       Make sure I know.

 6      Q.   Let me ask you, sir, the Report, your report, was not in

 7      final form until late November of 2012; isn't that right?

 8      A.   I would disagree with you about that.        We had it in final

 9      form in September and had tried to deliver it in final form to

10      Ukraine in September.       And if you look at the Report that is in

11      evidence, it's dated September.

12      Q.   Yeah.    The fact that it's dated doesn't mean it's accurate,

13      does it, sir?

14                   MR. TAYLOR:    Objection.

15                   MR. CAMPOAMOR-SANCHEZ:      It's a question.

16                   THE COURT:    Well, the fact that it has that date on

17      it, does that mean that it was necessarily done that day?

18                   THE WITNESS:     If you want my view, my view is that it

19      was done in September.

20      MR. CAMPOAMOR-SANCHEZ:

21      Q.   Okay.    Well, let's take a look at Government's Exhibit 310.

22      In evidence.

23      A.   Oh, it's 310.    Okay.

24      Q.   Yes, sir.

25                   And that's an email from you to Mr. Manafort?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 75 of 134         3207


 1                  THE COURTROOM DEPUTY:      Your Honor, I don't show on

 2      the exhibit list that 310 is in evidence.

 3                  THE COURT:    Government Exhibit 310?

 4                  MR. CAMPOAMOR-SANCHEZ:      I thought it was.        Is it not?

 5                  Well, let's take it down.

 6                  THE COURT:    It may be in evidence -- I ruled it in

 7      evidence.    But it has it been shown previously?

 8                  MR. CAMPOAMOR-SANCHEZ:      My apologize.     I move it in,

 9      then.

10                  THE COURT:    All right.

11                  MR. TAYLOR:    310?

12                  THE COURT:    Government's Exhibit 310.

13                  MR. TAYLOR:    No objection.

14                  THE COURT:    All right.    So, it will be in and it can

15      be shown.

16      BY MR. CAMPOAMOR-SANCHEZ:

17      Q.   This is an email from you to Mr. Manafort?

18      A.   That's correct.

19      Q.   And it's dated November 19th, correct?

20      A.   That's correct.

21      Q.   All right.    Let's look at Point Number 2.

22                  "In the existing transcript, we did refer to the

23      Lavrynovych letter and cited to it.        We will make more specific

24      reference to the fact that the defense counsel introduced this

25      letter and advanced a legal defense.         We will also say that the
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 76 of 134    3208


 1      Court did not accept that legal analysis because it represented

 2      only a preliminary legal opinion."

 3                   Those were changes that you were making in November

 4      of 2012, correct?

 5      A.   That's correct.     I think that was a footnote that we added.

 6      Q.   Okay.    And then Number 3.

 7                   "We have now included the letter from deputy

 8      prosecutor general."

 9                   And then he goes on, right?      That was also a change

10      you were making at the time?

11      A.   Having to do with the same topic, the legal opinion from

12      Lavrynovych.

13      Q.   "Going forward, we will make reference to the prosecutor

14      general's theory, that she entered into the January 19th

15      agreement."

16                   It goes on.

17                   That was something else that was being added,

18      correct?

19      A.   Yes.

20      Q.   And then you closed by saying, "The final report will be

21      ready for delivery in a few hours."

22      A.   That's correct.

23      Q.   So the final report was actually finished in November of

24      2012, correct, sir?

25      A.   As far as I was concerned, the Report had been completed
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 77 of 134   3209


 1      and final in September.      These additional comments we took in.

 2      Yes, they were added.

 3      Q.   Okay.    Let's look at 311, then.     Also in evidence.

 4                    And that's the next day, November 20th, right?

 5      A.   Yes.

 6      Q.   And you say, "Paul, two things.       As described in my email

 7      to you of yesterday, we have responded to the reactions from

 8      the Ministry of Justice.       The tweaks have been made, and the

 9      final report is ready for delivery."

10      A.   That's what it says.

11      Q.   Okay.    And that's what you meant at the time, right?

12      A.   Yes.

13      Q.   Okay.    And your Point Number 2 is, "We have more than

14      exhausted the retainer.      We are owed another 75,000 in time and

15      expenses."

16                    See that?

17      A.   Yes.

18      Q.   All right.    So, as of November 20th, in both expenses and

19      fees, you were just down by 75,000; is that correct?

20      A.   That's what that says.

21      Q.   Right.    Certainly nowhere near the million and a quarter

22      that you were asking about in August of 2012, right?

23      A.   That's correct.

24      Q.   And, sir, after the Report was finalized and delivered,

25      Mr. Manafort gave you one other assignment, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 78 of 134    3210


 1      A.   I don't know what you're talking about.

 2      Q.   He gave you assignment of a confidential memo that he

 3      wanted you to write.

 4      A.   Oh, yes.

 5      Q.   He did, right?

 6      A.   I didn't think it was confidential.        He asked me to write a

 7      memo, yes.

 8      Q.   In fact, that memo was just yours; it wasn't the team's,

 9      right?

10      A.   That's correct.

11      Q.   It was entirely Greg Craig's?

12      A.   It was my work.

13      Q.   Right.    And in that letter -- or, in that memorandum, you

14      wrote, "The evidence of criminal intent, i.e., that she

15      actually intended to commit a crime, is virtually nonexistent."

16                    That's what you wrote to Mr. Manafort, right?

17      A.   Yes, in response to his request to identify the arguments

18      that would be made on behalf of both sides in front of the

19      European Court of Human Rights.        That was what I found to be

20      one of her strongest arguments.

21      Q.   Right.    That's nowhere in your report, is it, sir?

22      A.   I disagree with that.      I think the Report actually reflects

23      that argument.

24      Q.   Did you ever say in your report that the evidence that she

25      actually intended to commit a crime is virtually nonexistent?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 79 of 134      3211


 1      Is that anywhere in your report?

 2      A.     That wording is not in the Report, you're right.

 3      Q.     So, sir, we're almost done.

 4                      Let's move to your communications with FARA.     Okay?

 5      A.     Yes.

 6      Q.     All right.    Let's look very quickly at Government's

 7      Exhibit 3.

 8      A.     I didn't hear the --

 9      Q.     Three.

10      A.     Number 3?

11      Q.     Three, yes, sir.

12                      And let's highlight the second paragraph that starts

13      with, "As you know."

14      A.     Yes.

15      Q.     Okay.    The last full sentence reads, "Recently, she was

16      charged with tax evasion and embezzlement, and she has been

17      named as a suspect in a murder case."

18                      The first part of that sentence, the tax evasion and

19      embezzlement, that was Project Number Two, correct?

20      A.     We were serving as consultants on the rule of law with

21      respect to this second prosecution, and we called it Project

22      Two.

23      Q.     Right.    And my question, sir, is a little simpler.

24                      When the FARA Unit is making reference to the fact

25      that they have found out that she was recently charged with tax
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 80 of 134      3212


 1      evasion and embezzlement, that is Project Number Two, correct?

 2                    THE COURT:    The case to which they are referring in

 3      this letter is also --

 4                    MR. CAMPOAMOR-SANCHEZ:    What you knew.

 5                    THE COURT:    -- the case that was Project Two; is that

 6      correct?

 7                    THE WITNESS:    I think so.   I think so.    I just didn't

 8      get the connection.        Yes, I think that the second prosecution

 9      of Tymoshenko was the one that our lawyers were working -- the

10      Mike Loucks was working with the procurator general.

11      MR. CAMPOAMOR-SANCHEZ:

12      Q.   Right.    You certainly never identified for the FARA Unit

13      that you were working on this Project Number Two, did you, sir?

14      A.   We said that we were working on rule of law issues in the

15      criminal justice system.       We did not identify Project 2.

16      Q.   Right.    Right.   Now, let's go to Exhibit Number 4, which is

17      the -- your June 3rd response.

18                    You discussed this with Mr. Taylor yesterday, right?

19      A.   Yes, we did.

20      Q.   Okay.    And before you send your response to the April

21      letter, you went through a number of drafts, correct?

22      A.   Yeah.    Cliff and I exchanged drafts back and forth.

23      Q.   There were lots of iterations of what became the final

24      letter?

25      A.   I think that's fair to say, yes.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 81 of 134    3213


 1      Q.   And you're very careful in your work, right?

 2      A.   I try to be.

 3      Q.   In fact, I believe you mentioned earlier, precision is

 4      important, right?      It's one of your answers earlier, right?

 5      A.   I think it is.

 6      Q.   Right.    In --

 7      A.   I don't like to make errors.

 8      Q.   I'm sorry?

 9      A.   I don't like to make errors.

10      Q.   Okay.

11                    In -- let's look at 430, Exhibit 430, which is one of

12      the drafts in this -- in -- to this letter.

13      A.   430?

14      Q.   Yes, sir.

15      A.   Got it.

16      Q.   And that's an email that you sent on May 1st to

17      Ms. Whitney --

18      A.   Yep.

19      Q.   -- where you asked her to "Please put in final form for my

20      signature," right?

21      A.   Yes.

22      Q.   And let's look at page 2.

23      A.   That's the letter or the exhibit?

24      Q.   Page 2 of the exhibit, which is the first page of the

25      letter.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 82 of 134   3214


 1      A.   First page of the letter.      Yes.

 2      Q.   Let's look at Number 1.

 3                   And this is an answer -- a draft answer to that

 4      question of, "To whom, if anyone, did your firm release or

 5      distribute the Report?"

 6                   Do you see that?

 7      A.   Oh, we're down to Number 1.       Okay.

 8      Q.   Yes, sir.

 9      A.   Yes.

10      Q.   And in this draft you wrote, "In addition to giving the

11      Report to representatives of the government of Ukraine, the law

12      firm on December 11th to 12," right?

13      A.   Yes, I see that.

14      Q.   And that got later changed, if you look at 442.

15                   Now we're at the end of May, May 28th.

16                   Do you see that?

17      A.   What's your question?

18      Q.   I'm first asking you if you've located -- is this -- do you

19      see this document?

20      A.   I'm looking at it.

21      Q.   Yeah.   Is this the final?

22      A.   Yes, it looks like the final.

23      Q.   No.    It's 442.   It's another draft, sir.

24      A.   Oh, it's a draft.     Okay.

25      Q.   Yes, sir.    And it's May 28th.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 83 of 134    3215


 1                    Do you see that at the top?

 2      A.   Yes, I see that.

 3      Q.   Okay.    And you had asked Ms. Whitney to send it to

 4      Mr. Sloan for a last look-see, right?

 5      A.   Yes.

 6      Q.   Okay.    Let's look at what the letter says as to paragraph 1

 7      and the dates, which is page 3 of the exhibit, or page 2 of the

 8      letter.

 9                    And now, sir, the date has been changed to December

10      12 to 13 on here, right?

11      A.   That's correct.

12      Q.   And let's look at 444, Exhibit 444.        That's an email chain.

13      A.   There's nothing in my 444.       I don't have that exhibit, but

14      I can use the monitor.

15      Q.   Okay.    And you have it on the screen.

16                    And Mr. Sloan responded to your request to

17      Ms. Whitney, right?      And he had a number of suggestions; 1, 2,

18      3, right?

19      A.   We're looking at the bottom of the --

20      Q.   Yes, sir.

21      A.   Yeah.    Cliff to Catie --

22      Q.   Right.

23      A.   -- sends me a note.     Says, "Looks good."

24                    And, yes, 1, 2, 3.

25      Q.   And then --
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 84 of 134     3216


 1      A.   And it says, "I assume you're sure about the dates that we

 2      provided?"

 3      Q.   You anticipated my question.

 4                    He asked you about the dates, correct?

 5      A.   Right.

 6      Q.   All right.    And then Ms. Whitney, at the very top, says, "I

 7      made other changes, but I'll leave the dates up to you."

 8      A.   She did.

 9      Q.   Okay.    Now, Mr. Taylor also showed you Government's

10      Exhibit 426 yesterday.      And that was the long email exchange

11      about the articles.      Let's see if you recall that.

12      A.   Yeah.    This was our communications with Lauren in New York

13      about newspaper media outlets --

14      Q.   Right.

15      A.   -- that covered the Report.

16      Q.   Right.    So, let's look at the second page of the exhibit,

17      at your email at the very bottom.

18                    So, Ms. Weiss -- now Ms. Malet -- had given you a

19      copy of the LA Times article at this point in the chain,

20      correct?

21      A.   And The National Law Journal.

22      Q.   Right.    And --

23      A.   She had given us two articles.

24      Q.   Right.    In this email, you bring up for the first time The

25      New York Times.     You say, "Thanks, Lauren.       Do you have The New
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 85 of 134   3217


 1      York Times article about the Report?"

 2                  Do you see that?

 3      A.   That's right.

 4      Q.   At that point, Ms. Weiss -- or, Ms. Malet had not said

 5      anything about The New York Times or provided the article to

 6      you, right?

 7      A.   No, she had not.

 8      Q.   And then in the next email, she responds to that and gives

 9      you a copy of The New York Times article.

10      A.   Yes.

11      Q.   And then you respond to her, and you say, "It looks like I

12      also gave The New York Times a one-sentence statement."

13                  And then you say, "Cliff, do you remember that?"

14      A.   Yes.

15      Q.   Sir, did I understand your testimony yesterday that as of

16      April 22nd, 2012, you did not recall your interactions with The

17      New York Times?

18      A.   I think I did recall my interactions with The New York

19      Times.

20      Q.   Oh, you did recall them?

21      A.   That's why I asked her to provide us with the article.

22      Q.   Well, you write, "It looks like I also gave The New York

23      Times a one-sentence statement."

24                  So, you did recall, right, in April, your

25      interactions with The New York Times, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 86 of 134        3218


 1      A.   I thought that -- I recall that I had interactions with The

 2      New York Times.

 3      Q.   Okay.

 4      A.   I read The New York Times, and I recall that there was a

 5      sentence in The Times that I had provided them on the record.

 6      Q.   So, let me make sure we're all clear on this.

 7                   So, are you saying that as of April 27, you did not

 8      recall reaching out to Mr. Sanger?

 9      A.   I didn't say that.

10      Q.   Well, let me ask you.

11                   Did you recall on April 22nd, reaching out to

12      Mr. Sanger?

13      A.   I don't know the answer to that.

14      Q.   Do you recall, on April 22nd, driving to his house and

15      dropping off the Report?

16      A.   I think I remember driving and dropping off his report.

17      Q.   At this point, on April 22nd, do you recall informing

18      Mr. Hawker about your communication was Mr. Sanger?

19      A.   I don't think I'd reviewed the emails.         I really hadn't

20      reviewed the emails.

21      Q.   All right.    We're going to get into that in a second, then.

22                   But, if you go to the very top, Ms. Weiss asks you,

23      "Might you have worked with Jonathan Hawker, FTI, on that item?

24      I know he was involved in the project generally, but that our

25      team at Skadden did not handle."
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 87 of 134     3219


 1      A.   Right.

 2      Q.   Right?    She certainly brought Mr. Hawker to your attention

 3      in this email, right?

 4      A.   Yes, she did.

 5      Q.   Okay.    And you were saying about the emails -- let me ask

 6      you, sir, you knew that there were a lot of emails about this,

 7      right?

 8      A.   I can't recall what I knew or remembered at that moment.

 9      Q.   Okay.    You certainly asked, for example, people on your

10      team to collect the emails and have Catie print them out so

11      that you had an accurate record from which to respond to the

12      FARA letter's unit, right?

13      A.   I'm not sure I did that.

14      Q.   Okay.    Let's look at 837.

15                    MR. CAMPOAMOR-SANCHEZ:     It's not admitted, Your

16      Honor, and I thought I had my copies here.

17                    Can we approach?

18                    THE COURT:    Yes.

19                    Take it off the jury screen, then.

20                    MR. CAMPOAMOR-SANCHEZ:     It's not on the screen.

21                    THE COURTROOM DEPUTY:      It's not on the jury screen.

22                    THE COURT:    Oh, okay.

23                    THE WITNESS:   It's on my screen.

24                    THE COURT:    All right.   Well --

25                    MR. TAYLOR:    It's not in.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 88 of 134     3220


 1                  MR. CAMPOAMOR-SANCHEZ:      I know.    That's why I want to

 2      show it to you, so we can --

 3                  (Bench discussion:)

 4                  (Pause.)

 5                  MR. TAYLOR:    I haven't seen it.

 6                  THE COURT:    All right.    I think this relates to his

 7      asking that emails be collected, but it asks that emails be

 8      collected about the back and forth about the agreements.         It

 9      doesn't really relate to collecting emails -- all emails about

10      communications with Hawker and Sanger.

11                  MR. CAMPOAMOR-SANCHEZ:      Right.    But it shows that he

12      knows exactly how to collect emails, and that is a function

13      that can and should be done when he's trying to answer a

14      question from the FARA Unit.       And this is sent in early

15      January, just literally weeks after this is happening, and

16      there is no such effort to collect the emails about his

17      communications with The New York Times.

18                  THE COURT:    Okay.   Do you object to the admission of

19      this document, then?

20                  MR. MURPHY:    Well, I think it's got to be made clear

21      that what he's asking for here is in response to the very first

22      letter, where the FARA Unit specifically asks for contracts and

23      any proposed contracts.      And, so, he asked Mr. van der Zwaan to

24      gather together all the back and forth --

25                  THE COURT:    That's fine.    So, I think your question
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 89 of 134    3221


 1      is more general.

 2                  MR. CAMPOAMOR-SANCHEZ:      Right.

 3                  THE COURT:    So, when you put it up there, and you

 4      need to focus in, you used the listed emails on X, Y, and Z.

 5      This shows that.     And then you can ask whether he did it.

 6                  MR. MURPHY:    On the other side.

 7                  THE COURT:    All right.    All right.

 8                  MR. CAMPOAMOR-SANCHEZ:      Then it will be clear that

 9      it's in response to the first letter, where there was a

10      specific request for contractual documents.

11                  MR. TAYLOR:    For completeness, I request that he

12      permit Mr. Craig to read each --

13                  THE COURT:    He can put the whole thing in, and he can

14      take as much time as he wants before he answers it.

15                  (Open court:)

16                  THE COURT:    All right.    The exhibit will be admitted.

17                  Mr. Craig, you can take the time to review the whole

18      thing.

19                  (Pause.)

20                  THE WITNESS:    Okay.

21                  THE COURT:    Ask the question.

22      BY MR. CAMPOAMOR-SANCHEZ:

23      Q.   So, sir, Exhibit 837 is, you were asking Mr. van der Zwaan

24      to collect emails related to the contractual arrangements you

25      had reached with Ukraine, correct?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 90 of 134     3222


 1      A.   It was a very specific task that I gave to Alex --

 2      Q.   Right.    So this is --

 3      A.   -- in responding to the very first inquiry from FARA in

 4      that December letter.

 5      Q.   From FARA, right.

 6      A.   I wanted to get some greater certainty about the email

 7      communications that he'd had with Nazar, who was the official

 8      in the Ministry of Justice with whom he had been talking about

 9      our contractual arrangements in April.

10      Q.   So that we're all clear --

11      A.   So, let me just finish.

12                    I was not asking Alex to provide me emails relating

13      to what happened in December.

14      Q.   I've not suggested that, sir.

15      A.   Okay.

16      Q.   In fact, my question said, you had asked Mr. van der Zwaan

17      to collect the emails related to the contractual arrangements

18      between yourselves and Ukraine, correct?

19      A.   That's correct.

20      Q.   And the reason you were asking that is, you wanted to

21      respond to the first FARA letter, correct?

22      A.   This was in response to the first letter.

23      Q.   Right.    And you asked them, "If you can just collect all

24      the emails back and forth between you two at that time.          I just

25      want to make sure that we're solid on all fronts."
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 91 of 134      3223


 1                    That's what you wrote.

 2      A.   Yes.

 3      Q.   And then there's a back and forth about that.

 4                    And then at the very top, you summarize and said,

 5      "Thanks.     It is hard to say what to look for.       So, the easiest

 6      thing is, just send Catie the emails to print out.           The reason

 7      for this is that we have been asked some questions from USDOJ

 8      about the representation and whether we should register under

 9      FARA," right?

10      A.   And that was because I was not part of those email

11      exchanges and had no insight as to what was going on between

12      Nazar and Alex.

13      Q.   Right.

14      A.   And I wanted to know that.

15      Q.   But, certainly, sir, when you want to be complete and

16      accurate, you know that it's easy enough to search your emails

17      to make sure the record is complete, right?

18      A.   On this occasion, I asked Alex to do that.

19      Q.   And you know that, generally, right?

20      A.   I'm not going to argue with you.

21      Q.   Okay.    Excellent.

22                    Let's go look at Government's Exhibit 6, then.

23                    This is in evidence, and this is your email to

24      Mr. Spiegel --

25      A.   Yes.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 92 of 134      3224


 1      Q.     -- about FARA.    And you said, "Just for the record, Skadden

 2      did not disseminate the Report to the news media.           Three media

 3      outlets who were not able to obtain a copy of the Report from

 4      the Ministry in Kyiv contacted us and asked us to provide them

 5      with a copy.       The Report was a public document."

 6                      That was not true about the The New York Times,

 7      correct?

 8      A.     That's right.    I testified to that.

 9      Q.     Right.    And I think --

10      A.     What was specifically not true was that they were -- The

11      New York Times had not tried to obtain a copy of the Report

12      from the Ministry in Kyiv.

13      Q.     Right.    And the Report was not a public document when you

14      gave it to Mr. Sanger, correct?

15      A.     It was not.

16      Q.     And, Number 2, you said, "At no time did Skadden contact

17      the media.       Quite the contrary.   We were approached by the

18      media, asked for interviews, asked for background commentary,

19      and we did not respond.       The only time we responded was to

20      correct misinformation."

21                      Also not accurate as to The New York Times, correct,

22      sir?

23      A.     That's not accurate with respect to The New York Times.

24      Q.     And that is precisely what you told the FARA Unit in your

25      meeting of October 9th, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 93 of 134      3225


 1      A.     I did not tell them that.

 2      Q.     Well, let me ask you, sir, before you went to the meeting

 3      with the FARA Unit, you reviewed the draft letter you had sent

 4      to Mr. Spiegel, correct?

 5      A.     I don't recall doing that, but I don't dispute the fact

 6      that IT information reflects that I opened it up.

 7      Q.     Right.    So, in fact, we had Mr. Lesser testify about that.

 8      A.     Yes.

 9      Q.     Okay.    So, let's look at Government's Exhibit 7, then.     And

10      if you look at the bottom -- well, let's look at the top first.

11                      This is the email you sent to Mr. Spiegel on -- the

12      next day, right, September 20th?

13      A.     I sent the "Just for the record" email on the 19th.

14      Q.     Right.

15      A.     And I sent the draft --

16      Q.     On the 20th.

17      A.     -- on the 20th, with a note.     "Here's the first shot at

18      it."

19      Q.     Right.

20      A.     And, yes, I sent it to Larry.

21      Q.     And you also sent it to Mr. Kedem, right?

22      A.     Kedem.

23      Q.     Kedem.    Sorry.

24      A.     Yes, I sent it to Allon.

25      Q.     Right.    You did not sent it to Mr. Haskell?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 94 of 134   3226


 1      A.   No.

 2      Q.   But, Mr. Haskell had actually been the person that

 3      forwarded the stuff to The New York Times, correct?

 4      A.   I was the one who asked Alex not only to forward a copy of

 5      the Report to Mr. Sanger, but also to forward a copy of the

 6      Report to the Los Angeles Times journalists.

 7      Q.   And he's not copied on this email?

 8      A.   He's not.

 9      Q.   Let's look at page 1 of your draft letter, at the very

10      bottom.

11                    MR. CAMPOAMOR-SANCHEZ:    And, again, if we can

12      highlight that.

13      MR. CAMPOAMOR-SANCHEZ:

14      Q.   That is the same thing you were telling Mr. Spiegel, right?

15      A.   Yeah.    That looks like the same mistake I made in my email

16      to Larry.

17      Q.   Right.    And then if you go to the second page -- or, the

18      next page, I should say.

19                    Again, "To my knowledge, no one in this firm

20      initiated any contacts with the media," right?

21      A.   That's what it says.

22      Q.   All right.    And, sir, you remembered your contacts with

23      Mr. Sanger at this point, right?

24      A.   I'm not sure I reviewed emails -- that extensive email

25      record on the 11th and the 12th.        I don't think I'd reviewed
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 95 of 134     3227


 1      those emails.

 2      Q.   Right.    But my question was --

 3                    THE COURT:   All right.   Mr. Campoamor, can you just

 4      get a little closer to the microphone?

 5                    MR. CAMPOAMOR-SANCHEZ:    Yeah.

 6                    THE COURT:   There were some people who didn't hear.

 7                    The last question was:    You remembered your contacts

 8      with the media when you wrote this?

 9                    Is that what you --

10                    MR. CAMPOAMOR-SANCHEZ:    Right.

11      MR. CAMPOAMOR-SANCHEZ:

12      Q.   And that was my question, not whether you reviewed emails,

13      but that you, in fact, remembered that you had contact with

14      Mr. Sanger, correct?

15      A.   I think I got this wrong.      I think I made an error.     This

16      was a mistake.     So, I misremembered.

17      Q.   So, you misremembered contacting him and going to his house

18      and all that?

19      A.   If you're talking about the specifics of this draft letter,

20      I misremembered various aspects of the contacts with The New

21      York Times, and I jumbled them all together.          Each one of those

22      contacts was different.      They had a different circumstance

23      surrounding it, and I muddled them together.

24      Q.   Because you had not read the emails.

25                    Is that what -- is that what you're saying?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 96 of 134     3228


 1      A.    I don't think I'd read the emails in December 11th and

 2      12th, no.

 3      Q.    Okay.    But, certainly, sir, you drafted the letter, you

 4      reviewed the letter before you went to the FARA meeting, and

 5      that's what you told the FARA people, right?          That's what you

 6      told Ms. Hunt?

 7      A.    I don't understand your question.

 8                    What is it that you're asking me that I told the FARA

 9      people?

10      Q.    The same thing you told Mr. Spiegel.

11      A.    No.

12      Q.    The same thing that you wrote in your draft letter.

13      A.    No.

14      Q.    The same draft letter that you reviewed before you went to

15      the meeting that morning, right?

16      A.    If your question is:     Did I tell them -- make the same

17      mistakes that I made in these documents, the answer to that is

18      no.

19      Q.    All right.    Let's look at, then, Government's Exhibit

20      Number 12, the letter of October 10th.

21                    Your letter, right?

22      A.    Yes.

23      Q.    Okay.    Let's look at the second paragraph, "As reported."

24                    You said, "As reported in earlier correspondence,"

25      right?      That's what you wrote?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 97 of 134    3229


 1      A.   You're reading it correctly, yes.

 2      Q.   Right.    And you're incorporating -- all the other letters

 3      and all the other things you'd said, you're incorporating into

 4      this letter, right?

 5      A.   No.    I'm talking very specifically about what I say.      "We

 6      provided a copy of the Tymoshenko Report to certain U.S. media

 7      outlets.    That was reported in earlier correspondence."

 8                    And I said, "We told you that before, we're telling

 9      you again, we provided a copy of the Tymoshenko Report to U.S.

10      media outlets."

11                    And we'd identified in the first letter and we're

12      identifying in the meeting the media outlets that we provided

13      the Report to.

14      Q.   You said, "This was done in response to requests from the

15      media."

16                    That is not true, sir.

17      A.   It is true.

18      Q.   You're now claiming that Mr. Sanger requested the document

19      from you?     That you didn't offer it to him first?

20      A.   It might -- sorry.     I didn't mean to interrupt.

21                    But, in my conversation with David Sanger, he asked

22      me to provide him with the Report, and I did.

23      Q.   In your email before the conversation, you offered him the

24      Report, correct?

25      A.   I said if you're interested, I would make the Report
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 98 of 134    3230


 1      available.    In the telephone conversation that I had with him

 2      afterwards, he asked me to provide him with the Report.

 3      Q.   All right.    Let's look at the last paragraph.

 4                   You also said that "The law firm did not consult with

 5      Ukraine, did not inform Ukraine, did not act under instruction

 6      of Ukraine, and in no way was serving as an agent for Ukraine."

 7                   Sir, you would agree with me, after we just reviewed

 8      all these emails before, you did inform Ukraine, right, of what

 9      you were doing with Mr. Sanger?

10      A.   You haven't read the full sentence, and I think the full

11      sentence modifies what I'm saying.

12                   "In responding to inaccuracies in the U.S. news

13      reports."

14                   In other words, in the statements we made to these

15      three media outlets, which were intended to correct

16      misinformation that had been issued by the Ukrainians, we did

17      not consult with Ukraine, we did not inform Ukraine, or act

18      under instruction from Ukraine.

19                   I did not run my quotation on the record in The New

20      York Times past anybody from Ukraine, either Hawker or

21      Manafort.

22      Q.   And as we read in the earlier paragraph of the same letter,

23      you lump The New York Times with everything else, as if you

24      were responding to media requests, right?         You lumped it all

25      together, and that was not accurate?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 99 of 134   3231


 1      A.   Are you referring to this question about whether we

 2      responded to requests from the media?

 3      Q.   Yes, sir.

 4      A.   Yes.   Each one of those three media outlets had asked us

 5      for a copy of the Report.       And in each instance, we supplied a

 6      copy of the Report in response to their request.

 7      Q.   And this --

 8      A.   This has to do with the fact that we did not consult with

 9      Ukraine in any way, shape, or form when we made the statement

10      on the record, attributable to me, to The New York Times or to

11      The National Law Journal or when we had a conversation with --

12      with -- Alex had the conversation with the Los Angeles Times.

13      Q.   Sir, it's true, you told the FARA Unit that in your

14      contacts with The New York Times, you had not informed Ukraine.

15      That's what it says here, correct?

16      A.   I said, "In responding to inaccuracies in U.S. news

17      reports."

18      Q.   And you had said that The New York Times, you were

19      responding inaccuracies --

20                  MR. TAYLOR:    Objection.

21                  THE COURT:    I think you're arguing with him a little

22      bit here.

23                  Just to clarify, the statement on the record that you

24      gave Mr. Sanger, was that the only thing you said to Mr. Sanger

25      or Mr. Herszenhorn?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 100 of 134   3232


 1                    THE WITNESS:   No.    There was -- my testimony is that

 2       I told Mr. Herszenhorn, who is the person with whom I had the

 3       substantive conversation about the Report, I told him that I

 4       thought that the headline of his article should be that we

 5       found flaws in the trial process, and that there are violations

 6       of her due process rights.        That was what I wanted to convey,

 7       and I did.

 8       BY MR. CAMPOAMOR-SANCHEZ:

 9       Q.   All right.   Sir, I just have a few more questions for you.

10                    You never told the FARA Unit that you had given a

11       copy of the Report to Mr. Weber, correct?

12       A.   We said in the letter, responding in April, that we had

13       provided copies to the representatives of Ukraine, and that

14       included Mr. Weber.     We didn't tell them about we provided

15       copies to Mr. Manafort.      We didn't include Mr. Manafort.

16       Q.   My question is very simple, sir.

17                    You did not say Mr. Weber, correct?

18       A.   I did not use Mr. Weber's name.       I did inform FARA that we

19       had communicated -- we'd provided reports -- our report to

20       representatives of Ukraine.

21       Q.   You certainly never told FARA that you were aware of all

22       the media plans and how Ukraine intended to use this report,

23       correct?

24       A.   No.

25       Q.   You certainly never told the FARA Unit about the fact that
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 101 of 134   3233


 1       Mr. Hawker and others had asked you to contact The New York

 2       Times, right?

 3       A.   I did not inform the FARA Unit about Mr. Hawker, no.

 4       Q.   Right.   And you certainly, also, never told the FARA Unit

 5       that you had told Mr. Hawker that if Sanger didn't work out,

 6       the Post was a backup for the --

 7       A.   I didn't tell him that.      So, I would not have informed FARA

 8       of the fact; it wasn't true.

 9       Q.   You certainly never told them that you knew, also, that

10       Al Hunt was being considered as a backup, right?

11       A.   I did not inform FARA about Al Hunt, no.

12       Q.   Right.   And one of the questions that the FARA asked you

13       was if you knew what was going to happen to the Report, right?

14       A.   That's correct.

15       Q.   And you knew what was going to happen to the Report,

16       according to your testimony, based upon what Mr. Hawker was

17       doing, correct?

18       A.   From the beginning of the day of that -- the first day of

19       our project, we were uncertain as to what was going to happen

20       to the Report.    It was only in the first week in December did

21       we really have confidence that they were going to release the

22       Report.

23       Q.   Right.   And you did not tell the FARA Unit, after you had

24       confidence in the release of the Report, that you knew what

25       Ukraine was going to do with the Report, right?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 102 of 134   3234


 1       A.   Well, yeah, that's correct.

 2       Q.   Right.   And you told the ladies and gentlemen of the jury

 3       that -- yesterday, that you initially agreed to background

 4       journalists at the Harvard Club meeting, right?

 5       A.   Well, background journalists, no.       I agreed to respond to

 6       inquiries from journalists who had questions about the facts of

 7       the case.

 8       Q.   Well, the email that you sent said, "I'm going to have to

 9       reverse" --

10       A.   Yes.

11       Q.   -- "on backgrounding journalists," right?

12       A.   That was the phrase that they had used.

13       Q.   Right.   And then you said that you thought -- because that

14       was a gray area, you decided to back off from that, right?

15       A.   That's correct.

16       Q.   And, sir, you went back and talked to Mr. Sanger after you

17       claimed that you thought that was too close to the FARA Unit,

18       correct?

19       A.   I went to talk to Mr. Sanger because I was concerned that

20       Ukraine was going to misrepresent what our report was all

21       about, and I wanted to make sure that The New York Times got it

22       right.

23       Q.   Mr. Sloan was the one that asked you to reverse course on

24       backgrounding journalists, did he not?

25       A.   I don't think so.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 103 of 134   3235


 1                    MR. CAMPOAMOR-SANCHEZ:     No further questions.

 2                    THE COURT:    All right.

 3                    Approximately how long do you think your redirect is

 4       going to be?

 5                    MR. TAYLOR:   Ten minutes.

 6                    THE COURT:    I'm sorry?

 7                    MR. TAYLOR:   Ten minutes.

 8                    THE COURT:    All right.   Do you want to do it before

 9       the break?

10                    All right.    You can proceed.

11                    If somebody else has a problem, let me know.

12                    MR. TAYLOR:   Are we good?

13                    THE COURT:    All right.   Thank you.

14                    Yes, you can proceed.

15                             REDIRECT EXAMINATION

16       BY MR. TAYLOR:

17       Q.   Mr. Craig, Mr. Campoamor-Sanchez asked you questions about

18       what you knew about what you were not being charged with.

19                    Do you remember those?

20       A.   I think I know what you're talking about, yes.

21       Q.   And he asked you whether you knew that you were not being

22       charged with certain things.

23       A.   Yes.    Yes.

24       Q.   And do you know whether you were charged with any

25       wrongdoing concerning the contracts with the Ministry of
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 104 of 134     3236


 1       Justice?

 2       A.   I do know that, and I am not.

 3       Q.   Or whether you're being charged with any wrongdoing in

 4       connection with the second contract with the Ministry?

 5       A.   I do know that, and I am not being charged with any

 6       wrongdoing.

 7       Q.   Or whether you're being charged with any wrongdoing in

 8       connection with fees and expenses in connection with this

 9       project?

10       A.   I am not.

11       Q.   Mr. Campoamor asked you about a meeting you had with

12       government attorneys and agents on October 19th, 2017.

13                    Do you remember --

14       A.   Yes.

15       Q.   -- that he asked you about that?

16                    And do you remember them showing you a media plan?

17       A.   They were asking me questions about one of the media plans.

18       Q.   And what did you tell them about whether your contact with

19       David Sanger was part of the media plan?

20       A.   I told them that it was not part of the media plan.         I told

21       them that -- I told them I had delivered a report to

22       Mr. Sanger, but it was not part of a media plan.

23       Q.   How many times did you meet with government attorneys,

24       Mr. Craig?

25       A.   In 2017 and 2018?
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 105 of 134       3237


 1       Q.   Yes.

 2       A.   I met once in 2017 and once in 2018.

 3       Q.   How long each time?

 4       A.   I think that the very first meeting was three to four

 5       hours.     The second meeting, in 2018, I think was four or five

 6       hours.

 7       Q.   Why did you meet with them?

 8       A.   They asked me and I agreed to.

 9       Q.   Mr. Craig, did you charge the Ministry of Justice for any

10       of the time you spent talking to journalists?

11       A.   No.    I was not working for Ukraine at that moment.

12       Q.   You've seen a couple of emails from Mr. Manafort which

13       appear to be complimenting you or praising you about something.

14       A.   Yes.

15       Q.   Do you recall -- do you recall receiving those emails?

16       A.   I do.

17       Q.   What was your reaction to them?

18       A.   I was surprised and amused more than anything else.         I

19       didn't know why he was sending them to me, to be honest.

20       Q.   And you were -- you were asked whether you had reviewed or

21       seen any media plans by Mr. Campoamor-Sanchez.

22                     Do you remember that?

23       A.   Yes.

24       Q.   And did you see some media plans?

25       A.   I did.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 106 of 134       3238


 1       Q.     Did you agree to participate in any of those media plans?

 2       A.     Never.

 3       Q.     And you were asked some questions about some email

 4       exchanges with Bruce Jackson.

 5                       Do you remember that?

 6       A.     Yes.

 7       Q.     Was there any other way Mr. Jackson could get a copy of the

 8       Report, other than you?

 9       A.     Well, he knew Manafort.      Manafort, at that time, had a copy

10       of the Report.       He might have gotten a copy of that report from

11       Paul Manafort.

12                       MR. TAYLOR:    Nothing further.

13                       THE WITNESS:   Up until this moment, I hadn't really

14       focused on that, but that's a possibility.

15                       MR. TAYLOR:    Nothing further, Your Honor.

16                       THE COURT:    All right.   We're going to take our

17       midmorning break at this time.          It may turn out to be a longer

18       break, I don't know yet.         So I'm going to ask you to return to

19       the jury room in ten minutes.

20                       And during that point of time, even though it seems

21       like the case is almost over, it has yet to be submitted to

22       you.    So, please don't discuss it among yourselves or with

23       anyone else.

24                       You can be excused and be back in ten minutes.

25                       (Whereupon the Jury exits the courtroom.)
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 107 of 134        3239


 1                  THE COURT:    All right.    Yes, Mr. Craig, you're

 2       excused to return back to counsel table.

 3                  Why don't we take our break, and then you can let me

 4       know if anything further is happening on either side, and then

 5       we'll go from there.

 6                  But, are we anticipating that we've now heard all the

 7       evidence in this case at this moment?

 8                  MR. CAMPOAMOR-SANCHEZ:      We --

 9                  THE COURT:    Do you still want to talk among

10       yourselves?

11                  MR. CAMPOAMOR-SANCHEZ:      Yes.

12                  THE COURT:    All righty.

13                  Thank you.    I'll see you in ten minutes.

14                  (Recess.)

15                  THE COURT:    All right.    Mr. Taylor, when we bring the

16       jury back in, do you intend to introduce any more evidence or

17       do you intend to rest?

18                  MR. TAYLOR:     We intend to rest, Your Honor.

19                  THE COURT:    All right.

20                  What about you?

21                  MR. CAMPOAMOR-SANCHEZ:      No rebuttal case.

22                  THE COURT:    All right.    So, I think we should bring

23       the jury back in so that you can each do those things.           Then we

24       need to excuse the jury and tell them when to come back.          I

25       believe it's Thursday.      Today, at this moment, it is Thursday.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 108 of 134           3240


 1       It's all a blur.     But, I think that is correct.

 2                    MR. MURPHY:   Might be five hours off.

 3                    THE COURT:    That's exactly how I feel.     My head is

 4       five hours off.

 5                    And the jury has already been told that we will not

 6       be sitting tomorrow, and we assured them of that when we

 7       selected them.    So, we will not.     And, so, they will be told to

 8       return on the Tuesday after Labor Day.        But, they need to

 9       return after we've had an opportunity to review the jury

10       instructions together, which is not going to happen this

11       afternoon.    And, so, it will happen on Tuesday morning.

12                    So, we will convene at 9:30 on Tuesday morning.             And

13       I thought I would ask the jury to be back at 1:00.          My plan

14       would be that we will have time to have a break between our

15       conference and the closings and lunch and all those things.

16       But, if we can get started at 1:00 or 1:30, we will.             If it

17       takes until 2:00, it takes until 2:00.        So, I will tell them to

18       be there at that time.

19                    And then, because I believe during jury selection I

20       said -- I gave them a bit of a preview of what would happen in

21       the rest of the week in the unlikely event we were still here

22       after Labor Day, that I should also give them a heads-up as to

23       the rest of the schedule.

24                    So, I will tell them all those things.       And -- all

25       right.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 109 of 134     3241


 1                   Let's bring them back.

 2                   (Whereupon the jury enters the courtroom.)

 3                   THE COURTROOM DEPUTY:      Everyone is present, Your

 4       Honor.

 5                   THE COURT:    All right.   Everyone can be seated.

 6                   Mr. Taylor, does the defense have any other evidence

 7       it wishes to introduce at this time?

 8                   MR. TAYLOR:    No, Your Honor.    The defense rests.

 9                   THE COURT:    All right.   Thank you.

10                   Mr. Campoamor-Sanchez, does the government have any

11       other evidence it intends to introduce at this time?

12                   MR. CAMPOAMOR-SANCHEZ:     No, Your Honor, we do not.

13                   THE COURT:    All right.

14                   You have now heard all of the evidence in the case.

15       The next thing that has to happen is that the Court and the

16       parties have to confer about the specific jury instructions

17       that I've been telling you you're going to get that tells you

18       what the law is that's going to apply to your decision.          And

19       that process takes time, and it has to be done thoroughly and

20       properly.

21                   You may also recall that when we selected the jury, I

22       promised you that you would not be sitting here on the Friday

23       before Labor Day weekend, and that was taken into consideration

24       when you told me whether you were available to sit or you were

25       not available to sit.      And, therefore, we will not be sitting
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 110 of 134      3242


 1       here on the Friday before Labor Day weekend.

 2                  So, that means that when I excuse you shortly for

 3       this afternoon, I will be excusing you for a nice, long,

 4       hopefully sunny weekend, and that you will be returning on the

 5       Tuesday after Labor Day.      And I'm going to ask you to be in the

 6       jury room and ready to go at 1:00 p.m. on Tuesday, September --

 7                  MR. MURPHY:     3rd.

 8                  THE COURT:    -- 3rd, 2019.     At which time you will

 9       hear the parties' closing arguments, and you will receive

10       instructions from me, either immediately thereafter or first

11       thing the following morning, depending on how long it takes to

12       hear the closing arguments.

13                  That means -- and I cannot underscore this more

14       strongly, notwithstanding the fact that I've told you this 100

15       times before -- you still have not had the case submitted to

16       you to decide.    You can't talk about it to anybody else.       You

17       can't talk about it to each other.

18                  You have now heard all of the evidence.         You should

19       not be online looking for more facts that one of you will have

20       and the rest of you won't.        The case is what the witnesses said

21       from the witness stand, what the documents say, not what the

22       lawyers said, not anything that you came into this case

23       knowing, and nothing that you're going to look up this weekend.

24                  I want you to put it out of your mind and enjoy what

25       is going to be a very long weekend, when, I guess, you will
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 111 of 134    3243


 1       catch up on everything that you haven't been able to do for the

 2       past two and a half weeks.

 3                  I also told you during jury selection that for

 4       reasons that have -- that are unrelated to this case, that

 5       there are some time constraints at the end of the week that's

 6       going to begin on Tuesday, September 3rd.         And, so, we'll be

 7       here Tuesday afternoon.      We'll be here all day Wednesday.    We

 8       will be here Thursday morning.       If you have not reached a

 9       verdict by this time, at approximately 12:30 or so on Thursday,

10       you're going to, again, be excused for the weekend to come back

11       on Monday, the 9th.

12                  So, I think I told you at jury selection that the 5th

13       and 6th we would not be sitting, and we'll now sit half the day

14       on the 5th.    So, you have all that in the back of your mind.        I

15       am confident that you're going to continue to obey the Court's

16       instructions.

17                  You are excused now, and have a pleasant weekend.

18                  Yes, sir?

19                  THE JUROR:    So Tuesday, Wednesday, and Thursday

20       morning?

21                  THE COURT:    Correct.

22                  THE JUROR:    Thank you, ma'am.

23                  THE COURT:    Tuesday afternoon, you'll be here at

24       1:00.

25                  THE JURORS:     Tuesday afternoon to Thursday morning.
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 112 of 134     3244


 1                  THE COURT:    Correct.

 2                  Thank you very much, everybody.        You can leave your

 3       notebooks here.

 4                  THE COURTROOM DEPUTY:      Just leave your notebooks on

 5       your chair, please.

 6                  (Whereupon the Jury exits the courtroom.)

 7                  THE COURT:    All right.    I'll see all of you on

 8       Tuesday morning.     I know that everybody has a lot of work to

 9       do, but I hope everybody gets some well-deserved rest as well.

10                  I'll see you then.

11                  MR. CAMPOAMOR-SANCHEZ:      Thank you, Your Honor.

12                  MR. MURPHY:     Thank you, Your Honor.

13                  (Recess.)

14                  THE COURT:    All right.    I've just been informed that

15       based upon the scheduling information that I had provided the

16       jury at the time of jury selection, one of the jurors made

17       travel plans that include Thursday.        So, that was entirely

18       fair.

19                  And, so, what I think we should do is, let that juror

20       know that they can rely on what I previously said.          And then I

21       don't think we need to inform the other jurors at this point.

22       We can just let them know at the close of business on Wednesday

23       that they need to come back the following Monday, instead of

24       the next morning, because a lot of them have gone.          I mean, we

25       could, I suppose, have the jury office inform them, but I just
     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 113 of 134        3245


 1       don't -- I don't --

 2                  MR. MURPHY:     Let them know Tuesday morning.

 3                  THE COURT:    Right.      Right.     We'll let them know

 4       Tuesday afternoon -- whenever we see them again.            But, I think

 5       there's only one of them who needs to know, and I believe she's

 6       here.   And, so, unless you disagree, I think we should live up

 7       to what we told them.      And it wasn't really that much time on

 8       Thursday, anyway.     So, you know, it's too bad that it's going

 9       to be broken up, but it is the way it is.

10                  So, that's what I'm going to do.

11                  MR. TAYLOR:     Thank you.

12                  THE COURT:    All righty.         Thank you.

13                  MR. CAMPOAMOR-SANCHEZ:            Thank you, Your Honor.

14                  MR. TAYLOR:     Are we excused now?

15                  THE COURT:    Yes.       You were excused before.     But, I'm

16       glad that you were still here so that we could resolve it.

17                                       *    *   *

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     Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 114 of 134   3246


 1

 2                    CERTIFICATE OF OFFICIAL COURT REPORTER

 3

 4

 5                 I, JANICE DICKMAN, do hereby certify that the above

 6       and foregoing constitutes a true and accurate transcript of my

 7       stenograph notes and is a full, true and complete transcript of

 8       the proceedings to the best of my ability.

 9                             Dated this 29th day of August, 2019.

10

11

12                                   /s/________________________

13                                   Janice E. Dickman, CRR, RMR, CRC
                                     Official Court Reporter
14                                   Room 6523
                                     333 Constitution Avenue NW
15                                   Washington, D.C. 20001

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Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 115 of 134                                            3247



                           $               1:53 [1] - 3153:6                   301 [1] - 3202:24
                                           1st [1] - 3213:16                   302 [1] - 3203:3
        $12,000 [1] - 3156:24                                                  304 [2] - 3203:18, 3203:19
                                                           2                   307 [1] - 3203:23
                           '                                                   30th [1] - 3177:4
                                           2 [11] - 3175:12, 3180:17,          310 [6] - 3206:21, 3206:23,
        'Skadden [1] - 3177:17            3207:21, 3209:13, 3212:15,          3207:2, 3207:3, 3207:11,
        'We [1] - 3157:17                 3213:22, 3213:24, 3215:7,           3207:12
                                          3215:17, 3215:24, 3224:16            311 [1] - 3209:3
                           /               20 [1] - 3185:7                     3167 [1] - 3134:17
                                           200 [3] - 3176:8, 3177:7, 3177:8    3172 [1] - 3134:17
        /s [1] - 3246:12                   20001 [2] - 3134:9, 3246:15         3184 [1] - 3134:18
                                           20036 [1] - 3134:3                  3185 [1] - 3134:18
                           1               2012 [20] - 3138:16, 3147:16,       3190 [2] - 3134:19
                                          3175:7, 3175:20, 3175:22,            3193 [1] - 3134:19
        1 [6] - 3214:2, 3214:7, 3215:6,   3175:23, 3181:11, 3181:15,           3194 [1] - 3134:19
       3215:17, 3215:24, 3226:9           3186:14, 3187:8, 3187:23,            3204 [1] - 3134:18
        100 [2] - 3133:22, 3242:14        3188:17, 3195:24, 3197:17,           3205 [1] - 3134:18
        1000 [1] - 3134:3                 3197:21, 3206:7, 3208:4,             3207 [2] - 3134:17
        10:28 [1] - 3142:1                3208:24, 3209:22, 3217:16            3219 [1] - 3134:20
        10:59 [4] - 3143:6, 3163:1,        2013 [4] - 3138:18, 3138:23,        3221 [1] - 3134:20
       3163:7, 3163:10                    3161:21, 3161:22
                                                                               331 [2] - 3140:22, 3141:1
        10th [1] - 3228:20                 2017 [3] - 3236:12, 3236:25,
                                                                               332 [2] - 3143:2, 3143:10
        11 [1] - 3144:1                   3237:2
                                                                               333 [2] - 3134:8, 3246:14
        11:00 [1] - 3151:20                2018 [3] - 3236:25, 3237:2,
                                                                               350 [1] - 3144:12
        11:15 [1] - 3199:14               3237:5
                                                                               351 [1] - 3146:6
        11:16 [2] - 3144:16, 3144:18       2019 [3] - 3133:6, 3242:8,
                                                                               352 [2] - 3146:18, 3146:23
        11:48 [1] - 3173:12               3246:9
                                                                               353 [1] - 3147:18
        11th [14] - 3140:17, 3140:19,      202 [3] - 3133:15, 3133:19,
                                                                               354 [1] - 3148:24
       3141:17, 3141:24, 3142:6,          3134:4
                                                                               355 [1] - 3149:13
       3142:9, 3142:25, 3147:22,           202-354-3267 [1] - 3134:9
                                                                               357 [1] - 3150:5
       3149:25, 3150:6, 3151:2,            20530 [2] - 3133:15, 3133:18
                                                                               360 [1] - 3150:24
       3214:12, 3226:25, 3228:1            20th [6] - 3188:18, 3209:4,
                                                                               364 [1] - 3152:17
        12 [3] - 3214:12, 3215:10,        3209:18, 3225:12, 3225:16,
       3228:20                                                                 375 [1] - 3156:2
                                          3225:17
        12:30 [1] - 3243:9                                                     376 [1] - 3156:13
                                           21202 [1] - 3133:23
        12:32 [1] - 3147:22                                                    380 [1] - 3162:12
                                           22nd [4] - 3217:16, 3218:11,
        12:39 [1] - 3148:25                                                    382 [1] - 3162:21
                                          3218:14, 3218:17
        12th [16] - 3153:4, 3153:5,                                            385 [1] - 3164:15
                                           233-0986 [1] - 3133:19
       3153:22, 3153:23, 3154:21,                                              396 [1] - 3165:2
                                           23rd [2] - 3191:4, 3191:7
       3156:3, 3156:14, 3156:18,                                               3:00 [3] - 3148:4, 3156:7,
                                           2440 [1] - 3133:23
       3161:20, 3162:15, 3163:1,                                              3162:18
                                           24th [2] - 3191:24, 3193:3
       3163:16, 3163:23, 3175:7,                                               3:28 [4] - 3141:21, 3141:24,
                                           252-7698 [1] - 3133:15
       3226:25, 3228:2                                                        3142:2, 3142:7
                                           27 [1] - 3218:7
        13 [2] - 3161:22, 3215:10                                              3:36 [2] - 3156:3, 3156:4
                                           27th [1] - 3204:5
        13th [8] - 3154:13, 3154:15,                                           3:37 [1] - 3156:15
                                           28th [2] - 3214:15, 3214:25
       3154:19, 3155:5, 3162:25,                                               3rd [4] - 3212:17, 3242:7,
                                           29 [1] - 3133:6
       3163:12, 3164:17, 3165:6                                               3242:8, 3243:6
                                           29th [1] - 3246:9
        14 [2] - 3133:5, 3133:8            2:00 [2] - 3240:17
        1500 [1] - 3148:3                  2:58 [1] - 3163:18                                 4
        15th [1] - 3173:12                 2nd [6] - 3200:6, 3200:9,           4 [1] - 3212:16
        17 [1] - 3144:19                  3200:15, 3201:5, 3201:14,            402 [4] - 3167:19, 3167:22,
        1800 [1] - 3134:2                 3202:8                              3167:23, 3172:20
        19 [1] - 3186:14
                                                                               410 [1] - 3133:24
        19-CR-125 [1] - 3133:3                             3                   426 [1] - 3216:10
        19th [5] - 3186:6, 3207:19,
                                                                               430 [3] - 3213:11, 3213:13
       3208:14, 3225:13, 3236:12           3 [7] - 3182:20, 3208:6, 3211:7,
                                                                               442 [2] - 3214:14, 3214:23
        1:00 [4] - 3240:13, 3240:16,      3211:10, 3215:7, 3215:18,
                                                                               444 [3] - 3215:12, 3215:13
       3242:6, 3243:24                    3215:24
                                                                               4:16 [1] - 3144:18
        1:30 [1] - 3240:16                 300 [2] - 3201:9, 3201:15
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 116 of 134                                                  3248



                                           3224:25, 3243:11                      advised [1] - 3184:3
                       5
                                                                                 Adviser [1] - 3189:25
        5 [3] - 3182:8, 3182:21, 3182:22                   A                     affairs [1] - 3184:1
        503 [1] - 3179:19                                                        afternoon [14] - 3138:11,
        503006 [1] - 3182:10                 a.m [10] - 3133:7, 3142:6,         3148:4, 3148:25, 3149:14,
        530 [1] - 3175:1                   3142:9, 3151:20, 3153:8,             3150:6, 3156:16, 3156:18,
        555 [1] - 3133:14                  3153:9, 3153:10, 3156:7,             3163:18, 3240:11, 3242:3,
        5:38 [1] - 3162:14                 3162:18, 3188:18                     3243:7, 3243:23, 3243:25,
        5:46 [1] - 3149:14                   Aabelson@zuckerman.com [1]         3245:4
        5:50 [1] - 3150:6                  - 3133:25                             afterwards [1] - 3230:2
        5:51 [1] - 3177:4                    Abelson [1] - 3133:21               agenda [1] - 3180:13
        5th [2] - 3243:12, 3243:14           abide [1] - 3137:25                 agent [2] - 3196:6, 3230:6
                                             ability [1] - 3246:8                agents [1] - 3236:12
                                             able [4] - 3135:24, 3200:20,        agree [7] - 3142:13, 3145:11,
                       6                   3224:3, 3243:1                       3150:20, 3160:10, 3161:5,
        6 [9] - 3180:25, 3181:20,            absence [1] - 3159:7               3230:7, 3238:1
       3182:8, 3182:13, 3182:21,             absent [1] - 3171:1                 agreed [4] - 3152:3, 3234:3,
       3182:22, 3223:22                      absolutely [1] - 3180:24           3234:5, 3237:8
        6523 [2] - 3134:8, 3246:14           AC [1] - 3181:5                     agreement [2] - 3184:6,
        6:10 [2] - 3151:8, 3151:9            accept [1] - 3208:1                3208:15
        6:15 [1] - 3151:2                    accepted [1] - 3174:22              agreements [1] - 3220:8
        6th [6] - 3139:9, 3139:13,           access [1] - 3196:11                ahead [2] - 3163:5, 3169:8
       3139:15, 3188:17, 3189:16,            according [1] - 3233:16             Al [4] - 3151:24, 3152:4,
       3243:13                               account [1] - 3194:16              3233:10, 3233:11
                                             accurate [11] - 3177:25, 3178:2,    Aleksander [1] - 3142:8
                       7                   3178:16, 3206:12, 3219:11,            Alex [14] - 3142:21, 3142:23,
                                           3223:16, 3224:21, 3224:23,           3142:24, 3149:19, 3164:25,
        7 [3] - 3183:5, 3183:16, 3225:9    3230:25, 3246:6                      3166:25, 3200:17, 3201:7,
        75,000 [2] - 3209:14, 3209:19        Act [1] - 3194:22                  3222:1, 3222:12, 3223:12,
        778-1814 [1] - 3134:4                act [2] - 3230:5, 3230:17          3223:18, 3226:4, 3231:12
        7:58 [1] - 3163:23                   acting [3] - 3160:16, 3168:18,      alleged [2] - 3145:25, 3146:2
        7th [3] - 3140:1, 3140:6,          3169:2                                allegedly [1] - 3171:19
       3140:13                               Action [1] - 3133:3                 Allon [1] - 3225:24
                                             actual [1] - 3144:14                allowed [1] - 3176:25
                       8                     Adam [2] - 3133:17, 3133:21         alluded [1] - 3197:1
                                             added [3] - 3208:5, 3208:17,        almost [3] - 3144:21, 3211:3,
        809 [1] - 3204:17                  3209:2                               3238:21
        819 [2] - 3184:15, 3185:6            adding [1] - 3168:13                amend [1] - 3197:23
        820 [1] - 3189:19                    addition [3] - 3181:1, 3197:2,      America [1] - 3133:3
        821 [6] - 3188:19, 3188:21,        3214:10                               ammo [1] - 3195:21
       3189:1, 3189:3, 3189:9, 3189:10       additional [1] - 3209:1             amused [1] - 3237:18
        822 [3] - 3190:12, 3190:15,          address [1] - 3194:18               AMY [1] - 3133:9
       3190:20                               adjective [1] - 3137:9              analysis [1] - 3208:1
        829 [9] - 3187:25, 3188:20,          administration [1] - 3187:18        Angeles [2] - 3226:6, 3231:12
       3188:24, 3188:25, 3193:19,            admissibility [1] - 3190:15         annotated [1] - 3180:8
       3193:21, 3193:22, 3193:24             admissible [2] - 3170:18,           annoying [1] - 3195:21
        837 [2] - 3219:14, 3221:23         3188:9                                answer [10] - 3136:24, 3137:8,
        8:04 [1] - 3188:18                   admission [1] - 3220:18            3152:3, 3166:16, 3174:16,
        8:53 [3] - 3153:1, 3153:6,           admit [4] - 3169:9, 3172:5,        3214:3, 3218:13, 3220:13,
       3153:10                             3185:4, 3188:11                      3228:17
        8th [1] - 3189:17                    admitted [10] - 3168:16,            answers [4] - 3136:23, 3137:2,
                                           3169:20, 3172:11, 3173:8,            3213:4, 3221:14
                       9                   3185:14, 3194:3, 3194:4,              anti [2] - 3159:19, 3159:21
                                           3205:3, 3219:15, 3221:16              anti-Ukraine [2] - 3159:19,
        949-1146 [1] - 3133:24               admitting [1] - 3169:10            3159:21
        950 [1] - 3133:18                    advance [6] - 3154:3, 3154:14,      anticipated [2] - 3198:5, 3216:3
        9:12 [2] - 3142:6, 3142:9          3181:3, 3189:25, 3190:4, 3190:9       anticipating [1] - 3239:6
        9:30 [2] - 3133:7, 3240:12           advanced [3] - 3187:16,             anticipation [1] - 3180:9
        9:53 [1] - 3153:1                  3187:19, 3207:25                      anxious [1] - 3156:6
        9th [4] - 3161:21, 3161:22,          advice [1] - 3197:25                anyway [4] - 3186:18, 3189:1,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 117 of 134                                                3249



       3192:10, 3245:8                     attempting [1] - 3149:17            between [13] - 3144:11,
        apologize [3] - 3189:20,           attention [2] - 3200:12, 3219:2    3144:22, 3153:12, 3157:8,
       3198:16, 3207:8                     attentive [1] - 3135:17            3161:17, 3161:20, 3161:22,
        appear [1] - 3237:13               Attorney's [1] - 3133:13           3165:10, 3192:22, 3222:18,
        apply [1] - 3241:18                attorneys [2] - 3236:12,           3222:24, 3223:11, 3240:14
        appraisal [1] - 3180:13           3236:23                              binder [1] - 3140:23
        appreciate [1] - 3137:23           attributable [1] - 3231:10          bit [5] - 3146:25, 3147:7,
        approach [4] - 3159:14, 3166:1,    August [8] - 3133:6, 3187:8,       3200:5, 3231:22, 3240:20
       3167:24, 3219:17                   3189:17, 3197:3, 3197:17,            black [1] - 3160:15
        approached [2] - 3193:15,         3197:21, 3209:22, 3246:9             Blackberry [1] - 3199:15
       3224:17                             available [6] - 3195:19, 3204:7,    Blinken [8] - 3189:23, 3189:25,
        appropriate [1] - 3166:8          3205:17, 3230:1, 3241:24,           3192:6, 3192:25, 3194:11,
        April [13] - 3175:7, 3175:20,     3241:25                             3194:24, 3195:17, 3195:18
       3175:21, 3181:15, 3212:20,          Avenue [3] - 3133:18, 3134:8,       blur [1] - 3240:1
       3217:16, 3217:24, 3218:7,          3246:14                              BM [2] - 3181:20, 3182:6
       3218:11, 3218:14, 3218:17,          awake [1] - 3195:15                 book [4] - 3176:23, 3188:14,
       3222:9, 3232:12                     aware [5] - 3160:20, 3161:9,       3204:18, 3204:19
        area [1] - 3234:14                3162:1, 3162:5, 3232:21              bottom [14] - 3143:8, 3163:13,
        areas [1] - 3135:21                                                   3182:9, 3189:24, 3191:5,
        argue [4] - 3135:25, 3161:1,                      B                   3191:19, 3192:5, 3194:8,
       3172:3, 3223:20                                                        3195:4, 3215:19, 3216:17,
        arguing [3] - 3196:16, 3202:9,     background [5] - 3174:23,          3225:10, 3226:10
       3231:21                            3181:13, 3224:18, 3234:3,            box [1] - 3177:9
        argument [4] - 3136:8, 3136:9,    3234:5                               Bradley [1] - 3133:17
       3136:12, 3210:23                    backgrounding [7] - 3165:19,        break [5] - 3235:9, 3238:17,
        argumentative [1] - 3136:10       3165:23, 3165:25, 3181:14,          3238:18, 3239:3, 3240:14
        arguments [4] - 3210:17,          3181:16, 3234:11, 3234:24            brief [3] - 3142:4, 3142:8,
       3210:20, 3242:9, 3242:12            Backgrounding [1] - 3175:17        3192:25
        arms [6] - 3177:21, 3178:8,        backup [2] - 3233:6, 3233:10        briefed [1] - 3181:2
       3178:12, 3178:14, 3178:21           bad [3] - 3160:12, 3160:14,         briefing [5] - 3142:14, 3143:18,
        arrange [1] - 3143:22             3245:8                              3183:7, 3186:13, 3191:12
        arranged [2] - 3205:21, 3205:24    balanced [3] - 3177:24, 3178:3,     briefings [1] - 3166:25
        arrangements [3] - 3221:24,       3178:4                               brilliantly [1] - 3195:7
       3222:9, 3222:17                     Baltimore [1] - 3133:23             bring [7] - 3135:6, 3147:4,
        arrow [2] - 3180:17, 3180:22       baseball [1] - 3145:18             3147:13, 3216:24, 3239:15,
        article [7] - 3157:10, 3216:19,    based [3] - 3162:9, 3233:16,       3239:22, 3241:1
       3217:1, 3217:5, 3217:9,            3244:15                              broad [1] - 3186:11
       3217:21, 3232:4                     basic [1] - 3136:18                 broke [1] - 3138:11
        articles [4] - 3160:1, 3173:17,    basis [1] - 3143:19                 broken [1] - 3245:9
       3216:11, 3216:23                    bears [2] - 3135:16, 3136:13        brought [1] - 3219:2
        Ashton [2] - 3183:8, 3183:17       beat [1] - 3173:20                  Bruce [10] - 3154:16, 3183:22,
        aspects [1] - 3227:20              became [1] - 3212:23               3185:10, 3185:22, 3186:13,
        Assembly [1] - 3200:21             becomes [1] - 3156:11              3190:5, 3193:9, 3193:10,
        asserted [5] - 3169:22, 3170:6,    BEFORE [1] - 3133:9                3194:24, 3238:4
       3170:10, 3170:22, 3171:22           begin [1] - 3243:6                  Brussels [2] - 3186:8, 3192:19
        assertions [1] - 3172:9            beginning [3] - 3181:8,             bullet [1] - 3180:18
        assignment [3] - 3174:22,         3181:10, 3233:18                     bunch [1] - 3182:19
       3209:25, 3210:2                     begins [3] - 3147:7, 3147:10,       Burson [2] - 3181:23, 3181:25
        associate [2] - 3184:5, 3184:11   3194:9                               Burson-MA [1] - 3181:25
        associates [2] - 3147:3,           behalf [4] - 3160:16, 3181:5,       business [5] - 3138:16,
       3147:12                            3205:5, 3210:18                     3138:19, 3138:21, 3138:24,
        association [1] - 3184:6           below [3] - 3190:10, 3192:16,      3244:22
        assume [6] - 3137:24, 3149:12,    3195:16                              BY [28] - 3138:8, 3158:24,
       3156:12, 3192:12, 3197:14,          bench [10] - 3135:6, 3135:8,       3161:15, 3162:11, 3166:18,
       3216:1                             3136:4, 3159:14, 3159:16,           3172:19, 3172:24, 3173:4,
        assured [1] - 3240:6              3166:3, 3168:3, 3168:5,             3173:10, 3174:6, 3174:18,
        attached [1] - 3192:15            3184:19, 3220:3                     3176:13, 3177:11, 3185:9,
        attaches [1] - 3144:10             BERMAN [1] - 3133:9                3185:19, 3188:12, 3189:8,
        attachment [1] - 3149:21           best [3] - 3136:20, 3148:7,        3189:22, 3190:23, 3194:7,
        attempted [1] - 3140:12           3246:8                              3199:19, 3201:13, 3202:19,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 118 of 134                                             3250



       3205:7, 3207:16, 3221:22,         3170:11, 3172:12, 3172:17,          chain [4] - 3143:14, 3192:21,
       3232:8, 3235:16                   3172:19, 3172:23, 3172:24,         3215:12, 3216:19
                                         3173:4, 3173:10, 3174:6,            chair [1] - 3244:5
                      C                  3174:18, 3176:11, 3176:13,          change [2] - 3197:23, 3208:9
                                         3176:24, 3177:1, 3177:2,            changed [2] - 3214:14, 3215:9
         cafeteria [1] - 3174:20         3177:7, 3177:11, 3183:15,           changes [2] - 3208:3, 3216:7
         Cairo [2] - 3200:10, 3201:8     3183:18, 3184:13, 3184:21,          charge [2] - 3184:2, 3237:9
         Campoamor [10] - 3133:12,       3184:24, 3185:5, 3185:8,            charged [8] - 3211:16, 3211:25,
       3134:13, 3138:5, 3160:6,          3185:9, 3185:19, 3188:2,           3235:18, 3235:22, 3235:24,
       3160:25, 3227:3, 3235:17,         3188:12, 3189:8, 3189:22,          3236:3, 3236:5, 3236:7
       3236:11, 3237:21, 3241:10         3190:14, 3190:17, 3190:23,          chat [2] - 3149:8, 3149:11
         CAMPOAMOR [105] - 3135:4,       3194:3, 3194:7, 3196:18,            check [1] - 3150:15
       3136:19, 3136:22, 3137:1,         3196:24, 3198:14, 3198:16,          circuit [1] - 3161:16
       3137:13, 3137:15, 3138:6,         3198:18, 3199:9, 3199:19,           circumstance [1] - 3227:22
       3138:8, 3141:1, 3141:7,           3201:11, 3201:13, 3202:16,          cited [1] - 3207:23
       3141:12, 3141:15, 3141:16,        3202:19, 3205:7, 3206:15,           claimed [1] - 3234:17
       3158:24, 3159:15, 3159:18,        3206:20, 3207:4, 3207:8,
                                                                             claiming [1] - 3229:18
       3160:2, 3161:11, 3161:15,         3207:16, 3212:4, 3212:11,
                                                                             clarify [1] - 3231:23
       3162:11, 3166:14, 3166:18,        3219:15, 3219:20, 3220:1,
                                                                             clear [13] - 3136:15, 3143:4,
       3167:18, 3167:23, 3168:1,         3220:11, 3221:2, 3221:8,
                                                                            3171:13, 3183:25, 3195:11,
       3168:9, 3168:22, 3168:25,         3221:22, 3226:11, 3226:13,
                                                                            3199:6, 3202:2, 3202:13,
       3169:6, 3169:15, 3169:19,         3227:5, 3227:10, 3227:11,
                                                                            3203:4, 3218:6, 3220:20,
       3170:11, 3172:12, 3172:17,        3232:8, 3235:1, 3239:8,
                                                                            3221:8, 3222:10
       3172:19, 3172:23, 3172:24,        3239:11, 3239:21, 3241:12,
                                                                             client [4] - 3160:17, 3204:3,
       3173:4, 3173:10, 3174:6,          3244:11, 3245:13
                                                                            3204:5, 3204:7
       3174:18, 3176:11, 3176:13,          Campoamor-Sanchez...3133
                                                                             client's [1] - 3167:11
       3176:24, 3177:1, 3177:2,          [1] - 3134:13
                                                                             Cliff [9] - 3163:14, 3164:2,
       3177:7, 3177:11, 3183:15,           cannot [5] - 3142:18, 3142:19,
                                                                            3180:9, 3197:6, 3197:10,
       3183:18, 3184:13, 3184:21,        3169:25, 3196:5, 3242:13
                                                                            3212:22, 3215:21, 3217:13
       3184:24, 3185:5, 3185:8,            caps [1] - 3170:2
                                                                             Clinton [1] - 3158:5
       3185:9, 3185:19, 3188:2,            care [1] - 3144:6
                                                                             close [2] - 3234:17, 3244:22
       3188:12, 3189:8, 3189:22,           careful [1] - 3213:1
                                                                             closed [1] - 3208:20
       3190:14, 3190:17, 3190:23,          case [18] - 3138:1, 3138:2,
                                                                             closer [2] - 3197:24, 3227:4
       3194:3, 3194:7, 3196:18,          3159:24, 3167:11, 3195:11,
       3196:24, 3198:14, 3198:16,                                            closing [2] - 3242:9, 3242:12
                                         3203:7, 3211:17, 3212:2,
       3198:18, 3199:9, 3199:19,                                             closings [1] - 3240:15
                                         3212:5, 3234:7, 3238:21,
       3201:11, 3201:13, 3202:16,                                            Club [6] - 3191:8, 3191:16,
                                         3239:7, 3239:21, 3241:14,
       3202:19, 3205:7, 3206:15,                                            3198:10, 3198:20, 3199:4,
                                         3242:15, 3242:20, 3242:22,
       3206:20, 3207:4, 3207:8,                                             3234:4
                                         3243:4
       3207:16, 3212:4, 3212:11,                                             colleagues [1] - 3203:12
                                           catch [1] - 3243:1
       3219:15, 3219:20, 3220:1,                                             collect [6] - 3219:10, 3220:12,
                                           Catie [7] - 3180:5, 3201:25,
       3220:11, 3221:2, 3221:8,                                             3220:16, 3221:24, 3222:17,
                                         3202:11, 3205:4, 3215:21,
       3221:22, 3226:11, 3226:13,                                           3222:23
                                         3219:10, 3223:6
       3227:5, 3227:10, 3227:11,                                             collected [2] - 3220:7, 3220:8
                                           caused [1] - 3137:7
       3232:8, 3235:1, 3239:8,                                               collecting [1] - 3220:9
                                           caveat [1] - 3170:21
       3239:11, 3239:21, 3241:12,                                            college [2] - 3145:20, 3145:21
                                           cell [4] - 3186:20, 3187:3,
       3244:11, 3245:13                                                      College [1] - 3145:22
                                         3187:4, 3203:15
         Campoamor-Sanchez [6] -                                             Colorado [1] - 3145:22
                                           certain [3] - 3154:3, 3229:6,
       3133:12, 3138:5, 3160:25,                                             COLUMBIA [2] - 3133:1,
                                         3235:22
       3235:17, 3237:21, 3241:10                                            3133:14
                                           certainly [22] - 3136:20,
         CAMPOAMOR-SANCHEZ [105]                                             coming [6] - 3156:7, 3163:14,
                                         3139:15, 3157:10, 3159:11,
       - 3135:4, 3136:19, 3136:22,                                          3164:2, 3170:19, 3170:23,
                                         3161:7, 3170:18, 3193:5,
       3137:1, 3137:13, 3137:15,                                            3172:7
                                         3193:9, 3194:16, 3197:16,
       3138:6, 3138:8, 3141:1, 3141:7,   3199:23, 3201:5, 3209:21,           comment [3] - 3148:21,
       3141:12, 3141:15, 3141:16,        3212:12, 3219:2, 3219:9,           3186:18, 3197:23
       3158:24, 3159:15, 3159:18,        3223:15, 3228:3, 3232:21,           commentary [1] - 3224:18
       3160:2, 3161:11, 3161:15,         3232:25, 3233:4, 3233:9             comments [2] - 3202:15,
       3162:11, 3166:14, 3166:18,          certainty [1] - 3222:6           3209:1
       3167:18, 3167:23, 3168:1,           CERTIFICATE [1] - 3246:2          commission [1] - 3184:4
       3168:9, 3168:22, 3168:25,           certify [1] - 3246:5              commissioner [1] - 3186:9
       3169:6, 3169:15, 3169:19,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 119 of 134                                                3251



        commit [2] - 3210:15, 3210:25      Constitution [2] - 3134:8,         3176:4, 3184:17, 3219:16,
        committed [1] - 3180:20           3246:14                             3232:13, 3232:15
        Committee [1] - 3185:22            constraints [1] - 3243:5            copy [40] - 3145:3, 3145:7,
        communicate [2] - 3138:22,         consult [3] - 3230:4, 3230:17,     3145:14, 3147:4, 3147:13,
       3198:3                             3231:8                              3149:22, 3150:3, 3154:4,
        communicated [2] - 3163:13,        consultants [1] - 3211:20          3154:10, 3154:14, 3154:16,
       3232:19                             cont [1] - 3134:13                 3154:22, 3176:6, 3184:22,
        communicating [1] - 3194:24        contact [23] - 3140:19, 3143:15,   3185:2, 3187:16, 3187:19,
        communication [8] - 3140:20,      3144:1, 3147:15, 3148:7,            3187:22, 3190:4, 3190:9,
       3141:17, 3144:9, 3146:16,          3148:9, 3151:21, 3151:24,           3195:23, 3197:3, 3197:5,
       3176:1, 3198:22, 3198:23,          3152:25, 3153:16, 3164:4,           3197:16, 3198:20, 3216:19,
       3218:18                            3186:25, 3187:4, 3196:10,           3217:9, 3224:3, 3224:5,
        communications [7] - 3200:2,      3201:17, 3201:20, 3201:22,          3224:11, 3226:4, 3226:5,
       3203:4, 3211:4, 3216:12,           3201:25, 3202:5, 3224:16,           3229:6, 3229:9, 3231:5, 3231:6,
       3220:10, 3220:17, 3222:7           3227:13, 3233:1, 3236:18            3232:11, 3238:7, 3238:9,
        community [1] - 3145:20            contacted [5] - 3146:20,           3238:10
        complain [2] - 3199:23,           3152:24, 3181:4, 3202:21,            copying [1] - 3168:14
       3199:25                            3224:4                               correct [137] - 3136:11, 3139:2,
        complained [1] - 3198:6            contacting [1] - 3227:17           3139:3, 3140:2, 3141:18,
        complete [3] - 3223:15,            contacts [8] - 3164:10,            3141:22, 3142:1, 3142:5,
       3223:17, 3246:7                    3164:12, 3226:20, 3226:22,          3142:21, 3143:6, 3143:15,
        completed [2] - 3204:6,           3227:7, 3227:20, 3227:22,           3143:19, 3143:23, 3144:2,
       3208:25                            3231:14                             3144:14, 3144:17, 3144:20,
        completeness [1] - 3221:11         contingency [1] - 3186:21          3145:5, 3146:8, 3146:14,
        complimenting [1] - 3237:13        continue [1] - 3243:15             3146:16, 3147:16, 3147:22,
        component [2] - 3161:6,            continued [1] - 3137:25            3148:5, 3148:10, 3148:18,
       3168:24                             continues [2] - 3186:17, 3192:4    3148:21, 3148:25, 3149:15,
                                           CONTINUING [1] - 3138:7            3149:18, 3149:22, 3150:7,
        compound [1] - 3136:10
                                           contract [1] - 3236:4              3150:8, 3151:2, 3151:7,
        concern [2] - 3151:17, 3151:22
                                           contracts [3] - 3220:22,           3151:12, 3151:18, 3153:2,
        concerned [5] - 3178:9,
                                          3220:23, 3235:25                    3153:17, 3154:13, 3154:22,
       3197:12, 3197:14, 3208:25,
                                                                              3155:4, 3155:12, 3155:17,
       3234:19                             contractual [4] - 3221:10,
                                                                              3155:20, 3156:3, 3156:15,
        concerning [1] - 3235:25          3221:24, 3222:9, 3222:17
                                                                              3156:20, 3156:25, 3157:5,
        concerns [4] - 3145:25, 3146:2,    contradict [1] - 3158:20
                                                                              3157:9, 3158:5, 3162:19,
       3146:3, 3148:20                     contradicted [1] - 3135:23
                                                                              3163:17, 3163:25, 3164:2,
        conclude [1] - 3180:19             contradicts [2] - 3158:6,
                                                                              3164:10, 3165:9, 3165:10,
        conclusion [1] - 3158:21          3168:17
                                                                              3167:15, 3173:13, 3173:17,
        conclusions [2] - 3158:4,          contrary [7] - 3158:25, 3160:6,
                                                                              3175:5, 3175:13, 3175:20,
       3162:10                            3160:17, 3161:1, 3168:19,
                                                                              3176:19, 3178:20, 3180:1,
        confer [1] - 3241:16              3169:3, 3224:17
                                                                              3180:4, 3180:15, 3181:9,
        Conference [1] - 3186:19           controlled [1] - 3137:8
                                                                              3181:15, 3185:8, 3185:10,
        conference [4] - 3168:3,           controversy [1] - 3162:5
                                                                              3187:5, 3189:16, 3191:4,
       3170:25, 3184:19, 3240:15           convene [1] - 3240:12
                                                                              3191:8, 3191:9, 3191:17,
        confidence [2] - 3233:21,          convention [1] - 3147:21
                                                                              3191:21, 3191:24, 3192:11,
       3233:24                             conversation [21] - 3140:2,        3193:7, 3193:8, 3198:7,
        confident [1] - 3243:15           3140:5, 3140:9, 3140:10,            3198:21, 3199:4, 3199:24,
        confidential [2] - 3210:2,        3140:15, 3140:16, 3144:1,           3201:20, 3202:5, 3204:11,
       3210:6                             3148:22, 3174:7, 3197:10,           3204:23, 3205:17, 3207:18,
        confused [1] - 3141:23            3197:15, 3197:22, 3202:12,          3207:19, 3207:20, 3208:4,
        congratulated [1] - 3169:5        3204:13, 3229:21, 3229:23,          3208:5, 3208:18, 3208:22,
        congratulating [1] - 3168:13      3230:1, 3231:11, 3231:12,           3208:24, 3209:19, 3209:23,
        congratulatory [5] - 3167:14,     3232:3                              3210:10, 3211:19, 3212:1,
       3168:17, 3169:17, 3171:10,          conversations [2] - 3152:19,       3212:6, 3212:21, 3215:11,
       3174:10                            3175:23                             3216:4, 3216:20, 3221:25,
        connection [4] - 3212:8,           convey [1] - 3232:6                3222:18, 3222:19, 3222:21,
       3236:4, 3236:8                      conveys [1] - 3171:24              3224:7, 3224:14, 3224:20,
        consider [1] - 3186:20             conviction [1] - 3180:14           3224:21, 3225:4, 3226:3,
        consideration [1] - 3241:23        cool [1] - 3195:20                 3227:14, 3229:24, 3230:15,
        considered [1] - 3233:10           copied [2] - 3151:11, 3226:7       3231:15, 3232:11, 3232:17,
        constitutes [1] - 3246:6           copies [7] - 3173:16, 3176:2,      3232:23, 3233:14, 3233:17,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 120 of 134                                               3252



       3234:1, 3234:15, 3234:18,          3241:13, 3242:8, 3243:21,           3206:16, 3215:9
       3240:1, 3243:21, 3244:1            3243:23, 3244:1, 3244:7,             dated [3] - 3206:11, 3206:12,
        correctly [1] - 3229:1            3244:14, 3245:3, 3245:12,           3207:19
        correspondence [2] - 3228:24,     3245:15, 3246:2                      Dated [1] - 3246:9
       3229:7                              Court's [1] - 3243:15               dates [4] - 3215:7, 3216:1,
        Counsel [3] - 3176:10, 3188:25,    courthouse [1] - 3174:21           3216:4, 3216:7
       3201:10                             Courthouse [1] - 3134:8             dating [1] - 3141:23
        counsel [4] - 3135:6, 3163:21,     COURTROOM [13] - 3141:9,            David [8] - 3150:12, 3151:15,
       3207:24, 3239:2                    3172:22, 3173:1, 3176:10,           3201:22, 3201:23, 3201:24,
        countries [1] - 3173:21           3176:12, 3185:17, 3188:25,          3201:25, 3229:21, 3236:19
        couple [2] - 3135:11, 3237:12     3201:10, 3201:12, 3207:1,            DAY [2] - 3133:5, 3133:8
        course [4] - 3160:23, 3163:5,     3219:21, 3241:3, 3244:4              Dear [3] - 3186:7, 3192:15,
       3199:3, 3234:23                     courtroom [4] - 3137:21,           3195:14
        court [6] - 3137:18, 3161:14,     3238:25, 3241:2, 3244:6              debating [1] - 3152:11
       3166:17, 3172:18, 3173:8,           coverage [2] - 3169:13, 3173:18     December [36] - 3139:5,
       3221:15                             covered [1] - 3216:15              3139:9, 3139:13, 3139:15,
        Court [6] - 3134:7, 3134:7,        CRAIG [1] - 3135:1                 3140:1, 3140:12, 3140:17,
       3208:1, 3210:19, 3241:15,           Craig [16] - 3133:6, 3134:13,      3140:19, 3141:17, 3141:24,
       3246:13                            3135:7, 3136:23, 3137:19,           3142:6, 3142:9, 3144:1,
        COURT [133] - 3133:1, 3135:2,     3138:3, 3161:16, 3172:15,           3147:22, 3150:6, 3151:2,
       3135:5, 3135:9, 3136:21,           3189:15, 3196:25, 3221:12,          3153:4, 3153:5, 3156:14,
       3136:24, 3137:4, 3137:14,          3221:17, 3235:17, 3236:24,          3161:20, 3161:22, 3162:14,
       3137:17, 3137:19, 3137:22,         3237:9, 3239:1                      3162:25, 3163:1, 3163:12,
       3140:25, 3141:2, 3141:8,            Craig's [1] - 3210:11              3163:16, 3164:17, 3165:6,
       3141:14, 3158:19, 3158:23,          CRC [2] - 3134:7, 3246:13          3173:12, 3214:12, 3215:9,
       3159:14, 3159:17, 3159:25,          crime [2] - 3210:15, 3210:25       3222:4, 3222:13, 3228:1,
       3160:4, 3161:4, 3161:13,            crimes [1] - 3180:19               3233:20
       3162:4, 3166:2, 3166:6,             Criminal [1] - 3133:3               decide [3] - 3137:5, 3242:16
       3166:15, 3167:21, 3167:25,          criminal [2] - 3210:14, 3212:15     decided [4] - 3151:24, 3194:22,
       3168:2, 3168:6, 3168:15,            critical [5] - 3165:25, 3174:23,   3197:22, 3234:14
       3168:23, 3169:5, 3169:7,           3175:17, 3181:14, 3181:16            decision [1] - 3241:18
       3169:11, 3169:16, 3169:22,          criticism [2] - 3162:1, 3162:9      defendant [1] - 3135:11
       3170:5, 3170:13, 3170:16,           criticized [1] - 3158:16            Defendant [3] - 3133:7,
       3171:2, 3171:5, 3171:8,             Cross [1] - 3134:13                3133:20, 3134:22
       3171:21, 3171:25, 3172:2,           CROSS [1] - 3138:7                  defendant's [1] - 3188:8
       3172:13, 3173:3, 3173:6,            cross [2] - 3166:9, 3169:25         defense [7] - 3136:13, 3160:14,
       3174:5, 3174:16, 3176:23,           Cross-Examination [1] -            3184:18, 3207:24, 3207:25,
       3176:25, 3177:5, 3177:9,           3134:13                             3241:6, 3241:8
       3183:13, 3184:17, 3184:22,          cross-examination [1] - 3166:9      deliver [6] - 3150:1, 3150:2,
       3185:1, 3185:4, 3185:6,                                                3200:20, 3203:24, 3206:3,
                                           CROSS-EXAMINATION [1] -
       3185:14, 3185:18, 3188:4,                                              3206:9
                                          3138:7
       3188:11, 3188:21, 3189:1,                                               delivered [6] - 3204:2, 3204:9,
                                           cross-examine [1] - 3169:25
       3189:5, 3189:7, 3189:18,                                               3205:21, 3205:24, 3209:24,
                                           crossed [1] - 3151:15
       3190:18, 3190:20, 3193:23,                                             3236:21
                                           crosses [1] - 3135:14
       3194:2, 3194:4, 3196:16,                                                delivering [3] - 3150:13,
                                           CRR [2] - 3134:7, 3246:13
       3196:22, 3198:13, 3198:17,                                             3151:16, 3200:22
       3199:8, 3199:11, 3202:15,                                               delivery [4] - 3150:9, 3150:11,
       3202:18, 3204:24, 3205:2,                         D                    3208:21, 3209:9
       3206:16, 3207:3, 3207:6,                                                demand [1] - 3180:13
                                           D.C [9] - 3133:6, 3133:15,
       3207:10, 3207:12, 3207:14,                                              democracy [1] - 3185:24
                                          3133:18, 3134:3, 3134:9,
       3212:2, 3212:5, 3219:18,                                                denied [1] - 3166:16
                                          3141:22, 3145:19, 3162:18,
       3219:22, 3219:24, 3220:6,
                                          3246:15                              deny [3] - 3148:20, 3195:7,
       3220:18, 3220:25, 3221:3,
                                           Daily [1] - 3155:14                3196:14
       3221:7, 3221:13, 3221:16,
                                           daily [1] - 3167:11                 Department [11] - 3133:17,
       3221:21, 3227:3, 3227:6,
                                           damage [4] - 3167:11, 3179:5,      3158:4, 3158:14, 3158:16,
       3231:21, 3235:2, 3235:6,
                                          3179:11, 3179:13                    3158:21, 3159:1, 3159:3,
       3235:8, 3235:13, 3238:16,
                                           damaging [2] - 3179:9, 3179:10     3159:8, 3160:24, 3161:5, 3162:7
       3239:1, 3239:9, 3239:12,
                                           Dan [1] - 3192:10                   Department's [2] - 3159:4,
       3239:15, 3239:19, 3239:22,
                                           date [7] - 3139:23, 3139:25,       3159:23
       3240:3, 3241:5, 3241:9,
                                          3140:8, 3153:5, 3202:20,             DEPUTY [13] - 3141:9, 3172:22,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 121 of 134                                                 3253



       3173:1, 3176:10, 3176:12,           3141:7, 3168:6, 3182:5,              Electronic [2] - 3150:9, 3150:11
       3185:17, 3188:25, 3201:10,          3183:13, 3199:15, 3214:19,           electronically [2] - 3149:18,
       3201:12, 3207:1, 3219:21,           3220:19, 3224:5, 3224:13,          3150:1
       3241:3, 3244:4                      3229:18                              email [109] - 3139:11, 3139:15,
        Deputy [1] - 3189:25                documents [6] - 3135:24,          3139:25, 3140:3, 3142:6,
        deputy [2] - 3150:15, 3208:7       3179:25, 3180:3, 3221:10,          3142:7, 3142:12, 3143:5,
        der [8] - 3142:23, 3142:24,        3228:17, 3242:21                   3143:8, 3143:14, 3143:20,
       3164:21, 3200:14, 3201:19,           done [13] - 3150:19, 3150:22,     3143:21, 3143:24, 3144:9,
       3220:23, 3221:23, 3222:16           3160:6, 3165:8, 3165:12,           3144:14, 3144:16, 3144:20,
        described [3] - 3153:20,           3174:14, 3192:9, 3206:17,          3144:22, 3144:23, 3146:7,
       3186:15, 3209:6                     3206:19, 3211:3, 3220:13,          3146:8, 3146:13, 3146:21,
        deserved [1] - 3244:9              3229:14, 3241:19                   3146:24, 3148:1, 3148:24,
        desire [1] - 3135:18                double [1] - 3150:15              3149:2, 3149:14, 3149:15,
        desk [1] - 3147:8                   doubt [1] - 3195:14               3149:21, 3150:10, 3150:13,
        detail [1] - 3172:15                Doug [1] - 3193:13                3151:3, 3151:5, 3151:6, 3151:8,
        details [1] - 3198:4                down [5] - 3161:8, 3180:25,       3151:9, 3151:11, 3152:6,
        determined [1] - 3144:24           3207:5, 3209:19, 3214:7            3152:9, 3152:11, 3152:16,
        devastating [1] - 3195:8            draft [13] - 3204:4, 3204:6,      3152:22, 3152:24, 3153:10,
        Dickman [2] - 3134:7, 3246:13      3204:8, 3214:3, 3214:10,           3153:13, 3155:23, 3156:4,
        DICKMAN [1] - 3246:5               3214:23, 3214:24, 3225:3,          3156:14, 3162:25, 3163:7,
        difference [4] - 3153:11,          3225:15, 3226:9, 3227:19,          3163:8, 3163:13, 3163:22,
       3157:8, 3157:11, 3160:21            3228:12, 3228:14                   3164:16, 3164:25, 3165:5,
        different [3] - 3154:11, 3227:22    drafted [1] - 3228:3              3165:10, 3166:21, 3167:3,
        dinner [5] - 3174:9, 3174:10,       drafts [3] - 3212:21, 3212:22,    3167:14, 3168:12, 3168:16,
       3174:11, 3174:12, 3186:7            3213:12                            3170:1, 3170:11, 3170:19,
                                            draw [2] - 3136:8, 3136:10        3172:21, 3173:11, 3173:15,
        direct [4] - 3136:14, 3164:5,
                                            drew [1] - 3172:13                3176:14, 3177:3, 3188:5,
       3172:13, 3182:17
                                            driven [1] - 3157:19              3188:18, 3190:5, 3190:24,
        directly [1] - 3198:23
                                            driving [2] - 3218:14, 3218:16    3191:3, 3191:20, 3192:16,
        directs [1] - 3135:15
                                            dropping [2] - 3218:15, 3218:16   3194:10, 3194:18, 3194:21,
        disagree [3] - 3206:8, 3210:22,
                                            due [1] - 3232:6                  3196:4, 3197:17, 3201:14,
       3245:6
                                            Durbin [2] - 3194:22, 3195:8      3202:22, 3204:21, 3206:25,
        disagreed [2] - 3158:11,
                                                                              3207:17, 3209:6, 3213:16,
       3158:13                              during [5] - 3149:20, 3200:21,
                                                                              3215:12, 3216:10, 3216:17,
        disagreement [1] - 3159:9          3238:20, 3240:19, 3243:3
                                                                              3216:24, 3217:8, 3219:3,
        disagrees [3] - 3158:8,
                                                                              3222:6, 3223:10, 3223:23,
       3158:10, 3159:8                                     E                  3225:11, 3225:13, 3226:7,
        disappeared [1] - 3147:5
                                            early [3] - 3175:23, 3186:19,     3226:15, 3226:24, 3229:23,
        disappointed [1] - 3200:20
                                           3220:14                            3234:8, 3238:3
        disaster [1] - 3177:18
                                            easier [1] - 3192:9                 Email [8] - 3133:16, 3133:16,
        discretion [1] - 3172:5                                               3133:19, 3133:24, 3133:25,
        discuss [6] - 3146:5, 3147:8,       easiest [1] - 3223:5
                                                                              3133:25, 3134:4, 3134:5
       3197:7, 3197:17, 3197:20,            East [2] - 3133:22, 3200:13
                                                                                emails [37] - 3140:10, 3140:14,
       3238:22                              eastern [1] - 3186:10
                                                                              3144:11, 3147:20, 3150:25,
        discussed [7] - 3151:20,            Eastern [1] - 3156:7
                                                                              3160:11, 3176:20, 3200:9,
       3176:9, 3187:15, 3187:18,            easy [1] - 3223:16
                                                                              3200:14, 3200:17, 3201:18,
       3191:15, 3197:16, 3212:18            Ed [2] - 3205:4, 3205:10
                                                                              3218:19, 3218:20, 3219:5,
        discussing [9] - 3176:15,           Ed's [1] - 3205:11
                                                                              3219:6, 3219:10, 3220:7,
       3177:12, 3183:7, 3183:13,            editor [1] - 3150:16
                                                                              3220:9, 3220:12, 3220:16,
       3183:21, 3190:9, 3190:11,            editors [1] - 3147:8
                                                                              3221:4, 3221:24, 3222:12,
       3194:21, 3197:5                      effect [3] - 3144:6, 3170:7,
                                                                              3222:17, 3222:24, 3223:6,
        discussion [7] - 3135:8,           3200:24
                                                                              3223:16, 3226:24, 3227:1,
       3159:16, 3166:3, 3168:5,             effective [1] - 3165:18
                                                                              3227:12, 3227:24, 3228:1,
       3170:24, 3180:9, 3220:3              effort [3] - 3150:1, 3197:23,     3230:8, 3237:12, 3237:15
        display [2] - 3184:16, 3185:5      3220:16                              emarcus@zuckerman.com [1]
        dispute [1] - 3225:5                efforts [2] - 3150:18, 3151:15    - 3134:5
        disseminate [1] - 3224:2            either [7] - 3175:9, 3176:25,       embargo [2] - 3181:4, 3183:1
        distribute [1] - 3214:5            3180:3, 3198:3, 3230:20,             embezzlement [3] - 3211:16,
        DISTRICT [4] - 3133:1, 3133:1,     3239:4, 3242:10
                                                                              3211:19, 3212:1
       3133:10, 3133:14                     elections [1] - 3195:11
                                                                                emerged [1] - 3165:14
        document [11] - 3135:23,            electronic [1] - 3149:22
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 122 of 134                                               3254



        emotion [1] - 3171:25             3200:14                             3170:23, 3171:9, 3171:11,
        emphasize [1] - 3160:18            excluded [2] - 3171:14, 3171:15    3171:22, 3171:23, 3172:2,
        encourage [2] - 3135:20,           exclusive [1] - 3143:19            3172:7, 3172:9, 3173:8,
       3136:1                              excuse [4] - 3163:3, 3174:4,       3173:21, 3174:20, 3176:2,
        end [6] - 3136:6, 3136:11,        3239:24, 3242:2                     3186:23, 3187:7, 3197:5,
       3143:22, 3166:9, 3214:15,           excused [6] - 3238:24, 3239:2,     3198:9, 3198:25, 3199:18,
       3243:5                             3243:10, 3243:17, 3245:14,          3200:19, 3200:24, 3206:12,
        endlessly [1] - 3195:21           3245:15                             3206:16, 3207:24, 3210:8,
        engaged [2] - 3186:16, 3200:10     excusing [1] - 3242:3              3211:24, 3213:3, 3222:16,
        enjoy [1] - 3242:24                exhausted [1] - 3209:14            3225:5, 3225:7, 3227:13,
        enlargement [1] - 3186:9           Exhibit [29] - 3140:22, 3144:12,   3231:8, 3232:25, 3233:8,
        entered [1] - 3208:14             3147:18, 3150:5, 3162:21,           3242:14
        enters [2] - 3137:21, 3241:2      3167:19, 3172:20, 3175:1,            facts [3] - 3136:7, 3234:6,
        entire [1] - 3171:15              3176:8, 3179:19, 3184:15,           3242:19
        entirely [4] - 3159:24, 3161:3,   3187:25, 3188:3, 3190:12,            fair [6] - 3136:5, 3181:12,
       3210:11, 3244:17                   3193:19, 3201:9, 3202:24,           3196:20, 3212:25, 3244:18
        equally [1] - 3195:8              3206:21, 3207:3, 3207:12,            fairly [1] - 3195:8
        error [1] - 3227:15               3211:7, 3212:16, 3213:11,            fall [1] - 3145:22
        errors [2] - 3213:7, 3213:9       3215:12, 3216:10, 3221:23,           false [2] - 3178:11, 3179:3
        especially [2] - 3151:16,         3223:22, 3225:9, 3228:19             falsely [3] - 3177:16, 3178:9,
       3166:22                             exhibit [9] - 3175:4, 3177:5,      3179:6
        Europe [1] - 3191:13              3207:2, 3213:23, 3213:24,            familiar [1] - 3185:24
        European [7] - 3184:1, 3184:2,    3215:7, 3215:13, 3216:16,            far [1] - 3208:25
       3184:3, 3184:5, 3184:10,           3221:16                              FARA [35] - 3139:2, 3160:5,
       3186:8, 3210:19                     exhibits [1] - 3173:7              3160:19, 3160:20, 3161:8,
        evasion [3] - 3211:16, 3211:18,    EXHIBITS [1] - 3134:15             3161:18, 3193:5, 3211:4,
       3212:1                              existed [1] - 3180:21              3211:24, 3212:12, 3219:12,
        evening [2] - 3150:14, 3163:10     existing [1] - 3207:22             3220:14, 3220:22, 3222:3,
        event [1] - 3240:21                exits [2] - 3238:25, 3244:6        3222:5, 3222:21, 3223:9,
        evidence [39] - 3135:24,           exonerated [3] - 3178:11,          3224:1, 3224:24, 3225:3,
       3140:23, 3143:3, 3144:13,          3178:25, 3179:4                     3228:4, 3228:5, 3228:8,
       3146:6, 3146:23, 3162:13,           exonerates [1] - 3177:17           3231:13, 3232:10, 3232:18,
       3166:7, 3167:19, 3167:20,           Expand [1] - 3185:23               3232:21, 3232:25, 3233:3,
       3172:23, 3173:1, 3175:2,            expansion [1] - 3184:2             3233:4, 3233:7, 3233:11,
       3176:10, 3179:20, 3184:13,          expected [1] - 3138:15             3233:12, 3233:23, 3234:17
       3188:1, 3190:13, 3190:21,           expecting [1] - 3138:18             fast [1] - 3194:22
       3193:20, 3201:10, 3201:11,          expedition [1] - 3135:18            faster [1] - 3185:2
       3203:1, 3204:17, 3206:11,           expenses [3] - 3209:15,             favorable [2] - 3160:21, 3161:9
       3206:22, 3207:2, 3207:6,           3209:18, 3236:8                      fees [3] - 3157:1, 3209:19,
       3207:7, 3209:3, 3210:14,            explain [2] - 3168:10, 3171:1      3236:8
       3210:24, 3223:23, 3239:7,           explanations [1] - 3137:3           Fernando [1] - 3133:12
       3239:16, 3241:6, 3241:11,           explore [1] - 3160:7                fernando.campoamor [1] -
       3241:14, 3242:18                    express [2] - 3148:20, 3158:14     3133:16
        exactly [3] - 3185:25, 3220:12,    expressed [1] - 3159:3              fernando.campoamor-
       3240:3                              expressing [1] - 3135:18           sanchez@usdoj.gov [1] -
        EXAMINATION [2] - 3138:7,          extensive [1] - 3226:24            3133:16
       3235:15                             extent [1] - 3159:7                 few [2] - 3208:21, 3232:9
        examination [1] - 3166:9           extremely [1] - 3135:17             FH [2] - 3181:20, 3182:6
        Examination [2] - 3134:13,         Ezra [1] - 3134:1                   figure [2] - 3171:8, 3182:6
       3134:14                                                                 files [2] - 3179:25, 3180:2
        examine [1] - 3169:25                                                  final [14] - 3204:5, 3204:8,
                                                          F                   3206:7, 3206:8, 3206:9,
        example [1] - 3219:9
        excellent [1] - 3223:21            fact [60] - 3137:10, 3137:23,      3208:20, 3208:23, 3209:1,
        exchange [3] - 3144:10,           3139:16, 3139:23, 3140:15,          3209:9, 3212:23, 3213:19,
       3144:22, 3216:10                   3154:16, 3155:19, 3156:6,           3214:21, 3214:22
        exchanged [2] - 3192:22,          3157:7, 3158:3, 3159:21,             finalized [3] - 3206:2, 3206:4,
       3212:22                            3160:7, 3161:2, 3168:20,            3209:24
        exchanges [2] - 3223:11,          3169:22, 3169:24, 3169:25,           fine [3] - 3137:4, 3161:12,
       3238:4                             3170:6, 3170:7, 3170:8, 3170:9,     3220:25
        exchanging [2] - 3186:20,         3170:17, 3170:19, 3170:22,           fingers [1] - 3151:14
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 123 of 134                                               3255



        finish [1] - 3222:11              3186:13, 3193:9, 3193:12             Greg [10] - 3134:13, 3143:22,
        finished [1] - 3208:23             front [4] - 3140:24, 3176:22,      3165:14, 3169:13, 3186:7,
        firm [11] - 3164:5, 3175:14,      3178:10, 3210:18                    3191:11, 3192:2, 3192:15,
       3175:15, 3177:15, 3179:8,           fronts [1] - 3222:25               3195:14, 3210:11
       3179:9, 3179:10, 3214:4,            frustration [1] - 3135:19           Gregory [1] - 3133:6
       3214:12, 3226:19, 3230:4            FTI [1] - 3218:23                   GREGORY [1] - 3135:1
        firms [1] - 3182:3                 Fule [13] - 3183:8, 3183:17,        ground [1] - 3195:9
        first [39] - 3139:9, 3144:24,     3183:22, 3183:25, 3184:9,            guess [4] - 3136:18, 3137:4,
       3150:1, 3152:25, 3156:2,           3186:8, 3186:24, 3187:4,            3182:7, 3242:25
       3156:22, 3157:1, 3160:23,          3187:13, 3190:3, 3191:13,            guilty [1] - 3177:17
       3163:7, 3170:13, 3175:8,           3191:16, 3192:18                     Gulland [1] - 3133:13
       3175:9, 3175:10, 3176:24,           Fule's [1] - 3187:7                 guy [3] - 3177:15, 3179:13,
       3177:3, 3180:10, 3191:1,            full [5] - 3147:7, 3211:15,        3179:16
       3191:15, 3191:19, 3193:15,         3230:10, 3246:7                      GX310 [1] - 3134:17
       3204:4, 3211:18, 3213:24,           function [1] - 3220:12              GX402 [1] - 3134:17
       3214:1, 3214:18, 3216:24,           future' [1] - 3157:20               GX809 [1] - 3134:18
       3220:21, 3221:9, 3222:3,            FYI [1] - 3146:10                   GX819 [1] - 3134:18
       3222:21, 3222:22, 3225:10,                                              GX822 [1] - 3134:19
       3225:17, 3229:11, 3229:19,                         G                    GX829 [1] - 3134:19
       3233:18, 3233:20, 3237:4,                                               GX837 [1] - 3134:20
       3242:10                             Gaston [1] - 3133:13
        five [11] - 3141:22, 3141:25,      Gates [9] - 3140:12, 3140:16,
       3142:2, 3143:5, 3143:7,
                                                                                              H
                                          3140:20, 3141:17, 3142:3,
       3144:18, 3149:1, 3153:6,           3142:13, 3142:20, 3151:12,           half [3] - 3194:8, 3243:2,
       3237:5, 3240:2, 3240:4             3151:18                             3243:13
        flaws [1] - 3232:5                 Gates' [1] - 3151:22                hand [6] - 3150:2, 3150:13,
        Fleisher [1] - 3182:2              gather [1] - 3220:24               3151:16, 3184:17, 3184:18,
        focus [3] - 3135:20, 3173:5,       General [1] - 3200:21              3205:21
       3221:4                              general [3] - 3208:8, 3212:10,      hand-delivering [2] - 3150:13,
        focused [2] - 3200:12, 3238:14    3221:1                              3151:16
        following [2] - 3242:11,           general's [1] - 3208:14             handed [4] - 3180:4, 3185:2,
       3244:23                             generally [4] - 3142:12, 3168:4,   3205:16, 3205:20
        footnote [1] - 3208:5             3218:24, 3223:19                     handle [1] - 3218:25
        FOR [2] - 3133:1, 3133:13          generate [1] - 3138:19              handwriting [2] - 3175:5,
        foregoing [1] - 3246:6             generating [1] - 3138:24           3182:25
        foreign [3] - 3147:8, 3150:15,     gentlemen [1] - 3234:2              handwritten [2] - 3181:13,
       3196:6                              given [7] - 3144:24, 3154:4,       3181:16
        form [5] - 3206:7, 3206:9,        3154:14, 3204:4, 3216:18,            happier [2] - 3145:5, 3145:7
       3213:19, 3231:9                    3216:23, 3232:10                     happy [21] - 3145:2, 3145:6,
        formally [1] - 3181:4              glad [2] - 3167:8, 3245:16         3159:22, 3166:19, 3166:23,
        format [1] - 3171:16               gov [1] - 3194:16                  3167:13, 3168:17, 3168:19,
        former [2] - 3142:4, 3142:14       Government [2] - 3162:21,          3168:21, 3169:12, 3169:17,
        forth [5] - 3212:22, 3220:8,      3207:3                              3169:23, 3170:10, 3170:14,
       3220:24, 3222:24, 3223:3            government [10] - 3135:14,         3170:21, 3170:23, 3173:25,
        forward [5] - 3146:8, 3203:21,    3162:7, 3180:13, 3184:3,            3174:14, 3200:19, 3200:22
       3208:13, 3226:4, 3226:5            3196:10, 3196:13, 3214:11,           hard [3] - 3147:7, 3198:15,
        forwarded [6] - 3144:20,          3236:12, 3236:23, 3241:10           3223:5
       3146:21, 3154:16, 3192:21,          Government's [23] - 3140:22,        hardcopy [2] - 3150:13,
       3194:9, 3226:3                     3144:12, 3147:18, 3150:5,           3179:25
        forwarding [1] - 3173:15          3167:19, 3172:20, 3175:1,            Harvard [6] - 3191:8, 3191:16,
        forwards [4] - 3143:15, 3144:8,   3176:7, 3179:19, 3184:14,           3198:10, 3198:19, 3199:4,
       3192:13, 3195:12                   3187:25, 3188:3, 3190:12,           3234:4
        four [3] - 3135:12, 3237:4,       3193:19, 3201:9, 3202:24,            Haskell [3] - 3149:19, 3225:25,
       3237:5                             3206:21, 3207:12, 3211:6,           3226:2
        Fourth [1] - 3133:14              3216:9, 3223:22, 3225:9,             Hawker [34] - 3139:9, 3143:14,
        fracas [1] - 3196:5               3228:19                             3143:18, 3144:1, 3144:8,
        free [1] - 3160:25                 gray [1] - 3234:14                 3144:20, 3144:22, 3146:3,
        fresh [1] - 3180:13                great [5] - 3166:25, 3172:15,      3146:5, 3146:8, 3146:15,
        Friday [2] - 3241:22, 3242:1      3179:7, 3192:1                      3148:10, 3150:10, 3150:12,
        friend [6] - 3185:10, 3186:2,      greater [1] - 3222:6               3151:5, 3151:6, 3151:7,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 124 of 134                                                  3256



       3152:24, 3153:10, 3153:13,           hug [1] - 3200:24                   instruction [5] - 3166:5, 3166:8,
       3156:4, 3164:8, 3198:4, 3198:6,      huge [1] - 3199:15                 3172:8, 3230:5, 3230:18
       3199:16, 3218:18, 3218:23,           hum [1] - 3168:22                   instructions [5] - 3137:25,
       3219:2, 3220:10, 3230:20,            Human [1] - 3210:19                3240:10, 3241:16, 3242:10,
       3233:1, 3233:3, 3233:5, 3233:16      Hunt [5] - 3151:24, 3152:4,        3243:16
        hawker [1] - 3150:17               3152:15, 3233:10, 3233:11            intend [3] - 3239:16, 3239:17,
        Hawker's [1] - 3148:1               hunt [1] - 3228:6                  3239:18
        head [1] - 3240:3                   Hyatt [1] - 3175:9                  intended [4] - 3210:15,
        headline [1] - 3232:4                                                  3210:25, 3230:15, 3232:22
        headlines [2] - 3169:13,                           I                    intends [1] - 3241:11
       3173:19                                                                  intent [2] - 3169:4, 3210:14
        heads [1] - 3240:22                 i.e [2] - 3157:19, 3210:14          interactions [4] - 3217:16,
        heads-up [1] - 3240:22              idea [1] - 3186:23                 3217:18, 3217:25, 3218:1
        hear [7] - 3148:2, 3167:13,         identified [2] - 3212:12,           interest [3] - 3160:6, 3160:17,
       3198:15, 3211:8, 3227:6,            3229:11                             3161:2
       3242:9, 3242:12                      identify [3] - 3175:14, 3210:17,    interested [8] - 3145:4, 3145:6,
        heard [4] - 3156:5, 3239:6,        3212:15                             3145:8, 3145:13, 3183:20,
       3241:14, 3242:18                     identifying [1] - 3229:12          3198:23, 3229:25
        hearsay [11] - 3160:24, 3161:6,     III [1] - 3133:21                   interests [2] - 3168:19, 3169:3
       3168:13, 3168:23, 3169:16,           immediately [2] - 3144:21,          international [1] - 3181:2
       3171:12, 3171:19, 3171:21,          3242:10                              internationally [1] - 3173:20
       3171:22, 3172:6                      important [5] - 3135:21,            interrupt [2] - 3166:9, 3229:20
        HELD [1] - 3133:9                  3160:18, 3184:7, 3184:9, 3213:4      interviews [2] - 3160:16,
        help [6] - 3136:17, 3136:22,        improper [1] - 3157:19             3224:18
       3138:18, 3138:22, 3138:24,           IN [1] - 3133:1                     introduce [3] - 3239:16, 3241:7,
       3173:25                              inaccuracies [3] - 3230:12,        3241:11
        helping [1] - 3175:14              3231:16, 3231:19                     introduced [1] - 3207:24
        hereby [1] - 3246:5                 inadmissible [4] - 3168:8,          invite [1] - 3184:10
        Herszenhorn [4] - 3155:11,         3168:9, 3170:16, 3171:1              invited [1] - 3184:4
       3156:19, 3231:25, 3232:2             include [3] - 3183:16, 3232:15,     involved [1] - 3218:24
        highlight [2] - 3211:12, 3226:12   3244:17                              irregularities [1] - 3180:20
        hold [1] - 3189:12                  included [2] - 3208:7, 3232:14      irrelevant [2] - 3159:24, 3161:3
        home [3] - 3150:3, 3150:13,         including [1] - 3190:10             issue [5] - 3156:25, 3159:2,
       3150:14                              incorporating [2] - 3229:2,        3159:24, 3184:9, 3195:1
        honest [2] - 3178:15, 3237:19      3229:3                               issued [4] - 3153:24, 3154:3,
        honestly [1] - 3193:2               indeed [1] - 3173:24               3154:12, 3230:16
        Honor [30] - 3135:4, 3136:20,       INDEX [1] - 3134:12                 issues [1] - 3212:14
       3137:15, 3137:16, 3138:6,            inference [2] - 3136:8, 3170:2      IT [1] - 3225:6
       3162:3, 3167:18, 3168:8,             info [5] - 3186:25, 3201:17,        item [1] - 3218:23
       3168:25, 3170:9, 3170:24,           3201:20, 3201:25, 3202:20            iterations [1] - 3212:23
       3172:1, 3184:14, 3184:24,            inform [9] - 3162:17, 3230:5,
       3188:2, 3190:14, 3194:3,            3230:8, 3230:17, 3232:18,                           J
       3196:19, 3199:13, 3202:17,          3233:3, 3233:11, 3244:21,
       3207:1, 3219:16, 3238:15,           3244:25                              JACKSON [1] - 3133:9
       3239:18, 3241:4, 3241:8,             information [5] - 3187:7,           Jackson [24] - 3154:16,
       3241:12, 3244:11, 3244:12,          3201:22, 3202:5, 3225:6,            3183:22, 3185:10, 3185:12,
       3245:13                             3244:15                             3185:20, 3186:6, 3186:13,
        HONORABLE [1] - 3133:9              informed [5] - 3150:17,            3187:15, 3187:22, 3188:16,
        hope [2] - 3149:8, 3244:9          3200:15, 3231:14, 3233:7,           3189:15, 3190:5, 3191:4,
        hopefully [1] - 3242:4             3244:14                             3191:7, 3191:21, 3193:9,
        hoping [1] - 3138:17                informing [4] - 3142:3, 3146:15,   3193:10, 3194:10, 3194:24,
        hotheads [1] - 3195:20             3150:20, 3218:17                    3195:24, 3196:1, 3196:9,
        hours [15] - 3135:11, 3135:12,      initial [1] - 3165:18              3238:4, 3238:7
       3141:22, 3141:25, 3142:2,            initials [1] - 3181:20              James [1] - 3133:20
       3143:5, 3143:7, 3144:18,             initiated [1] - 3226:20             JANICE [1] - 3246:5
       3149:1, 3153:6, 3208:21,             inquiries [2] - 3164:5, 3234:6      Janice [2] - 3134:7, 3246:13
       3237:5, 3237:6, 3240:2, 3240:4       inquiry [1] - 3222:3                January [2] - 3208:14, 3220:15
        house [2] - 3218:14, 3227:17        insight [1] - 3223:11               Jason [1] - 3133:17
        House [3] - 3192:7, 3195:9,         instance [1] - 3231:5               jason.mccullough@usdoj.
       3195:21                              instead [2] - 3137:2, 3244:23      gov [1] - 3133:19
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 125 of 134                                                3257



        job [1] - 3166:25                  knowledge [1] - 3226:19             3225:3, 3226:9, 3227:19,
        join [5] - 3177:21, 3178:7,        known [1] - 3185:22                 3228:3, 3228:4, 3228:12,
       3178:12, 3184:10, 3195:10           knows [2] - 3203:14, 3220:12        3228:14, 3228:20, 3228:21,
        Join [1] - 3178:14                 Kremlin [1] - 3195:22               3229:4, 3229:11, 3230:22,
        joining [2] - 3178:21              Kutler [2] - 3205:4, 3205:13        3232:12
        Jonathan [3] - 3156:4, 3164:8,     Kwasniewski [4] - 3142:8,            letter's [1] - 3219:12
       3218:23                            3164:22, 3164:23, 3165:1              letters [3] - 3138:12, 3139:2,
        Journal [2] - 3216:21, 3231:11     Kyiv [11] - 3166:19, 3167:5,        3229:2
        journalist [2] - 3155:3, 3183:1   3167:6, 3168:21, 3169:12,             letting [1] - 3153:13
        journalists [15] - 3154:3,        3169:18, 3169:23, 3170:23,            life [1] - 3157:20
       3155:4, 3174:23, 3175:18,          3175:8, 3224:4, 3224:12               likely [1] - 3136:10
       3181:2, 3181:9, 3181:14,                                                 limiting [1] - 3166:4
       3181:17, 3226:6, 3234:4,                           L                     line [4] - 3165:8, 3165:12,
       3234:5, 3234:6, 3234:11,                                                3180:21, 3197:24
       3234:24, 3237:10                    LA [1] - 3216:19                     links [1] - 3173:16
        Jsmith@                            Labor [5] - 3240:8, 3240:22,         list [2] - 3173:18, 3207:2
       officeofvicepresident.             3241:23, 3242:1, 3242:5               listed [2] - 3189:24, 3221:4
       executiveofficeofpresident.         ladies [1] - 3234:2                  literally [1] - 3220:15
       gov [1] - 3194:20                   language [1] - 3136:3                live [1] - 3245:6
        JUDGE [2] - 3133:9, 3133:10        Larry [2] - 3225:20, 3226:16         LLP [2] - 3133:22, 3134:2
        Judge [1] - 3184:16                last [9] - 3147:3, 3147:12,          lobbyist [2] - 3205:14, 3205:15
        Julie [1] - 3194:25               3168:16, 3178:18, 3190:24,            located [1] - 3214:18
        July [7] - 3175:23, 3175:25,      3211:15, 3215:4, 3227:7, 3230:3       look [67] - 3140:22, 3141:20,
       3177:4, 3181:11, 3186:6,            late [3] - 3152:4, 3197:3, 3206:7   3143:8, 3144:12, 3144:24,
       3186:14, 3204:5                     Lauren [3] - 3163:8, 3216:12,       3146:6, 3146:19, 3146:23,
        jumbled [1] - 3227:21             3216:25                              3148:24, 3150:24, 3152:22,
        June [1] - 3212:17                 Lavrynovych [2] - 3207:23,          3152:23, 3156:1, 3156:13,
        Junghans [1] - 3134:1             3208:12                              3156:22, 3157:2, 3162:12,
        jurisprudence [1] - 3180:21        Law [2] - 3216:21, 3231:11          3164:15, 3165:2, 3172:20,
        JUROR [2] - 3243:19, 3243:22       law [9] - 3177:15, 3179:7,          3172:21, 3175:1, 3176:7,
        juror [1] - 3244:19               3179:9, 3179:10, 3211:20,            3176:14, 3176:18, 3176:25,
        JURORS [3] - 3141:10,             3212:14, 3214:11, 3230:4,            3179:19, 3180:10, 3180:25,
       3185:13, 3243:25                   3241:18                              3182:8, 3184:12, 3187:25,
        jurors [2] - 3244:16, 3244:21      lawyers [3] - 3179:7, 3212:9,       3189:14, 3190:12, 3192:5,
        jury [27] - 3135:6, 3135:17,      3242:22                              3193:19, 3194:18, 3199:17,
       3136:8, 3137:21, 3141:8,            leads [1] - 3192:10                 3201:9, 3203:23, 3204:17,
       3169:2, 3173:6, 3219:19,            League [2] - 3145:18, 3145:23       3206:10, 3206:21, 3207:21,
       3219:21, 3234:2, 3238:19,           leak [5] - 3148:10, 3177:16,        3209:3, 3211:6, 3213:11,
       3239:16, 3239:23, 3239:24,         3178:9, 3178:17, 3181:9              3213:22, 3214:2, 3214:14,
       3240:5, 3240:9, 3240:13,            leaked [1] - 3179:3                 3215:4, 3215:6, 3215:12,
       3240:19, 3241:2, 3241:16,           leaks [3] - 3176:17, 3176:19,       3216:16, 3219:14, 3223:5,
       3241:21, 3242:6, 3243:3,           3178:19                              3223:22, 3225:9, 3225:10,
       3243:12, 3244:16, 3244:25           learn [1] - 3200:22                 3226:9, 3228:19, 3228:23,
        JURY [2] - 3133:4, 3133:8          learned [2] - 3200:6, 3202:3        3230:3, 3242:23
        Jury [2] - 3238:25, 3244:6         least [1] - 3181:11                  look-see [1] - 3215:4
        justice [1] - 3212:15              leave [5] - 3151:20, 3151:23,        looked [4] - 3168:16, 3189:4,
        Justice [8] - 3133:17, 3153:24,   3216:7, 3244:2, 3244:4               3199:20, 3199:21
       3154:24, 3193:6, 3209:8,            legal [5] - 3195:9, 3207:25,         looking [10] - 3138:21, 3142:8,
       3222:8, 3236:1, 3237:9             3208:1, 3208:2, 3208:11              3149:2, 3176:23, 3188:13,
                                           length [2] - 3137:6, 3137:8         3188:22, 3189:1, 3214:20,
                                                                               3215:19, 3242:19
                       K                   lengthy [1] - 3137:3
                                                                                looks [9] - 3149:23, 3151:10,
                                           less [2] - 3135:12, 3136:4
        Kedem [3] - 3225:21, 3225:22,      lesser [1] - 3225:7                 3151:13, 3173:14, 3194:17,
       3225:23                             letter [33] - 3188:16, 3202:11,     3214:22, 3217:11, 3217:22,
        keeping [2] - 3150:17, 3151:14    3207:23, 3207:25, 3208:7,            3226:15
        key [2] - 3165:19, 3165:24        3210:13, 3212:3, 3212:21,             Looks [1] - 3215:23
        kids [1] - 3145:17                3212:24, 3213:12, 3213:23,            Los [2] - 3226:6, 3231:12
        kind [2] - 3177:18, 3185:25       3213:25, 3214:1, 3215:6,              Loucks [1] - 3212:10
        kiss [1] - 3200:25                3215:8, 3220:22, 3221:9,              lump [1] - 3230:23
        knowing [2] - 3198:23, 3242:23    3222:4, 3222:21, 3222:22,             lumped [1] - 3230:24
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 126 of 134                                             3258



        lunch [6] - 3136:17, 3174:11,    3236:22, 3237:21, 3237:24,         3162:10
       3174:13, 3174:17, 3174:21,        3238:1                              mixed [1] - 3189:11
       3240:15                            Media [1] - 3169:12                modifies [1] - 3230:11
        lying [1] - 3196:1                meet [3] - 3191:16, 3236:23,       MOJ [3] - 3163:15, 3181:4,
                                         3237:7                             3181:5
                      M                   meeting [21] - 3151:19,            Molly [1] - 3133:13
                                         3164:21, 3164:24, 3165:1,           molly.gaston@usdoj.gov [1] -
        MA [1] - 3181:25                 3191:8, 3191:16, 3198:10,          3133:16
        ma'am [1] - 3243:22              3198:11, 3198:20, 3199:4,           moment [10] - 3154:7, 3154:8,
        Magnitsky [1] - 3194:22          3199:12, 3199:14, 3224:25,         3154:9, 3174:22, 3186:25,
        major [2] - 3160:13, 3180:12     3225:2, 3228:4, 3228:15,           3219:8, 3237:11, 3238:13,
        Malet [2] - 3216:18, 3217:4      3229:12, 3234:4, 3236:11,          3239:7, 3239:25
        man [9] - 3167:10, 3168:8,       3237:4, 3237:5                      Monday [3] - 3177:4, 3243:11,
       3169:14, 3170:1, 3170:15,          member [1] - 3184:3               3244:23
       3170:17, 3171:6, 3171:23,          members [4] - 3173:6, 3179:11,     monitor [1] - 3215:14
       3173:22                           3196:10, 3196:12                    month [2] - 3147:3, 3147:12
        Manafort [52] - 3138:12,          memo [3] - 3210:2, 3210:7,         mood [1] - 3171:10
       3138:16, 3138:22, 3138:24,        3210:8                              morning [24] - 3137:22, 3138:9,
       3165:6, 3165:9, 3165:10,           memorandum [1] - 3210:13          3138:10, 3142:1, 3142:15,
       3165:11, 3165:23, 3167:15,         mention [1] - 3156:24             3143:6, 3144:16, 3153:2,
       3168:17, 3169:17, 3169:25,         mentioned [4] - 3149:24,          3153:3, 3153:23, 3162:18,
       3170:1, 3170:2, 3170:10,          3152:16, 3186:7, 3213:3            3164:19, 3173:12, 3192:16,
       3171:1, 3171:4, 3172:14,           message [3] - 3178:8, 3192:6,     3228:15, 3240:11, 3240:12,
       3172:15, 3173:11, 3173:24,        3194:9                             3242:11, 3243:8, 3243:20,
       3174:7, 3175:24, 3176:4,           met [4] - 3160:17, 3160:19,       3243:25, 3244:8, 3244:24,
       3177:3, 3178:7, 3191:3, 3191:7,   3161:18, 3237:2                    3245:2
       3191:11, 3191:21, 3192:22,         microphone [2] - 3198:13,          Moscow [1] - 3138:20
       3192:24, 3193:10, 3193:16,        3227:4                              most [2] - 3135:21
       3198:3, 3198:6, 3198:9,            middle [3] - 3147:2, 3157:17,      motivated [5] - 3157:9,
       3198:20, 3198:25, 3204:5,         3175:25                            3157:19, 3158:15, 3159:3,
       3206:25, 3207:17, 3209:25,         Middle [1] - 3200:13              3159:5
       3210:16, 3230:21, 3232:15,         midmorning [1] - 3238:17           motive [1] - 3157:19
       3237:12, 3238:9, 3238:11           Might [1] - 3218:23                move [11] - 3140:17, 3143:2,
        Manafort's [2] - 3179:15,         might [8] - 3135:23, 3148:7,      3146:18, 3167:19, 3188:2,
       3192:16                           3154:14, 3168:3, 3181:18,          3190:14, 3196:19, 3196:25,
        Marcus [1] - 3134:1              3229:20, 3238:10, 3240:2           3202:16, 3207:8, 3211:4
        Marsteller [1] - 3181:25          Mike [1] - 3212:10                 MR [164] - 3135:4, 3136:19,
        matter [1] - 3170:6               million [1] - 3209:21             3136:22, 3137:1, 3137:13,
        McCullough [1] - 3133:17          mind [5] - 3160:10, 3163:4,       3137:15, 3137:16, 3138:6,
        MD [1] - 3133:23                 3200:12, 3242:24, 3243:14          3138:8, 3141:1, 3141:7,
        mean [8] - 3148:4, 3160:10,       mine [1] - 3179:11                3141:12, 3141:15, 3141:16,
       3168:20, 3171:7, 3206:12,          minister [2] - 3154:25, 3183:25   3158:18, 3158:24, 3159:13,
       3206:17, 3229:20, 3244:24          Ministry [12] - 3142:20,          3159:15, 3159:18, 3159:23,
        means [4] - 3178:15, 3192:7,     3153:24, 3154:24, 3162:17,         3160:1, 3160:2, 3160:23,
       3242:2, 3242:13                   3193:6, 3209:8, 3222:8, 3224:4,    3161:11, 3161:15, 3162:3,
        meant [5] - 3177:24, 3177:25,    3224:12, 3235:25, 3236:4,          3162:11, 3166:1, 3166:4,
       3178:6, 3178:14, 3209:11          3237:9                             3166:14, 3166:18, 3167:18,
        measure [1] - 3186:21             minus [1] - 3144:18               3167:23, 3168:1, 3168:7,
        media [40] - 3166:23, 3173:16,    minute [1] - 3188:4               3168:9, 3168:22, 3168:25,
       3175:24, 3176:4, 3176:6,           minutes [8] - 3144:19, 3146:7,    3169:6, 3169:9, 3169:15,
       3179:3, 3179:21, 3197:2,          3151:7, 3235:5, 3235:7,            3169:19, 3169:20, 3170:4,
       3197:9, 3197:13, 3197:20,         3238:19, 3238:24, 3239:13          3170:9, 3170:11, 3170:15,
       3197:24, 3198:7, 3198:21,          misinformation [2] - 3224:20,     3170:24, 3171:4, 3171:6,
       3199:1, 3199:18, 3216:13,         3230:16                            3171:18, 3171:24, 3172:1,
       3224:2, 3224:17, 3224:18,          misremembered [3] - 3227:16,      3172:12, 3172:17, 3172:19,
       3226:20, 3227:8, 3229:6,          3227:17, 3227:20                   3172:23, 3172:24, 3173:4,
       3229:10, 3229:12, 3229:15,         misrepresent [1] - 3234:20        3173:10, 3174:1, 3174:3,
       3230:15, 3230:24, 3231:2,          mistake [2] - 3226:15, 3227:16    3174:6, 3174:15, 3174:18,
       3231:4, 3232:22, 3236:16,                                            3176:11, 3176:13, 3176:24,
                                          mistakes [1] - 3228:17
       3236:17, 3236:19, 3236:20,                                           3177:1, 3177:2, 3177:7,
                                          misunderstanding [1] -
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 127 of 134                                               3259



       3177:11, 3183:15, 3183:18,          3198:6, 3199:20, 3212:12,          3212:16, 3214:2, 3214:7,
       3184:13, 3184:21, 3184:24,          3232:10, 3232:21, 3232:25,         3224:16, 3228:20
       3185:3, 3185:5, 3185:8, 3185:9,     3233:4, 3233:9, 3238:2              numbers [3] - 3182:8, 3186:21,
       3185:19, 3188:2, 3188:10,            New [29] - 3155:14, 3157:7,       3189:11
       3188:12, 3188:24, 3189:4,           3164:13, 3216:12, 3216:25,          NW [5] - 3133:14, 3133:18,
       3189:6, 3189:8, 3189:22,            3217:5, 3217:9, 3217:12,           3134:2, 3134:8, 3246:14
       3190:14, 3190:17, 3190:19,          3217:17, 3217:18, 3217:22,
       3190:23, 3193:24, 3194:1,           3217:25, 3218:2, 3218:4,                           O
       3194:3, 3194:7, 3196:15,            3220:17, 3224:6, 3224:11,
       3196:18, 3196:20, 3196:24,          3224:21, 3224:23, 3226:3,           oath [1] - 3138:4
       3198:14, 3198:16, 3198:18,          3227:20, 3230:19, 3230:23,          Obama [1] - 3190:1
       3199:5, 3199:9, 3199:19,            3231:10, 3231:14, 3231:18,          obey [1] - 3243:15
       3201:11, 3201:13, 3202:16,          3233:1, 3234:21                     object [2] - 3168:2, 3220:18
       3202:19, 3205:1, 3205:7,             news [5] - 3163:14, 3179:3,        objected [1] - 3196:22
       3206:14, 3206:15, 3206:20,          3224:2, 3230:12, 3231:16            objection [19] - 3158:18,
       3207:4, 3207:8, 3207:11,             newspaper [1] - 3216:13           3159:13, 3162:3, 3174:1,
       3207:13, 3207:16, 3212:4,            newspapers [1] - 3178:10          3174:3, 3174:15, 3185:3,
       3212:11, 3219:15, 3219:20,           next [15] - 3140:1, 3158:23,      3188:10, 3189:3, 3189:6,
       3219:25, 3220:1, 3220:5,            3162:18, 3182:15, 3183:5,          3190:19, 3194:1, 3196:15,
       3220:11, 3220:20, 3221:2,           3191:24, 3195:3, 3198:5,           3199:5, 3204:25, 3205:1,
       3221:6, 3221:8, 3221:11,            3202:15, 3209:4, 3217:8,           3206:14, 3207:13, 3231:20
       3221:22, 3226:11, 3226:13,          3225:12, 3226:18, 3241:15,          objections [1] - 3136:10
       3227:5, 3227:10, 3227:11,           3244:24                             objects [1] - 3184:19
       3231:20, 3232:8, 3235:1,             NGOs [1] - 3183:20                 obtain [2] - 3224:3, 3224:11
       3235:5, 3235:7, 3235:12,             nice [1] - 3242:3                  obviously [1] - 3196:12
       3235:16, 3238:12, 3238:15,           night [1] - 3199:14                occasion [1] - 3223:18
       3239:8, 3239:11, 3239:18,            nightmare [2] - 3179:2, 3179:4     October [15] - 3147:16,
       3239:21, 3240:2, 3241:8,             non [2] - 3171:19, 3171:22        3161:21, 3161:22, 3193:3,
       3241:12, 3242:7, 3244:11,            non-hearsay [2] - 3171:19,        3200:6, 3200:9, 3200:15,
       3244:12, 3245:2, 3245:11,           3171:22                            3200:18, 3200:23, 3201:5,
       3245:13, 3245:14                     nonexistent [2] - 3210:15,        3202:8, 3206:3, 3224:25,
        muddled [1] - 3227:23              3210:25                            3228:20, 3236:12
        murder [1] - 3211:17                notations [1] - 3182:19            OF [4] - 3133:1, 3133:8,
        Murphy [1] - 3133:20                note [6] - 3175:21, 3181:14,      3133:14, 3246:2
        MURPHY [10] - 3137:16,             3181:16, 3195:16, 3215:23,          offer [1] - 3229:19
       3170:24, 3171:4, 3171:6,            3225:17                             Offered [1] - 3134:16
       3220:20, 3221:6, 3240:2,             notebooks [2] - 3244:3, 3244:4     offered [4] - 3145:12, 3148:9,
       3242:7, 3244:12, 3245:2              notes [2] - 3135:18, 3246:7       3166:16, 3229:23
                                            nothing [4] - 3215:13, 3238:12,    office [3] - 3194:17, 3197:9,
                       N                   3238:15, 3242:23                   3244:25
                                            notice [1] - 3139:17               Office [1] - 3133:13
        name [1] - 3232:18
                                            notified [2] - 3139:19, 3201:6     OFFICIAL [1] - 3246:2
        named [1] - 3211:17
                                            notwithstanding [1] - 3242:14      Official [2] - 3134:7, 3246:13
        National [3] - 3189:25, 3216:21,
                                            November [6] - 3206:7,             official [1] - 3222:7
       3231:11
                                           3207:19, 3208:3, 3208:23,           officials [2] - 3162:7, 3187:19
        Nations [1] - 3200:21
                                           3209:4, 3209:18                     once [5] - 3137:23, 3169:22,
        NATO [1] - 3185:23
                                            nowhere [2] - 3209:21, 3210:21    3177:9, 3237:2
        Nazar [2] - 3222:7, 3223:12
                                            nuanced [9] - 3177:22,             one [39] - 3137:25, 3138:20,
        near [1] - 3209:21
                                           3177:24, 3178:2, 3178:4,           3141:12, 3147:25, 3148:23,
        necessarily [3] - 3169:1,
                                           3178:8, 3178:15, 3178:19,          3163:2, 3167:16, 3168:7,
       3201:21, 3206:17
                                           3178:22                            3171:12, 3173:6, 3175:8,
        need [15] - 3135:2, 3136:9,
                                            number [13] - 3139:4, 3140:25,    3176:20, 3176:22, 3176:25,
       3141:8, 3167:25, 3168:3,                                               3183:1, 3184:25, 3188:5,
                                           3167:22, 3171:12, 3177:5,
       3170:20, 3171:9, 3171:16,                                              3193:5, 3193:13, 3199:3,
                                           3181:2, 3183:10, 3202:25,
       3178:12, 3198:13, 3221:4,                                              3199:11, 3204:24, 3209:25,
                                           3205:11, 3211:10, 3212:21,
       3239:24, 3240:8, 3244:21,                                              3210:20, 3212:9, 3213:4,
                                           3215:17
       3244:23                                                                3213:11, 3217:12, 3217:23,
                                            Number [15] - 3175:12,
        needs [1] - 3245:5                                                    3226:4, 3226:19, 3227:21,
                                           3180:25, 3182:20, 3183:16,
        neighborhood [1] - 3186:9                                             3231:4, 3233:12, 3234:23,
                                           3207:21, 3208:6, 3209:13,
        never [11] - 3185:24, 3187:13,     3211:19, 3212:1, 3212:13,          3236:17, 3242:19, 3244:16,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 128 of 134                                                  3260



       3245:5                             3236:19, 3236:20, 3236:22           3168:18, 3169:17, 3172:4,
        one-sentence [2] - 3217:12,         partial [1] - 3173:18             3180:18, 3188:8, 3189:2,
       3217:23                              participate [1] - 3238:1          3193:18, 3195:4, 3195:5,
        ones [1] - 3155:15                  parties [2] - 3195:8, 3241:16     3196:17, 3216:19, 3217:4,
        online [1] - 3242:19                parties' [1] - 3242:9             3218:17, 3226:23, 3238:20,
        open [5] - 3137:18, 3161:14,        partners [1] - 3138:20            3244:21
       3166:17, 3172:18, 3221:15            partnership [1] - 3186:10          pointed [1] - 3151:19
        opened [1] - 3225:6                 party [1] - 3135:9                 Poland [4] - 3142:4, 3142:14,
        operating [1] - 3141:3              passed [2] - 3186:10, 3187:7      3142:18, 3142:19
        opine [1] - 3157:18                 past [2] - 3230:20, 3243:2         political [4] - 3153:12, 3157:19,
        opinion [6] - 3137:9, 3158:12,      Paul [9] - 3169:14, 3169:25,      3157:20, 3158:12
       3159:23, 3160:21, 3208:2,          3170:1, 3173:22, 3179:15,            politically [5] - 3157:9, 3157:18,
       3208:11                            3191:3, 3193:10, 3209:6,            3158:15, 3159:2, 3159:5
        opportunity [4] - 3162:6,         3238:11                              portions [2] - 3195:6, 3196:2
       3180:12, 3195:6, 3240:9              Paula [1] - 3134:1                 position [2] - 3158:25, 3180:14
        opposed [2] - 3136:3, 3137:10       pause [3] - 3193:25, 3220:4,       possibility [2] - 3191:12,
        opposite [2] - 3158:4, 3158:8     3221:19                             3238:14
        organization [2] - 3185:23,         payment [1] - 3156:24              possible [1] - 3192:2
       3186:1                               Pennsylvania [1] - 3133:18         Post [11] - 3148:7, 3148:10,
        orient [1] - 3189:23                People [3] - 3168:21, 3169:12,    3148:21, 3148:22, 3151:21,
        orientation [1] - 3153:5          3169:23                             3151:24, 3152:5, 3152:14,
        original [1] - 3175:3               people [10] - 3137:10, 3162:2,    3167:5, 3167:6, 3233:6
        originally [1] - 3190:8           3170:22, 3189:24, 3190:10,           post [3] - 3160:1, 3160:2
        outlets [7] - 3216:13, 3224:3,    3193:1, 3219:9, 3227:6, 3228:5,      post-publication [1] - 3160:2
       3229:7, 3229:10, 3229:12,          3228:9                               PR [3] - 3164:5, 3175:12,
       3230:15, 3231:4                      perceived [1] - 3159:21           3182:3
        outlines [1] - 3186:11              perception [1] - 3178:24           praising [1] - 3237:13
        outreach [3] - 3183:7, 3183:14,     period [2] - 3160:15, 3161:24      Pratt [1] - 3133:22
       3183:17                              permit [1] - 3221:12               precise [2] - 3136:3, 3205:23
        overruled [1] - 3162:4              permitting [1] - 3171:15           precisely [1] - 3224:24
        owed [1] - 3209:14                  person [4] - 3184:7, 3184:9,       precision [2] - 3206:1, 3213:3
        own [2] - 3160:16, 3166:16        3226:2, 3232:2                       preliminary [1] - 3208:2
                                            personal [1] - 3186:2              preparation [1] - 3197:10
                       P                    phone [5] - 3143:25, 3186:20,      prepared [1] - 3180:12
                                          3187:3, 3187:4, 3203:15              presence [1] - 3171:1
        p.m [14] - 3141:21, 3141:24,        phrase [1] - 3234:12               present [1] - 3241:3
       3147:22, 3151:2, 3156:3,             piece [1] - 3167:6                 president [3] - 3142:4, 3142:14,
       3156:4, 3156:15, 3162:14,            pin [1] - 3136:2                  3194:18
       3163:1, 3163:7, 3163:23,             Pinchuk's [1] - 3186:19            President [3] - 3179:14,
       3177:4, 3199:14, 3242:6              pjunghans@zuckerman.com           3179:16, 3190:1
        page [23] - 3176:24, 3177:3,      [1] - 3134:4                         press [9] - 3153:24, 3154:5,
       3180:17, 3180:25, 3182:8,            place [1] - 3143:12               3154:10, 3154:12, 3154:15,
       3182:13, 3182:21, 3183:5,            Plaintiff [2] - 3133:4, 3133:12   3155:19, 3160:18, 3168:14,
       3190:25, 3191:1, 3191:5,             plan [19] - 3176:4, 3176:6,       3181:4
       3191:19, 3194:8, 3213:22,          3182:16, 3197:2, 3197:10,            pressing [1] - 3149:6
       3213:24, 3214:1, 3215:7,           3197:13, 3197:20, 3197:24,           pretrial [1] - 3170:25
       3216:16, 3226:9, 3226:17,          3198:11, 3198:21, 3199:18,           prevent [1] - 3178:12
       3226:18                            3200:18, 3200:22, 3201:7,            preventing [1] - 3178:18
        pages [1] - 3178:10               3236:16, 3236:19, 3236:20,           preview [1] - 3240:20
        paper [2] - 3184:17, 3185:2       3236:22, 3240:13                     previous [3] - 3144:20,
        paragraph [8] - 3156:23,            plans [8] - 3179:21, 3198:7,      3152:16, 3191:5
       3157:2, 3180:10, 3211:12,          3232:22, 3236:17, 3237:21,           previously [2] - 3207:7,
       3215:6, 3228:23, 3230:3,           3237:24, 3238:1, 3244:17            3244:20
       3230:22                              played [2] - 3145:18, 3145:23      print [4] - 3180:5, 3199:17,
        paraphrasing [1] - 3136:4           playing [1] - 3166:23             3219:10, 3223:6
        Parfitt [4] - 3153:11, 3153:16,     pleasant [1] - 3243:17             printed [1] - 3180:4
       3153:22, 3155:6                      Point [4] - 3175:12, 3180:25,      private [1] - 3191:12
        parfitt [1] - 3153:14             3207:21, 3209:13                     prize [1] - 3195:22
        part [8] - 3165:20, 3185:12,        point [21] - 3136:18, 3153:25,     pro [3] - 3159:22, 3162:2,
       3185:20, 3211:18, 3223:10,         3158:20, 3164:14, 3167:19,          3165:14
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 129 of 134                                                3261



        pro-Ukraine [1] - 3159:22          3139:5, 3143:3, 3152:18,             record [10] - 3171:11, 3218:5,
        pro-Yanukovych [1] - 3162:2        3156:19, 3157:25, 3165:3,           3219:11, 3223:17, 3224:1,
        problem [1] - 3235:11              3193:6, 3200:1, 3223:7, 3232:9,     3225:13, 3226:25, 3230:19,
        proceed [3] - 3138:5, 3235:10,     3233:12, 3234:6, 3235:1,            3231:10, 3231:23
       3235:14                             3235:17, 3236:17, 3238:3             redact [1] - 3170:22
        proceedings [1] - 3246:8            quibbling [1] - 3136:4              redacted [6] - 3169:23,
        process [5] - 3139:1, 3184:7,       quickly [2] - 3135:5, 3211:6       3171:16, 3172:5, 3172:6,
       3232:5, 3232:6, 3241:19              quite [4] - 3136:15, 3158:13,      3172:11, 3172:22
        procurator [1] - 3212:10           3170:3, 3224:17                      redirect [2] - 3136:14, 3235:3
        productive [1] - 3135:21            quotation [1] - 3230:19             Redirect [1] - 3134:14
        project [7] - 3177:15, 3186:16,     quote [1] - 3154:25                 REDIRECT [1] - 3235:15
       3193:14, 3200:10, 3218:24,           quoted [1] - 3154:23                refer [2] - 3179:15, 3207:22
       3233:19, 3236:9                      quoting [1] - 3147:14               reference [6] - 3147:15,
        Project [7] - 3181:18, 3211:19,                                        3149:11, 3199:15, 3207:24,
       3211:21, 3212:1, 3212:5,                            R                   3208:13, 3211:24
       3212:13, 3212:15                                                         referred [1] - 3164:8
        promised [2] - 3143:18,             rank [1] - 3160:24                  referring [5] - 3138:20,
       3241:22                              rather [1] - 3135:21               3147:17, 3206:5, 3212:2, 3231:1
        promising [2] - 3147:4, 3147:13     reach [1] - 3140:12                 refers [1] - 3147:12
        prompted [1] - 3202:11              reached [4] - 3158:21, 3203:16,     reflect [2] - 3135:19, 3140:10
        pronounce [1] - 3164:22            3221:25, 3243:8                      reflected [1] - 3140:14
        properly [1] - 3241:20              reaching [4] - 3142:13,             reflects [3] - 3140:3, 3210:22,
        proposal [1] - 3186:22             3183:22, 3218:8, 3218:11            3225:6
        proposed [1] - 3220:23              reaction [1] - 3237:17              regarding [2] - 3163:15,
        prosecution [9] - 3153:12,          reactions [1] - 3209:7             3180:14
       3157:5, 3157:9, 3157:18,             read [25] - 3142:12, 3143:17,       Regency [1] - 3175:9
       3158:12, 3159:2, 3211:21,           3147:6, 3154:25, 3155:1,             register [1] - 3223:8
       3212:8                              3157:25, 3163:3, 3165:16,            registered [1] - 3145:21
        prosecutor [2] - 3208:8,           3165:20, 3171:16, 3180:6,            registering [1] - 3196:6
       3208:13                             3180:7, 3180:11, 3188:6,             regret [2] - 3195:19, 3195:20
        prove [1] - 3171:20                3195:6, 3196:2, 3199:16,             relate [1] - 3220:9
        provide [7] - 3180:12, 3201:25,    3218:4, 3221:12, 3227:24,            related [3] - 3201:21, 3221:24,
       3217:21, 3222:12, 3224:4,           3228:1, 3230:10, 3230:22            3222:17
       3229:22, 3230:2                      reading [2] - 3157:17, 3229:1       relates [1] - 3220:6
        provided [10] - 3216:2, 3217:5,     reads [2] - 3148:2, 3211:15         relating [1] - 3222:12
       3218:5, 3229:6, 3229:9,              ready [4] - 3142:4, 3208:21,        relations [1] - 3197:25
       3229:12, 3232:13, 3232:14,          3209:9, 3242:6                       release [12] - 3153:25, 3154:5,
       3232:19, 3244:15                     real [1] - 3195:22                 3154:10, 3154:12, 3154:15,
        providing [1] - 3197:25             really [8] - 3137:11, 3193:22,     3154:17, 3155:1, 3162:18,
        pt/democracy.org [1] - 3185:20     3195:10, 3218:19, 3220:9,           3180:11, 3214:4, 3233:21,
        public [6] - 3156:11, 3160:8,      3233:21, 3238:13, 3245:7            3233:24
       3180:11, 3197:25, 3224:5,            reason [5] - 3168:15, 3201:21,      released [19] - 3139:10,
       3224:13                             3205:8, 3222:20, 3223:6             3139:18, 3139:21, 3139:24,
        publication [2] - 3160:2, 3181:3    reasons [1] - 3243:4               3154:15, 3155:3, 3155:5,
        publicly [1] - 3205:17              reassurances [1] - 3149:6          3155:13, 3155:16, 3155:20,
        publish [1] - 3156:10               rebuttal [1] - 3239:21             3155:24, 3161:17, 3163:24,
        published [4] - 3158:17,            recapitulate [1] - 3136:14         3186:24, 3200:7, 3200:16,
       3159:12, 3173:17, 3184:14            receive [1] - 3242:9               3200:18, 3201:6, 3202:4
        purpose [5] - 3169:9, 3169:20,      received [5] - 3150:12, 3160:11,    releases [1] - 3168:14
       3171:19, 3171:22, 3203:5            3179:22, 3190:20, 3197:5             relevance [3] - 3159:17,
        purposes [1] - 3151:1               Received [1] - 3134:16             3159:18, 3171:13
        put [11] - 3135:6, 3140:23,         receiving [1] - 3237:15             relevant [1] - 3160:22
       3147:15, 3190:22, 3194:5,            Recently [1] - 3211:15              rely [1] - 3244:20
       3201:24, 3205:3, 3213:19,            recently [1] - 3211:25              remember [12] - 3139:13,
       3221:3, 3221:13, 3242:24             recess [1] - 3239:14               3140:9, 3162:22, 3176:15,
                                            Recess [1] - 3244:13               3197:15, 3217:13, 3218:16,
                      Q                     recommendations [1] -              3235:19, 3236:13, 3236:16,
                                           3175:13                             3237:22, 3238:5
        quarter [1] - 3209:21               recommended [2] - 3193:10,          remembered [4] - 3219:8,
        questions [18] - 3136:9, 3137:1,   3193:16                             3226:22, 3227:7, 3227:13
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 130 of 134                                                            3262



        remove [1] - 3157:20                reporting [1] - 3164:25                          Rice [1] - 3173:20
        repeat [1] - 3195:19                reports [3] - 3230:13, 3231:17,                  rick [1] - 3151:19
        repeating [1] - 3135:16           3232:19                                            Rick [1] - 3151:22
        repetition [1] - 3135:19            represent [1] - 3179:7                           Rights [1] - 3210:19
        rephrase [1] - 3197:19              representation [2] - 3171:11,                    rights [1] - 3232:6
        report [38] - 3157:8, 3158:16,    3223:8                                             righty [2] - 3239:12, 3245:12
       3158:25, 3159:11, 3159:19,           representatives [3] - 3214:11,                   rise [1] - 3170:2
       3161:17, 3162:2, 3163:15,          3232:13, 3232:20                                   RMR [2] - 3134:7, 3246:13
       3170:18, 3177:17, 3178:1,            represented [1] - 3208:1                         rogue [1] - 3160:16
       3178:10, 3181:9, 3181:18,            reputation [1] - 3179:5                          rolled [1] - 3139:16
       3182:8, 3186:11, 3186:18,            reputations [1] - 3179:10                        rollout [3] - 3139:5, 3165:18,
       3187:16, 3191:12, 3195:19,           request [8] - 3166:4, 3166:16,                  3175:24
       3196:2, 3196:10, 3203:6,           3176:5, 3210:17, 3215:16,                          Room [2] - 3134:8, 3246:14
       3203:9, 3204:9, 3206:6,            3221:10, 3221:11, 3231:6                           room [2] - 3238:19, 3242:6
       3208:20, 3208:23, 3209:9,            requested [1] - 3229:18                          rule [2] - 3211:20, 3212:14
       3210:21, 3210:24, 3211:1,            requests [3] - 3229:14,                          ruled [3] - 3168:8, 3170:25,
       3218:16, 3232:19, 3232:22,         3230:24, 3231:2                                   3207:6
       3234:20, 3236:21, 3238:10            researched [1] - 3138:2                          run [1] - 3230:19
        Report [110] - 3139:5, 3139:10,     reset [1] - 3180:13                              Russell [1] - 3192:10
       3139:16, 3139:17, 3139:21,           resolve [1] - 3245:16
       3142:4, 3145:12, 3147:9,             respect [2] - 3211:21, 3224:23
       3149:17, 3150:3, 3150:13,
                                                                                                            S
                                            respond [7] - 3167:3, 3168:11,
       3151:16, 3151:21, 3151:23,         3217:11, 3219:11, 3222:21,                         SANCHEZ [105] - 3135:4,
       3154:15, 3154:25, 3155:2,          3224:19, 3234:5                                   3136:19, 3136:22, 3137:1,
       3155:5, 3155:13, 3155:16,            responded [9] - 3142:20,                        3137:13, 3137:15, 3138:6,
       3155:19, 3156:11, 3156:20,         3146:12, 3191:21, 3196:4,                         3138:8, 3141:1, 3141:7,
       3157:17, 3157:23, 3158:1,          3203:3, 3209:7, 3215:16,                          3141:12, 3141:15, 3141:16,
       3160:3, 3160:8, 3160:12,           3224:19, 3231:2                                   3158:24, 3159:15, 3159:18,
       3160:14, 3160:21, 3161:1,            responding [8] - 3151:6,                        3160:2, 3161:11, 3161:15,
       3161:7, 3162:5, 3162:8, 3162:9,    3151:9, 3222:3, 3230:12,                          3162:11, 3166:14, 3166:18,
       3162:18, 3166:22, 3173:17,         3230:24, 3231:16, 3231:19,                        3167:18, 3167:23, 3168:1,
       3178:16, 3180:11, 3180:18,         3232:12                                           3168:9, 3168:22, 3168:25,
       3181:3, 3186:14, 3186:24,            responds [1] - 3217:8                           3169:6, 3169:15, 3169:19,
       3187:20, 3187:22, 3190:4,            response [16] - 3146:24,                        3170:11, 3172:12, 3172:17,
       3190:10, 3192:2, 3192:25,          3148:1, 3148:15, 3148:16,                         3172:19, 3172:23, 3172:24,
       3193:3, 3193:4, 3193:7, 3195:6,    3152:2, 3176:5, 3191:20,                          3173:4, 3173:10, 3174:6,
       3195:23, 3196:11, 3200:6,          3192:15, 3210:17, 3212:17,                        3174:18, 3176:11, 3176:13,
       3200:15, 3201:6, 3202:3,           3212:20, 3220:21, 3221:9,                         3176:24, 3177:1, 3177:2,
       3203:10, 3203:24, 3204:2,          3222:22, 3229:14, 3231:6                          3177:7, 3177:11, 3183:15,
       3204:4, 3204:6, 3204:14,                                                             3183:18, 3184:13, 3184:21,
                                            responsible [1] - 3186:10
       3205:13, 3205:16, 3205:20,                                                           3184:24, 3185:5, 3185:8,
                                            rest [7] - 3173:15, 3239:17,
       3205:22, 3206:2, 3206:4,                                                             3185:9, 3185:19, 3188:2,
                                          3239:18, 3240:21, 3240:23,
       3206:6, 3206:10, 3208:25,                                                            3188:12, 3189:8, 3189:22,
                                          3242:20, 3244:9
       3209:24, 3210:22, 3211:2,                                                            3190:14, 3190:17, 3190:23,
                                            rests [1] - 3241:8
       3214:5, 3214:11, 3216:15,                                                            3194:3, 3194:7, 3196:18,
                                            Rests........................................
       3217:1, 3218:15, 3224:2,                                                             3196:24, 3198:14, 3198:16,
                                          ..3241 [1] - 3134:22
       3224:3, 3224:5, 3224:11,                                                             3198:18, 3199:9, 3199:19,
                                            resume [2] - 3135:3, 3137:19
       3224:13, 3226:5, 3226:6,                                                             3201:11, 3201:13, 3202:16,
                                            retainer [1] - 3209:14
       3229:6, 3229:9, 3229:13,                                                             3202:19, 3205:7, 3206:15,
                                            return [4] - 3238:18, 3239:2,
       3229:22, 3229:24, 3229:25,                                                           3206:20, 3207:4, 3207:8,
                                          3240:8, 3240:9
       3230:2, 3231:5, 3231:6, 3232:3,                                                      3207:16, 3212:4, 3212:11,
                                            returning [1] - 3242:4
       3232:11, 3233:13, 3233:15,                                                           3219:15, 3219:20, 3220:1,
       3233:20, 3233:22, 3233:24,           reveal [1] - 3145:25
                                                                                            3220:11, 3221:2, 3221:8,
       3233:25, 3238:8, 3238:10             reverse [2] - 3234:9, 3234:23
                                                                                            3221:22, 3226:11, 3226:13,
        reported [4] - 3161:9, 3228:23,     review [2] - 3221:17, 3240:9
                                                                                            3227:5, 3227:10, 3227:11,
       3228:24, 3229:7                      reviewed [10] - 3218:19,
                                                                                            3232:8, 3235:1, 3239:8,
        Reporter [3] - 3134:7, 3134:7,    3218:20, 3225:3, 3226:24,
                                                                                            3239:11, 3239:21, 3241:12,
       3246:13                            3226:25, 3227:12, 3228:4,
                                                                                            3244:11, 3245:13
        REPORTER [1] - 3246:2             3228:14, 3230:7, 3237:20
                                                                                             Sanchez [6] - 3133:12, 3138:5,
        reporters [1] - 3159:20             reviewing [3] - 3182:5, 3197:9,
                                                                                            3160:25, 3235:17, 3237:21,
                                          3197:11
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 131 of 134                                                3263



       3241:10                            3237:24, 3239:13, 3244:7,            showed [3] - 3168:16, 3197:2,
        Sanchez...3133 [1] - 3134:13      3244:10, 3245:4                     3216:9
        sanchez@usdoj.gov [1] -            seed [1] - 3181:9                   showing [1] - 3236:16
       3133:16                             seem [2] - 3152:14, 3158:4          shown [2] - 3207:7, 3207:15
        Sanger [49] - 3140:20, 3143:15,    selected [3] - 3193:14, 3240:7,     shows [2] - 3220:11, 3221:5
       3143:18, 3144:2, 3144:4,           3241:21                              sic [1] - 3205:12
       3144:11, 3144:14, 3144:22,          selection [4] - 3240:19, 3243:3,    sic] [1] - 3187:25
       3144:23, 3145:15, 3146:1,          3243:12, 3244:16                     side [3] - 3177:16, 3221:6,
       3146:5, 3146:8, 3146:12,            selective [3] - 3153:12, 3157:4,   3239:4
       3146:16, 3146:20, 3147:2,          3157:8                               sides [1] - 3210:18
       3149:11, 3149:15, 3150:12,          Senate [2] - 3195:15, 3196:5        signature [1] - 3213:20
       3150:18, 3152:2, 3155:8,            Senator [1] - 3194:22               signed [1] - 3184:7
       3162:17, 3201:23, 3201:24,          send [8] - 3146:7, 3149:17,         significant [1] - 3138:15
       3201:25, 3202:5, 3202:21,          3149:22, 3164:10, 3176:6,            simple [1] - 3232:16
       3203:3, 3203:14, 3218:8,           3212:20, 3215:3, 3223:6              simpler [1] - 3211:23
       3218:12, 3218:18, 3220:10,          sending [2] - 3164:25, 3237:19      simply [1] - 3202:11
       3224:14, 3226:5, 3226:23,           sends [4] - 3151:11, 3163:23,       single [2] - 3135:22
       3227:14, 3229:18, 3229:21,         3170:11, 3215:23                     sit [3] - 3241:24, 3241:25,
       3230:9, 3231:24, 3233:5,            sense [4] - 3147:8, 3186:24,       3243:13
       3234:16, 3234:19, 3236:19,         3191:14, 3192:1                      sitting [4] - 3240:6, 3241:22,
       3236:22                             sent [28] - 3139:15, 3142:6,       3241:25, 3243:13
        Sanger's [3] - 3146:24,           3144:16, 3146:21, 3146:25,           Skadden [10] - 3162:23,
       3201:19, 3201:22                   3151:7, 3155:23, 3156:19,           3178:11, 3180:12, 3195:6,
        sat [1] - 3161:8                  3163:16, 3167:16, 3170:1,           3195:23, 3196:2, 3203:6,
        satisfied [1] - 3170:3            3171:10, 3173:11, 3176:5,           3218:25, 3224:1, 3224:16
        saw [6] - 3144:8, 3162:2,         3198:10, 3198:20, 3199:16,           Skadden's [1] - 3155:19
       3180:11, 3181:13, 3197:12,         3213:16, 3220:14, 3225:3,            Sloan [8] - 3197:3, 3197:10,
       3198:7                             3225:11, 3225:13, 3225:15,          3197:12, 3197:16, 3197:20,
        schedule [1] - 3240:23            3225:20, 3225:21, 3225:24,          3215:4, 3215:16, 3234:23
        scheduling [1] - 3244:15          3225:25, 3234:8                      small [1] - 3181:2
        school [1] - 3145:17               sentence [14] - 3147:7,             Smith [3] - 3194:13, 3194:14,
        Schultz [2] - 3183:8, 3183:17     3147:10, 3169:11, 3171:2,           3194:25
        screen [13] - 3140:24, 3141:3,    3171:5, 3171:7, 3178:18,             solely [1] - 3172:7
       3172:11, 3176:22, 3185:16,         3211:15, 3211:18, 3217:12,           solid [1] - 3222:25
       3190:22, 3194:5, 3205:3,           3217:23, 3218:5, 3230:10,            someone [2] - 3142:8, 3173:7
       3215:15, 3219:19, 3219:20,         3230:11                              sometimes [1] - 3137:6
       3219:21, 3219:23                    September [25] - 3145:22,           sorry [19] - 3140:25, 3141:11,
        screw [1] - 3195:10               3186:19, 3187:23, 3188:17,          3143:12, 3149:25, 3163:1,
        scuffle [1] - 3195:15             3188:18, 3189:16, 3191:4,           3176:3, 3177:6, 3188:19,
        search [1] - 3223:16              3191:7, 3191:24, 3193:3,            3188:22, 3189:9, 3189:19,
        seated [1] - 3241:5               3195:24, 3198:9, 3198:19,           3190:16, 3191:4, 3198:14,
        second [17] - 3141:12, 3156:1,    3199:12, 3200:21, 3204:6,           3201:16, 3213:8, 3225:23,
       3175:10, 3175:11, 3180:18,         3204:7, 3206:9, 3206:10,            3229:20, 3235:6
       3190:25, 3191:1, 3204:24,          3206:11, 3206:19, 3209:1,
                                                                               sort [1] - 3137:7
       3211:12, 3211:21, 3212:8,          3225:12, 3242:6, 3243:6
                                                                               SPAEDER [2] - 3133:22, 3134:2
       3216:16, 3218:21, 3226:17,          serving [2] - 3211:20, 3230:6
                                                                               specific [5] - 3197:15, 3207:23,
       3228:23, 3236:4, 3237:5             seven [1] - 3183:11
                                                                              3221:10, 3222:1, 3241:16
        secondly [1] - 3160:24             several [1] - 3173:20
                                                                               specifically [3] - 3220:22,
        Secretary [1] - 3158:5             shape [1] - 3231:9                 3224:10, 3229:5
        Security [1] - 3189:25             shared [1] - 3195:23                specifics [1] - 3227:19
        see [34] - 3142:10, 3149:9,        sharply [1] - 3135:20               spent [2] - 3159:18, 3237:10
       3156:8, 3167:2, 3167:21,            Shoen [1] - 3193:13                 Spiegel [5] - 3223:24, 3225:4,
       3167:25, 3168:3, 3168:20,           Shonka [1] - 3200:24               3225:11, 3226:14, 3228:10
       3177:10, 3183:9, 3183:12,           short [2] - 3148:8, 3161:16         spoken [1] - 3138:1
       3185:13, 3185:14, 3189:23,          short-circuit [1] - 3161:16         stage [1] - 3204:9
       3191:22, 3192:23, 3193:24,          shortly [3] - 3153:11, 3200:7,      stakeholders [1] - 3183:20
       3195:3, 3195:11, 3209:16,          3242:2                               stand [7] - 3135:7, 3137:20,
       3214:6, 3214:13, 3214:16,           shot [1] - 3225:17                 3168:10, 3172:3, 3242:21
       3214:19, 3215:1, 3215:2,            show [4] - 3175:3, 3200:17,         start [4] - 3147:19, 3190:24,
       3215:4, 3216:11, 3217:2,           3207:1, 3220:2                      3194:8
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 132 of 134                                                 3264



        started [1] - 3240:16              supposed [3] - 3174:23,               3144:5, 3224:8
        starts [3] - 3176:14, 3191:5,     3185:13, 3205:10                        testify [1] - 3225:7
       3211:12                             supposedly [1] - 3200:7                testimony [8] - 3136:15,
        State [11] - 3158:13, 3158:16,     surprised [1] - 3237:18               3165:22, 3171:13, 3172:13,
       3158:21, 3159:1, 3159:3,            surrounding [1] - 3227:23             3202:13, 3217:15, 3232:1,
       3159:4, 3159:8, 3159:23,            Susan [1] - 3173:20                   3233:16
       3160:24, 3161:4, 3162:6             suspect [1] - 3211:17                  THE [171] - 3133:1, 3133:1,
        state [3] - 3160:10, 3192:9,       sustained [3] - 3158:19,              3133:9, 3133:13, 3135:2,
       3195:9                             3174:5, 3196:23                        3135:5, 3135:9, 3136:21,
        State's [1] - 3158:5               system [2] - 3141:23, 3212:15         3136:24, 3137:4, 3137:14,
        statement [6] - 3155:1,                                                  3137:17, 3137:19, 3137:22,
       3178:12, 3217:12, 3217:23,                          T                     3140:25, 3141:2, 3141:8,
       3231:9, 3231:23                                                           3141:9, 3141:10, 3141:11,
        statements [1] - 3230:14           tab [1] - 3195:3                      3141:13, 3141:14, 3158:19,
        STATES [2] - 3133:1, 3133:10       table [1] - 3239:2                    3158:22, 3158:23, 3159:14,
        states [1] - 3157:17               talks [1] - 3151:17                   3159:17, 3159:25, 3160:4,
        States [5] - 3133:3, 3134:8,       tank [2] - 3185:12, 3185:25           3161:4, 3161:13, 3162:4,
       3143:19, 3187:19, 3196:13           tanks [1] - 3183:20                   3166:2, 3166:6, 3166:15,
        stating [1] - 3169:17              task [1] - 3222:1                     3167:21, 3167:25, 3168:2,
        Stefan [4] - 3184:9, 3186:8,       tax [3] - 3211:16, 3211:18,           3168:6, 3168:15, 3168:23,
       3186:17, 3190:3                    3211:25                                3169:5, 3169:7, 3169:11,
        stenograph [1] - 3246:7            Taylor [13] - 3133:21, 3139:4,        3169:16, 3169:22, 3170:5,
        still [12] - 3136:17, 3138:3,     3143:8, 3152:19, 3165:3,               3170:13, 3170:16, 3171:2,
       3138:18, 3151:1, 3168:12,          3176:9, 3176:15, 3177:12,              3171:5, 3171:8, 3171:21,
       3168:19, 3169:5, 3171:4,           3199:7, 3212:18, 3216:9,               3171:25, 3172:2, 3172:13,
       3239:9, 3240:21, 3242:15,          3239:15, 3241:6                        3172:22, 3173:1, 3173:3,
       3245:16                             TAYLOR [49] - 3158:18,                3173:6, 3174:4, 3174:5,
        stipulation [1] - 3163:21         3159:13, 3159:23, 3160:1,              3174:16, 3176:10, 3176:12,
        story [6] - 3136:16, 3148:10,     3160:23, 3162:3, 3166:1,               3176:23, 3176:25, 3177:5,
       3156:7, 3177:17, 3177:18,          3166:4, 3168:7, 3169:9,                3177:8, 3177:9, 3183:13,
       3179:3                             3169:20, 3170:4, 3170:9,               3183:16, 3184:17, 3184:22,
                                          3170:15, 3171:18, 3171:24,             3185:1, 3185:4, 3185:6,
        strategy [5] - 3175:24, 3176:1,
                                          3172:1, 3174:1, 3174:3,                3185:13, 3185:14, 3185:17,
       3181:8, 3198:22, 3198:24
                                          3174:15, 3185:3, 3188:10,              3185:18, 3188:4, 3188:11,
        street [1] - 3192:3
                                          3188:24, 3189:4, 3189:6,               3188:21, 3188:22, 3188:25,
        Street [3] - 3133:14, 3133:22,
                                          3190:19, 3193:24, 3194:1,              3189:1, 3189:5, 3189:7,
       3134:2
                                          3196:15, 3196:20, 3199:5,              3189:18, 3189:19, 3190:16,
        strict [1] - 3181:3
                                          3205:1, 3206:14, 3207:11,              3190:18, 3190:20, 3193:23,
        string [1] - 3163:3
                                          3207:13, 3219:25, 3220:5,              3194:2, 3194:4, 3196:16,
        strongest [1] - 3210:20
                                          3221:11, 3231:20, 3235:5,              3196:22, 3198:13, 3198:15,
        strongly [1] - 3242:14
                                          3235:7, 3235:12, 3235:16,              3198:17, 3199:7, 3199:8,
        stuff [1] - 3226:3
                                          3238:12, 3238:15, 3239:18,             3199:11, 3199:13, 3201:10,
        stupid [1] - 3167:10
                                          3241:8, 3245:11, 3245:14               3201:12, 3202:15, 3202:18,
        subject [4] - 3150:9, 3150:10,                                           3204:24, 3205:2, 3206:16,
       3165:8, 3165:12                     Taylor...................3235 [1] -
                                          3134:14                                3206:18, 3207:1, 3207:3,
        submitted [2] - 3238:21,                                                 3207:6, 3207:10, 3207:12,
       3242:15                             team [9] - 3139:16, 3139:19,
                                          3155:23, 3179:7, 3179:11,              3207:14, 3212:2, 3212:5,
        substantive [1] - 3232:3                                                 3212:7, 3219:18, 3219:21,
        subtract [1] - 3149:1             3181:4, 3181:5, 3218:25,
                                          3219:10                                3219:22, 3219:23, 3219:24,
        subtracting [1] - 3143:5                                                 3220:6, 3220:18, 3220:25,
                                           team's [1] - 3210:8
        suggested [1] - 3222:14                                                  3221:3, 3221:7, 3221:13,
                                           Teft [1] - 3192:9
        suggestions [2] - 3182:16,                                               3221:16, 3221:20, 3221:21,
                                           Telegraph [4] - 3152:19,
       3215:17                                                                   3227:3, 3227:6, 3231:21,
                                          3152:25, 3155:14, 3164:13
        Suite [2] - 3133:23, 3134:3                                              3232:1, 3235:2, 3235:6, 3235:8,
                                           telephone [1] - 3230:1
        summarize [1] - 3223:4                                                   3235:13, 3238:13, 3238:16,
                                           ten [5] - 3235:5, 3235:7,
        summer [2] - 3138:16, 3186:21                                            3239:1, 3239:9, 3239:12,
                                          3238:19, 3238:24, 3239:13
        Sunday [1] - 3199:14                                                     3239:15, 3239:19, 3239:22,
                                           terms [1] - 3136:13
        sunny [1] - 3242:4                                                       3240:3, 3241:3, 3241:5, 3241:9,
                                           terrible [1] - 3169:3
        supplied [1] - 3231:5                                                    3241:13, 3242:8, 3243:19,
                                           terrific [1] - 3167:7
        support [1] - 3181:5                                                     3243:21, 3243:22, 3243:23,
                                           testified [4] - 3135:11, 3143:25,
        suppose [1] - 3244:25                                                    3243:25, 3244:1, 3244:4,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 133 of 134                                                 3265



       3244:7, 3244:14, 3245:3,             3232:5                              3230:8, 3230:17, 3230:18,
       3245:12, 3245:15                      tried [7] - 3137:25, 3149:19,      3230:20, 3231:9, 3231:14,
        theme [1] - 3160:13                 3204:10, 3206:3, 3206:9,            3232:13, 3232:20, 3232:22,
        theory [2] - 3168:18, 3208:14       3224:11                             3233:25, 3234:20, 3237:11
        thereafter [1] - 3242:10             trip [3] - 3175:10, 3175:11         Ukraine's [1] - 3160:6
        therefore [2] - 3135:20, 3241:25     trips [1] - 3175:8                  Ukrainian [1] - 3154:24
        thinking [4] - 3169:18, 3169:24,     trivial [1] - 3195:22               Ukrainians [2] - 3144:24,
       3198:25                               true [11] - 3138:15, 3173:24,      3230:16
        thinks [1] - 3136:16                3196:3, 3224:6, 3224:10,             Um-hum [1] - 3168:22
        third [1] - 3157:4                  3229:16, 3229:17, 3231:13,           uncertain [2] - 3195:9, 3233:19
        thoroughly [1] - 3241:19            3233:8, 3246:6, 3246:7               under [7] - 3138:3, 3181:3,
        three [10] - 3135:11, 3146:7,        truth [4] - 3169:1, 3169:10,       3181:20, 3189:24, 3223:8,
       3155:3, 3176:20, 3211:9,             3169:21, 3170:6                     3230:5, 3230:18
       3211:11, 3224:2, 3230:15,             try [5] - 3136:2, 3161:16,          underscore [2] - 3135:10,
       3231:4, 3237:4                       3171:8, 3192:25, 3213:2             3242:13
        thumbs [1] - 3141:10                 trying [8] - 3140:4, 3149:22,       understood [4] - 3136:19,
        Thursday [8] - 3239:25, 3243:8,     3159:20, 3160:7, 3169:2,            3137:13, 3157:7, 3157:23
       3243:9, 3243:19, 3243:25,            3182:6, 3202:16, 3220:13             unfavorable [2] - 3160:22,
       3244:17, 3245:8                       Tuesday [14] - 3186:8, 3240:8,     3161:10
        timed [1] - 3142:8                  3240:11, 3240:12, 3242:5,            Union [4] - 3184:2, 3184:5,
        timeframe [1] - 3161:19             3242:6, 3243:6, 3243:7,             3184:10, 3184:11
        timing [4] - 3142:11, 3143:4,       3243:19, 3243:23, 3243:25,           unit [1] - 3219:12
       3147:21, 3151:1                      3244:8, 3245:2, 3245:4               Unit [20] - 3139:2, 3160:5,
        today [1] - 3239:25                  turn [1] - 3238:17                 3160:19, 3160:20, 3161:8,
        together [10] - 3145:17,             turns [1] - 3141:19                3161:18, 3193:5, 3211:24,
       3145:18, 3145:23, 3186:3,             tweaks [1] - 3209:8                3212:12, 3220:14, 3220:22,
       3186:4, 3220:24, 3227:21,             twice [1] - 3149:19                3224:24, 3225:3, 3231:13,
       3227:23, 3230:25, 3240:10             two [12] - 3138:12, 3147:4,        3232:10, 3232:25, 3233:3,
        Tom [1] - 3153:10                   3147:19, 3150:25, 3155:3,           3233:4, 3233:23, 3234:17
        tomorrow [7] - 3142:19,             3155:15, 3175:8, 3186:20,            UNITED [2] - 3133:1, 3133:10
       3150:14, 3152:4, 3156:7,             3209:6, 3216:23, 3222:24,            United [6] - 3133:3, 3134:8,
       3163:15, 3240:6                      3243:2                              3143:19, 3187:19, 3196:13,
        tonight [1] - 3163:15                Two [6] - 3181:18, 3211:19,        3200:21
        Tony [6] - 3189:23, 3189:25,        3211:22, 3212:1, 3212:5,             unless [2] - 3184:19, 3245:6
       3194:11, 3194:24, 3195:16,           3212:13                              unlikely [1] - 3240:21
       3195:18                               Tymoshenko [9] - 3177:17,           unrelated [1] - 3243:4
        took [2] - 3153:18, 3209:1          3180:15, 3180:20, 3192:11,           up [16] - 3141:10, 3148:9,
        top [28] - 3141:20, 3143:5,         3194:23, 3203:7, 3212:9,            3172:10, 3184:18, 3185:2,
       3144:8, 3146:19, 3147:19,            3229:6, 3229:9                      3189:11, 3216:7, 3216:24,
       3147:23, 3148:24, 3149:2,                                                3221:3, 3225:6, 3238:13,
       3150:25, 3151:3, 3163:2,                             U                   3240:22, 3242:23, 3243:1,
       3163:7, 3163:8, 3163:22,                                                 3245:6, 3245:9
       3164:15, 3173:5, 3180:11,             U.S [9] - 3133:13, 3133:17,         update [2] - 3149:6, 3169:12
       3180:18, 3183:5, 3183:12,            3158:4, 3158:25, 3196:10,            updates [1] - 3173:16
       3190:24, 3191:1, 3192:13,            3229:6, 3229:9, 3230:12,             USA [1] - 3135:1
       3215:1, 3216:6, 3218:22,             3231:16                              USDOJ [1] - 3223:7
       3223:4, 3225:10                       Ukraine [57] - 3138:19, 3138:21,
                                            3138:24, 3157:20, 3159:19,
        topic [2] - 3174:17, 3208:11                                                            V
        touch [3] - 3144:3, 3196:12,        3159:21, 3159:22, 3160:8,
       3201:24                              3160:12, 3160:13, 3160:14,           vacationed [1] - 3186:4
        towards [2] - 3143:22, 3192:10      3161:10, 3165:25, 3169:4,            valid [1] - 3180:19
        track [1] - 3194:22                 3177:18, 3178:11, 3178:25,           van [8] - 3142:23, 3142:24,
        transcript [3] - 3207:22, 3246:6,   3179:4, 3179:12, 3184:4,            3164:21, 3200:14, 3201:19,
       3246:7                               3184:10, 3186:10, 3192:24,          3220:23, 3221:23, 3222:16
        TRANSCRIPT [1] - 3133:8             3194:23, 3195:1, 3195:10,            various [1] - 3227:20
                                            3195:15, 3195:22, 3196:5,            verdict [1] - 3243:9
        transiting [1] - 3191:13
                                            3200:23, 3204:9, 3205:8,             version [2] - 3175:3, 3198:10
        travel [1] - 3244:17
                                            3205:11, 3205:18, 3205:19,           vice [1] - 3194:17
        traveling [1] - 3186:18
                                            3206:10, 3214:11, 3221:25,           view [12] - 3136:18, 3158:14,
        TRIAL [2] - 3133:4, 3133:8
                                            3222:18, 3230:5, 3230:6,            3159:3, 3159:4, 3159:7,
        trial [3] - 3180:14, 3180:19,
Case 1:19-cr-00125-ABJ Document 154 Filed 09/11/19 Page 134 of 134                                             3266



       3159:10, 3160:8, 3160:9,              withdraw [1] - 3183:4            3217:12, 3217:17, 3217:18,
       3188:8, 3206:18                       WITNESS [18] - 3141:11,          3217:22, 3217:25, 3218:2,
        viewed [1] - 3161:10               3141:13, 3158:22, 3174:4,          3218:4, 3220:17, 3224:6,
        views [1] - 3161:9                 3177:8, 3183:16, 3188:22,          3224:11, 3224:21, 3224:23,
        Viktor [1] - 3186:19               3189:19, 3190:16, 3198:15,         3226:3, 3227:21, 3230:20,
        Vin [9] - 3140:11, 3201:23,        3199:7, 3199:13, 3206:18,          3230:23, 3231:10, 3231:14,
       3202:1, 3202:12, 3202:23,           3212:7, 3219:23, 3221:20,          3231:18, 3233:1, 3234:21
       3203:6, 3203:8, 3203:14, 3205:6     3232:1, 3238:13                     yourselves [3] - 3222:18,
        violations [1] - 3232:5              witness [2] - 3134:12, 3242:21   3238:22, 3239:10
        virtually [2] - 3210:15, 3210:25     witnesses [2] - 3135:14,          YT [1] - 3192:10
        Vlasenko [1] - 3167:10             3242:20                             Yulia [3] - 3180:14, 3180:20,
        vs [1] - 3133:5                      wmurphy@zuckerman.com [1]        3192:11
                                           - 3133:24
                      W                      word [1] - 3137:7                                Z
                                             wording [1] - 3211:2
        wait [4] - 3185:1, 3188:4,           words [4] - 3144:6, 3166:7,       ZUCKERMAN [2] - 3133:22,
       3195:11, 3204:24                    3200:24, 3230:14                   3134:2
        wants [2] - 3150:15, 3221:14         world [1] - 3178:10               Zwaan [8] - 3142:23, 3142:24,
        Warsaw [1] - 3167:1                  worst [2] - 3177:14, 3178:25     3164:21, 3200:14, 3201:19,
        Washington [8] - 3133:6,             write [7] - 3138:12, 3150:12,    3220:23, 3221:23, 3222:16
       3133:15, 3133:18, 3134:3,           3181:1, 3186:17, 3210:3,
       3134:9, 3145:19, 3152:5,            3210:6, 3217:22
       3246:15                               writes [5] - 3147:2, 3149:5,
        wasting [1] - 3195:20              3151:14, 3186:6, 3192:1
        Weber [19] - 3140:2, 3140:3,         writing [1] - 3139:1
       3140:11, 3147:16, 3200:2,             written [1] - 3195:7
       3201:23, 3202:1, 3203:6,              wrongdoing [4] - 3235:25,
       3203:21, 3203:25, 3204:14,          3236:3, 3236:6, 3236:7
       3204:23, 3205:6, 3205:12,             wrote [33] - 3145:9, 3152:12,
       3205:14, 3205:15, 3232:11,          3166:21, 3166:22, 3166:24,
       3232:14, 3232:17                    3167:9, 3167:10, 3175:7,
        Weber's [1] - 3232:18              3175:12, 3175:17, 3175:21,
        Wednesday [3] - 3243:7,            3177:14, 3177:19, 3177:23,
       3243:19, 3244:22                    3178:5, 3181:16, 3181:23,
        week [3] - 3233:20, 3240:21,       3182:1, 3182:15, 3182:24,
       3243:5                              3187:1, 3191:11, 3202:22,
        weekend [7] - 3241:23, 3242:1,     3203:6, 3203:10, 3210:14,
       3242:4, 3242:23, 3242:25,           3210:16, 3214:10, 3223:1,
       3243:10, 3243:17                    3227:8, 3228:12, 3228:25
        weeks [2] - 3220:15, 3243:2          wtaylor@zuckerman.com [1] -
        Weiss [8] - 3155:18, 3155:25,      3133:25
       3162:23, 3163:13, 3216:18,
       3217:4, 3218:22                                     Y
        welcome [1] - 3149:7
        well-deserved [1] - 3244:9          Yalta [1] - 3186:19
        Western [1] - 3180:21               Yanukovych [3] - 3162:2,
        WH [1] - 3192:6                    3179:14, 3179:16
        white [1] - 3160:15                 yes-or-no [1] - 3137:2
        White [3] - 3192:7, 3195:9,         yesterday [23] - 3135:12,
       3195:21                             3137:2, 3138:11, 3139:4,
        Whitney [11] - 3201:14,            3141:21, 3143:3, 3143:25,
       3201:19, 3201:22, 3202:4,           3144:5, 3152:18, 3153:20,
       3202:20, 3203:24, 3204:21,          3165:4, 3165:22, 3176:9,
       3213:17, 3215:3, 3215:17,           3176:16, 3177:12, 3180:23,
       3216:6                              3200:1, 3202:2, 3209:7,
        whole [3] - 3163:3, 3221:13,       3212:18, 3216:10, 3217:15,
       3221:17                             3234:3
        wiggle [1] - 3137:7                 York [29] - 3155:14, 3157:7,
        William [2] - 3133:20, 3133:21     3164:13, 3216:12, 3216:25,
        wishes [1] - 3241:7                3217:1, 3217:5, 3217:9,
